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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


ROBERT MARTINO, et al.,

                   Plaintiffs,
                                                 Case No. 1:21-cv-01808-RDM
           v.

ISLAMIC REPUBLIC OF IRAN,

                   Defendant.


                PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                  ON BEHALF OF BELLWETHER PLAINTIFFS
                  AND MEMORANDUM IN SUPPORT THEREOF
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28 U.S.C. § 1330(b) .............................................................................................................121, 122

*28 U.S.C. § 1605A ............................................................................................................... passim

*28 U.S.C. § 1605A(a) .......................................................................................................... passim

28 U.S.C. § 1605A(b) ..................................................................................................................123

28 U.S.C. § 1605A(c) ......................................................................................................8, 122, 124

28 U.S.C. § 1605A(h) ............................................................................................................57, 120

28 U.S.C. § 1608 ............................................................................................................................50

*28 U.S.C. § 1608(a) ............................................................................................................. passim

28 U.S.C. § 1608(d) .........................................................................................................................9

28 U.S.C. § 1608(e) .......................................................................................................51, 186, 188

28 U.S.C. § 1961(a) .....................................................................................................................181

34 U.S.C. § 20144(d)(4) ..............................................................................................................187

Other Authorities

49 Fed. Reg. 2836-02 (Jan. 23, 1984) ..........................................................................................119

Fed. R. Civ. P. 55 .............................................................................................................................9

Fed. R. Civ. P. 55(b)(2)..................................................................................................................50

S.C. Res. 1511, ¶ 13, U.N. Doc. S/RES/1511 (Oct. 16, 2003) ......................................................12

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   Attorney Manual For Service of Process on a Foreign Defendant § VII(B)(1).....................189




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       Plaintiffs respectfully submit this Memorandum in support of their Motion for Default

Judgment as to Liability and Damages and entry of Final Judgment (the “Bellwether Motion for

Default”) against Defendant Islamic Republic of Iran (“Iran”) with respect to a group of bellwether

Plaintiffs: Rita Blodgett, Christina Linden, Jason Rockholt, Adam Kisielewski, Rita Zoucha,

Brandon Clevenger, Roger Kurtz, Stephanie Kurtz, Norma Estes, Patricia Grassbaugh, Michael

Summers, Nanette West, Clark West, Patty Jett, Shelia Towns, Martha Cabe, Sarah Lambert,

Duane Pionk, Jonathan Krause, Gerald Krause, Lisa Kaufman, Alexandria Parks, Felicia Carter

Bell, Michael Bell, Milissa Wojtowicz, Virginia Maitland, Ashley Rawlings, K.L., by and through

her next friend Ashley Rawlings, Kelly Inman, Natalie Jackson, Andrew Marshall, Sheila

Marshall, Brandi Yanez, Tara Roberts, Jacob Kosky, Nancy Poulin, Noe Orosco Sr., Josef Pautsch,

Becky Johnson, Marla Van Cannon, Michael Van Cannon, Richard Gervasi II, Cheryl Felder

Stuart, Manaser Orton, and Alan Bean Sr.

       Following this Court’s Case Management Order, Plaintiffs respectfully move the Court for

judgment on liability and damages for claims brought by 45 Plaintiffs (the “Bellwether Plaintiffs”)

injured in 25 bellwether attacks (the “Bellwether Attacks”). See Dkt. 35 at 5-9.1

I.     INTRODUCTION

       This is a civil action against the Islamic Republic of Iran (“Iran”) under the terrorism

exception to the Foreign Sovereign Immunities Act, 28 U.S.C. § 1605A (“FSIA”). This case arises




1
  There are an additional 52 Plaintiffs whose claims arise from the same Bellwether Attacks and
for whom Plaintiffs do not seek relief today. Per the Case Management Order, upon motion from
the Plaintiffs, special masters appointed by this Court will aid in adjudicating damages for these
claims at a later date. Dkt. 35 at 9.


                                                 1
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from approximately 236 terrorist attacks on U.S. military service members 2 and civilians

supporting U.S. Government missions in Iraq (the “Attack Victims”) between 2003 and 2010, and

one attack from 2017.3 Plaintiffs are 623 American service members and civilians, and their

families, who were killed or wounded in the above-referenced attacks.

       All of the Plaintiffs were injured and/or killed by a Sunni terrorist coalition led by al-Qaeda

and its two lead affiliates in Iraq, the Zarqawi organization—which went by many names, before

ultimately adopting the name al-Qaeda in Iraq (“AQI”)—and Ansar al-Islam (“AAI” and

collectively with the Zarqawi organization/AQI, the “Sunni Terrorist Groups”). 4 The Zarqawi




2
  Courts in this jurisdiction use “service members” or “servicemembers” when referring to U.S.
military personnel. Unless directly quoting another source, this Motion will use “service member,”
consistently with this Court’s prior use. E.g., Fritz v. Islamic Republic of Iran, 466 F. Supp. 3d
13, 16 (D.D.C. 2020) (“Fritz I”) (“Plaintiff Bashar Al-Taie is the brother of Staff Sergeant Ahmed
Al-Taie, a U.S. Service member who was abducted while deployed to Baghdad, held hostage,
tortured, and ultimately murdered.”).
3
 This attack from 2017 is not included for the Court’s consideration here and will be submitted as
part of subsequent proceedings.
4
  Ex. 2, Expert Report and Declaration of Dr. Daveed Gartenstein-Ross on Sunni Militant
Organizations (“Sunni Militant Groups Report”) at 13-14, 69; see discussion infra § V(C). As
discussed extensively by Dr. Gartenstein-Ross in his Sunni Militant Groups Report, members of
the Sunni Terrorist Groups assumed a variety of names over the course of the relevant time period.
AQI also identified itself as Jamaat al-Tawhid wal-Jihad (“JTJ”), Tawhid wal Jihad (“TWJ”), the
Mujahedin Shura Council (“MSC”), the Islamic State of Iraq (“ISI”), and the Islamic State of Iraq
and al-Sham (“ISIS”), before finally settling on its current name, the Islamic State. Sunni Militant
Groups Report at 13-14. Throughout all of its various identities, AQI itself was, in turn, another
alias for the same key entity, the highly militant, major terrorist organization referred to herein as
the Zarqawi organization. For ease of reference, Plaintiffs refer to each of these entities as the
Zarqawi organization throughout this Motion except in the descriptions of the Bellwether Attacks,
where Plaintiffs adopt the practice of Plaintiffs’ expert Dr. Gartenstein-Ross of providing the more
specific name of the Zarqawi organization aegis (AQI, JTJ, ISI, etc.) under which the attack was
perpetrated. (Footnote continues on next page.)


                                                  2
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organization operated in Iraq from 2002 through the present. It was founded by the notorious

terrorist Abu Musab al-Zarqawi, who prior to leading the group in Iraq had trained with al-Qaeda

and run an al-Qaeda-funded terrorist training camp in Afghanistan. Once in Iraq, the Zarqawi

organization established itself as a ruthlessly effective militant group, publicly aligning itself with

al-Qaeda in 2004, and was seen at times as the “primary terrorist threat to the Coalition.” Sunni

Militant Groups Report at 14. AAI was formed in 2001 in Iraq and initially headed by Mullah

Fatih Krekar, who had studied under Osama bin Laden’s mentor. As the U.S. Treasury Department

has revealed, Ansar al-Islam “came into being with the blessing of bin Laden after its leaders

visited al-Qa’ida in Afghanistan in 2000 and 2001” and “Bin Laden provided AAI with an

estimated $300,000 to $600,000 in seed money.” 5 By 2002, AAI was harboring numerous foreign

jihadists, including Zarqawi, who had come into Iraq from Iran. Thereafter, AAI and the Zarqawi

organization coordinated in setting up bases in northern Iraq, including a poison and explosives

training camp. After being nearly decimated by coalition forces during Operation Viking Hammer

in March 2003, AAI was able to regroup and resume attacks on U.S.-led forces, largely due to the

support it received from the Iranian Islamic Revolutionary Guard Corps (the “IRGC”). AAI

thereafter restyled itself as Ansar al-Sunna (“AAS”) and closely aligned with al-Qaeda, and at



Similarly, AAI (sometimes styled “AI”) restyled itself as Ansar Al-Sunna (“AAS”) following a
leadership change in late 2003. Id. at 69. Post-leadership change, AAI militants working abroad,
particularly in Kurdish immigrant communities in Europe, retained their affiliation as AAI
members while continuing to work on behalf of AAS. Id. Thus, while some militants continued
to identify as part of AAI despite AAI’s self-restyling as AAS, they are substantively the same
organization. For ease of reference, Plaintiffs will refer to AAI/AAS as AAI throughout this
Bellwether Motion for Default, except in the descriptions of the Bellwether Attacks, where
Plaintiffs adopt the practice of Plaintiffs’ expert Dr. Gartenstein-Ross of providing the more
specific name of the AAI aegis (usually AAS) under which the attack was perpetrated.
5
 Sunni Militant Groups Report at 64 (citing U.S. Department of the Treasury, “Treasury
Department Statement Regarding the Designation of Ansar al-Islam,” February 20, 2003).


                                                   3
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times AQI, after which its attacks became more sophisticated and deadly.

       Both groups—AQI and AAI—were designated as Foreign Terrorist Organizations

(“FTOs”) by the United States prior to committing the Bellwether Attacks attributable to them. 6

And both groups aligned with, and received support from, al-Qaeda in realizing the groups’

collective goal of killing as many Americans as possible, in part to drive them from participating

in peace-keeping missions in the Middle East. And over the course of the ensuing two decades,

al-Qaeda, the Zarqawi organization/AQI, and AAI carried out hundreds of terrorist attacks on

American troops and civilian personnel in Iraq, as well as Iraqi citizens, local government officials,

and Shia religious leaders. The Sunni Terrorist Groups selected their targets and means of attack

with an aim towards killing as many Americans and Iraqi civilians as possible, often using the

most brutal and grotesque means. They frequently sent suicide attackers into heavily populated

areas laden with high-powered explosives that would indiscriminately rip through U.S. personnel

and nearby Iraqi civilians. They carried out beheadings of captured Americans that they filmed

and broadcasted to the broadest possible audience. The Zarqawi organization carried out 20 of the

25 Bellwether Attacks, AAI carried out four, and the Zarqawi organization and AAI operating

jointly carried out one.

       One of the Bellwether Attacks occurred on December 21, 2004, when an AAI militant

wearing a vest lined with plastic explosives and 243 metal ball bearings entered the dining facility

at Forward Operating Base (“FOB”) Marez, an American outpost near Mosul, Iraq, during one of

the busiest times of the day. Ex. 3, Expert Witness Report of Dr. Daveed Gartenstein-Ross on




6
 AAI was designated as an FTO on March 22, 2004, approximately one month before the first
Bellwether Attack. AQI was designated on December 17, 2004, approximately four and half
months before the first Bellwether Attack they committed.

                                                  4
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Attack Attributions (“Attribution Report”) at 173. The AAI militant sat down at one of the tables

facing the cafeteria line and detonated the explosives strapped to his chest, killing himself, 14

American service members—including three of the Attack Victims, see infra § III(C) – Attack

#19—four Haliburton employees, and four Iraqi soldiers, and wounding 71 other people. Id. In a

video released after the attack, AAI claimed responsibility, and showed how they had

reconnoitered FOB Marez, congratulated the suicide bomber before he left on his mission, and

filmed the smoke rising from what remained of FOB Marez’s dining facility. The attackers

claimed they chose December 21 as the date of the attack due to the symbolic significance of

attacking “Crusaders” close to a Christian holiday. Attribution Report at 173.

       Iran provided essential support that enabled al-Qaeda, the Zarqawi organization, and AAI

to carry out these attacks. As has been extensively documented and recognized by numerous courts

in this and other jurisdictions, Iran provided decades of material support to the Sunni Terrorist

Groups, beginning long before the first attack at issue in this case and continuing through the

present. That support enabled these groups to carry out gruesome and deadly attacks against

American service members and civilian contractors in Iraq. This support advanced Iran’s goal of

killing American service members and civilian contractors and undermining American foreign

policy interests in the region, while retaining some ability to maintain plausible deniability. Iran’s

support came in the form of weapons, funding, training, sanctuary and refuge, safe passage through

Iranian territory, travel assistance throughout the greater world, military intelligence, and financial

infrastructure and assistance, which the Sunni Terrorist Groups used to attack and/or injure the

Plaintiffs, among others.

       Plaintiffs in this case are victims of the attacks carried out by the Sunni Terrorist Groups

with Iran’s support—their lives cut short, or forever altered, by the acts of terrorism that Iran



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purposefully supported and facilitated. For example,




                                             6
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       Under the FSIA, Plaintiffs bring claims for compensatory and punitive damages for the

immeasurable pain and loss suffered as a result of Iran’s material support for the terrorists that

carried out the attacks against them.

       A.      The Bellwether Attacks and Plaintiffs

       The 25 Bellwether Attacks and 45 Bellwether Plaintiffs represent a cross-section of the

attack geographies, attack types, and victim categories spanning all of the attacks and Plaintiffs in

this case. The Bellwether Attacks include at least two attacks from each relevant geographic region

where the Iran-backed Sunni Terrorist Groups were active in Iraq between 2003 and 2010: Al

Anbar, Baghdad, Babil, Diyala, Nineveh, and Saladin Provinces. 7 The Bellwether Attacks include

at least one attack perpetrated using each of the five commonly occurring terrorist tactics,

techniques, and procedures (“TTPs”) representative of the attacks at issue in this case: Improvised



7
  One attack victim was killed in Najaf Province, which borders Al Anbar Province to the
southeast. This attack is not included for the Court’s consideration here and will be submitted as
part of subsequent proceedings. Given its proximity to Al Anbar Province and the relevant Iranian
agent, the Najaf Province attack is still properly represented by the Bellwether Attacks.

                                                  7
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Explosive Device (“IED”) attacks; complex attacks; suicide bombings; small arms, rocket-

propelled grenade (“RPG”), and anti-aircraft attacks; and indirect fire attacks. The Bellwether

Plaintiffs were selected to produce a representative group of plaintiffs whose relationships to the

Attack Victims permit recovery under the FSIA. Accordingly, the Bellwether Plaintiffs include

spouses, parents, children, stepchildren and adopted children, siblings, and half-siblings of those

killed in action, as well as one service member who was wounded in action.

        B.      Framework of the Bellwether Motion

        This Motion first describes the procedural history of this case (infra § II); then provides a

factual description of the 25 Bellwether Attacks at issue here (infra § III); next, it sets out the legal

standard and burden of proof for default motions in the FSIA context (infra § IV), and establishes

both the Court’s subject-matter jurisdiction (infra § V) and personal jurisdiction over Iran (infra

§ VI) for Plaintiffs’ claims. The Motion then demonstrates Iran’s liability under § 1605A(c) (infra

§ VII), and finally the type and amount of damages warranted in this case (infra § VIII).

II.     PROCEDURAL HISTORY

        This Action was initiated on July 7, 2021, by a portion of the Plaintiffs who filed the

original complaint against Iran, seeking damages for wrongful death, personal injury, and related

torts pursuant to the FSIA, 28 U.S.C. § 1605A. Dkt. 1. On November 5, 2021, Plaintiffs filed

their First Amended Complaint (the “Complaint”), which is the operative complaint for the

purposes of this Motion. Dkt. 15. The Complaint added several hundred Plaintiffs, including

summaries of their respective claims. Id.

        Following the filing of the Amended Complaint, Plaintiffs went through the necessary steps

to effectuate service, as set out in detail infra at § VI. Service was effected on Iran on July 11,

2022. Dkt. 26. After Iran failed to answer or otherwise respond to Plaintiffs’ claims within 60

days, on September 12, 2022, Plaintiffs sought an entry of default judgment against Iran pursuant

                                                   8
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to 28 U.S.C. § 1608(d) and Federal Rule of Civil Procedure 55. Dkt. 27. On September 15, 2022,

the Clerk for the Court provided an entry of default as to Iran. Dkt. 29.

       During this period, and in the preceding months, counsel for Plaintiffs have worked

diligently to gather the necessary evidence to establish liability and damages against Iran,

including from Plaintiffs, as well as through the submission of and litigation concerning Freedom

of Information Act requests to eight different federal agencies, and limited third-party subpoenas

to U.S. Central Command (“CENTCOM”) and the U.S. Naval Surface Warfare Center. Dkt. 31.

Plaintiffs have also worked with several experts, including Dr. Daveed Gartenstein-Ross 8 and




8
  Dr. Gartenstein-Ross’s expertise in these matters has been recognized by numerous courts in this
District, where he has been admitted as an expert witness regarding Iranian support of terrorists in
Iraq, as well as terrorist groups generally. See Memorandum Opinion at 11-12, Sotloff v. Syrian
Arab Republic, CA 16-725 (D.D.C. Mar. 15, 2021), ECF No. 45 (“Dr. Daveed Gartenstein-Ross[]
is an anti-terrorism scholar and author who has worked, in various capacities, on issues related to
violent non-state actors for over a decade. He has testified as an expert on terrorism and jihadist
groups in many courts, including in this District. . . . The Court qualified him as an expert on
violent non-state actors generally, ISIS’s evolution from its predecessor organizations, and ISIS’s
material supports.”) (citations omitted); Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 58
n.2 (D.D.C. 2018) (“Fritz I”) (“Many of the Court’s findings in this section are derived from the
testimony and expert report[] of . . . Dr. Gartenstein-Ross as an expert on (1) violent non-state
actors; (2) Iran’s use of proxy organizations in Iraq from the 1990s to 2012; and (3) Iraqi Shia
militias in particular”); United States v. Young, 916 F.3d 368, 380 (4th Cir. 2019) (prevailing when
qualifications were challenged upon appeal); Doe v. Syrian Arab Republic, No. 18-cv-0066, 2020
WL 5422844, at *9 n.7 (D.D.C. Sept. 10, 2020) (“The undersigned finds that Dr. Gartenstein-Ross
is qualified as an expert in the areas of terrorism and jihadist groups.”); Foley v. Syrian Arab
Republic, 249 F. Supp. 3d 186, 193 n.4 (D.D.C. 2017) (“Foley I”) (“Having considered the
requirements set forth in Federal Rule of Evidence 702 . . ., the Court qualified Daveed
Gartenstein-Ross as an expert in the evolution of the history of terrorist organizations and their
claims of responsibility for acts of terrorism.”). More information on Dr. Gartenstein-Ross’s
qualifications may be found in his expert report. Attribution Report at 6-14.


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Michael Pregent,9 to provide evidence of Iran’s support for the Sunni terrorists who carried out the

attacks at issue in this case, as well as to establish economic damages for certain of the Bellwether

Plaintiffs.

        On August 14, 2023, Plaintiffs filed their Motion for Entry of a Case Management Order

(the “CMO”), which the Court granted in its Minute Order on August 16, 2023. Dkt. 35. The

Court adopted Plaintiffs’ proposed timing for this Bellwether Motion for Default, and additionally

established the timing for subsequent motions regarding appointment of Special Masters, as well

as the division of labor between Plaintiffs, the Court, and the Courts’ Special Masters regarding

the adjudication of the remaining Plaintiffs’ claims in subsequent stages. See Minute Order, Aug.

16, 2023.




9
  Mr. Michael Pregent’s expertise in these matters has similarly been recognized by courts in this
District, where he has been admitted as an expert witness regarding Iranian support of terrorists in
Iraq, military intelligence, counterterrorism, and terrorist groups generally. See Roth v. Islamic
Republic of Iran, 651 F. Supp. 3d 65, 72-73 (D.D.C. 2023) (“Roth II”) (“[T]he Court recognized
Pregent as an expert within the field of military intelligence, terrorism, and counterterrorism under
Federal Rule of Evidence 702.”); Pennington v. Islamic Republic of Iran, No. 19-cv-796 (JEB),
2021 WL 2592910, at *2 (D.D.C. June 24, 2021) (“Plaintiffs’ . . . expert[] – . . . Michael Pregent
(former intelligence officer for the U.S. Army) — explained in detail Iran’s history of interference
in Iraq, including the support of militant Shia proxy groups, and both experts evinced confidence
that Iran played a substantial role in these attacks”); Karcher v. Islamic Republic of Iran, 396 F.
Supp. 3d 12, 18-19 (D.D.C. 2019) (“Karcher I”); Karcher v. Islamic Republic of Iran, No. CV 16-
232 (CKK), 2021 WL 133507, at *4 (D.D.C. Jan. 14, 2021) (“Karcher II”) (“The Court found that
Mr. Pregent was qualified to testify regarding ‘intelligence matters, including attribution of terror
attacks and also evidence collection and analysis in the intelligence field’”) (citations omitted);
Lee v. Islamic Republic of Iran, 518 F. Supp. 3d 475, 482 (D.D.C. 2021) (“Lee I”) (“The court
qualifies Pregent as an expert in ‘intelligence matters, including attribution of terror attacks
and . . . evidence collection and analysis in the intelligence field’”); Stearns v. Islamic Republic
of Iran, 633 F. Supp. 3d 284, 291 (D.D.C. 2022) (“The court qualifies Mr. Pregent as an expert in
‘intelligence matters, including attribution of terror attacks and . . . evidence collection and analysis
in the intelligence field.’”) (citations omitted); see also Ex. 4, Expert Report of Michael Pregent
(“Pregent Expert Report”) ¶ 18 (listing Mr. Pregent’s prior expert testimony about Iran’s material
support of terrorist activities). More information on Mr. Pregent’s qualifications may be found in
his expert report. Pregent Expert Report ¶¶ 4-16.

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        Plaintiffs now bring this Bellwether Motion for Default seeking a final judgment finding

Iran liable for the Bellwether Plaintiffs’ claims and awarding appropriate damages and, pursuant

to the CMO, laying the framework for the adjudication of the remainder of Plaintiffs’ claims. In

support of their claims and as described in Exhibit 1, Plaintiffs respectfully submit the following

expert reports and categories of evidence: (1) Expert Report & Declaration of Dr. Daveed

Gartenstein-Ross on Sunni Militant Organizations, providing background on the Sunni Terrorist

Groups’ activities in Iraq and Iran’s provision of material support thereof (Exhibit 2) (“Sunni

Militant Groups Report”); (2) Expert Witness Report of Dr. Gartenstein-Ross on Attack

Attributions, attributing responsibility to the Sunni Terrorist Groups for the Bellwether Attacks

(Exhibit 3) (“Attribution Report”); (3) Expert Report of Michael Pregent, providing further

background on the Sunni Terrorist Groups’ activities in Iraq and Iran’s provision of material

support thereof (Exhibit 4) (“Pregent Expert Report”); (4) Expert Damages Report of Chad Staller

and Stephen M. Dripps for Sgt. Adam Kisielewski (ret.) detailing Sgt. Kisielewski’s economic

damages incurred as a result of his injuries (Exhibit 5) (“Staller Damages Report”); (5)

Demonstratives summarizing the Bellwether Attacks, Plaintiffs, and resulting damages (Exhibits

6-8); (6) Bellwether Plaintiffs’ declarations and identity documents necessary to establish their

ability to recover damages under the FSIA (Exhibits 9-98); and (7) Records related to the

Bellwether Attacks, many of which Plaintiffs obtained from U.S. Government agencies in response

to requests and litigations under the Freedom of Information Act, 5 U.S.C. § 552, which bear upon

Iran’s liability for the Bellwether Attacks (Exhibits 99-221).

III.    THE 25 BELLWETHER ATTACKS

        The 25 Bellwether Attacks occurred while the United States, along with a coalition of allies

(together, the “coalition forces” or “coalition”), were engaged in a peacekeeping effort in Iraq to

maintain “security and stability” following the toppling of Saddam Hussein’s regime in 2003. See

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S.C. Res. 1511, ¶ 13, U.N. Doc. S/RES/1511 (Oct. 16, 2003). As set out in detail in Dr.

Gartenstein-Ross’s report, Iran saw these peacekeeping efforts as a threat and thus engaged in a

proxy war in Iraq whereby it provided hundreds of millions of dollars in material support “in the

form of training, financial support, weapons, safe haven, lodging, travel and transportation, and

expert knowledge and assistance in tactics, techniques, procedures and attack planning” to both

Shia and Sunni terrorists who were intent on killing American service members and civilians

serving in Iraq. Attribution Report at 4. Mr. Pregent’s report arrives at similar conclusions—

namely, that Iran materially supported the Sunni Terrorist Groups, most often in the form of

“munitions and manpower,” and facilitated the movement of foreign fighters “into Iraq from Iran

and Syria,” thereby enabling Iran and its proxies to better achieve their “mutual” goals of killing

“Americans in both Afghanistan and Iraq.” Pregent Expert Report ¶¶ 33, 35.

       The effects of this support were manifest. Iran’s provision of material support to the Sunni

Terrorist Groups enabled them to organize themselves and their attacks at a greater scale. It

enabled them to, inter alia, ambush and pin down entire American convoys and exchange gunfire

for hours, see infra § III(B) – Attack #16, shoot down helicopters fully loaded with American

troops, see infra § III(D) – Attack #22, and gather enough explosives to turn entire houses into

explosive booby traps intended for American military or civilian personnel. See infra § III(A) –

Attack #12.

       Each of the Attack Victims in this case (along with each of their family members) was a

tragic victim of Iran’s efforts to bolster terrorist groups in Iraq so as to achieve its foreign policy

ends. A detailed description of each of these attacks, with cites to the supporting evidence, is set

out in Dr. Gartenstein-Ross’s Attribution Report, followed by Dr. Gartenstein-Ross’s findings that

each of the Bellwether Attacks were carried out by the Sunni Terrorist Groups and were caused by



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Iran’s material support. The Bellwether Attacks can be grouped into five (5) categories based on

the TTPs employed by the Sunni Terrorist Groups. The Attack Table below, Exhibit 6, lays out

the 25 Bellwether Attacks with their respective dates, locations, responsible Iranian agents, Attack

Victims, and related Bellwether Plaintiffs.

                                    Exhibit 6 - Bellwether Attack Table

 Attack       Date        Province      Iranian             Attack Victim(s)         Bellwether Plaintiffs
  No.                                   Agent(s)
                                                   IED Attacks

   1      July 7, 2004    Saladin      AAI          PFC Nicholas Blodgett (KIA)    Rita Blodgett (Mother)
   2      April 28,       Nineveh      Zarqawi      1LT William Edens (KIA)        Christina Linden (Widow)
          2005                         org.         SPC Ricky Rockholt (KIA)       Jason Rockholt (Brother)
   3      August 21,      Al Anbar     Zarqawi      Sgt. Adam Kisielewski (ret.)   Sgt. Adam Kisielewski
          2005                         org.         (WIA)                          (ret.) (Self)
   4      June 9, 2006    Al Anbar     Zarqawi      LCpl. Brent Zoucha (KIA)       Rita Zoucha (Mother)
                                       org.
   5      February 8,     Al Anbar     Zarqawi      SGT Ross Clevenger (KIA)       Brandon Clevenger
          2007                         org.                                        (Brother)
   6      February 11,    Al Anbar     Zarqawi      SGT Russell Kurtz (KIA)        Roger Kurtz (Father)
          2007                         org.                                        Stephanie Kurtz (Sister)
   7      March 5,        Saladin      Zarqawi      SSG Justin Estes (KIA)         Norma Estes (Half-Sister)
          2007                         org.
   8      April 7, 2007   Diyala       Zarqawi      CPT Jonathan Grassbaugh        Patricia Grassbaugh
                                       org.         (KIA)                          (Mother)
                                                    PFC Rodney McCandless
                                                    (KIA)
                                                    SPC Levi Hoover (KIA)
   9      May 28,         Diyala       Zarqawi      SPC James Summers (KIA)        Michael Summers
          2007                         org.         SPC Zachary Baker (KIA)        (Brother)
                                                    1LT Kile West (KIA)            Nanette West (Mother)
                                                                                   Clark West (Father)
   10     October 14,     Baghdad      Zarqawi      SFC Justin Monschke (KIA)      Patty Jett (Mother)
          2007                         org.
   11     October 24,     Saladin      Zarqawi      SFC Robin Towns, Sr.           Shelia Towns (Widow)
          2007                         org.
   12     January 9,      Diyala       Zarqawi      SSG Jonathan Dozier (KIA)      Martha Cabe (Mother)
          2008                         org.         SGT Zachary McBride (KIA)      Sarah Lambert (Sister)
                                                    SFC Matthew Pionk (KIA)        Duane Pionk (Father)



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Attack       Date        Province    Iranian             Attack Victim(s)           Bellwether Plaintiffs
 No.                                 Agent(s)

                                              Complex Attacks
 13      April 9, 2004   Baghdad    Zarqawi       SGT Elmer Krause (KIA)         Jonathan Krause (Son)
                                    org.          Mr. Stephen Hulett (KIA)       Gerald Krause (Brother)
                                                  Mr. Timothy Bell (KIA)         Lisa Kaufman (Daughter)
                                                  Mr. Tony Johnson (KIA)         Alexandria Parks
                                                  Mr. Jack Montague (KIA)        (Stepdaughter)
                                                                                 Felicia Bell Carter (Sister)
                                                                                 Michael Bell (Brother)
 14      April 11,       Babil      Zarqawi       SGM Michael Stack (KIA)        Milissa Wojtowicz
         2004                       org.                                         (Daughter)
                                                                                 Virginia Maitland
                                                                                 (Daughter)
 15      June 12,        Diyala     Zarqawi       CPL Damon LeGrand (KIA)        Ashley LeGrand Rawlings
         2007                       org.                                         (Widow)
                                                                                 K.L., a minor (Daughter)
 16      January 28,     Nineveh    Zarqawi       SGT James Craig (KIA)          Kelly Inman (Sister)
         2008                       org. &        CPL Evan Marshall (KIA)        Natalie Jackson (Widow)
                                    AAI
                                                  PV2 Joshua Young (KIA)         Andrew Marshall (Father)
                                                                                 Sheila Marshall (Mother)
                                                                                 Brandi Yanez (Sister)
                                              Suicide Attacks
 17      May 14,         Saladin    AAI           SGT James Harlan (KIA)         Tara Roberts (Daughter)
         2004
 18      October 14,     Baghdad    Zarqawi       Mr. John Pinsonneault (KIA)    Jacob Kosky (Stepson)
         2004                       org.
 19      December        Nineveh    AAI           SSG Lynn Poulin (KIA)          Nancy Poulin (Sister)
         21, 2004                                 SSG Julian Melo (KIA)
                                                  PVT Lionel Ayro (KIA)
 20      December 9,     Baghdad    Zarqawi       SGT Adrian Orosco (KIA)        Noe Orosco, Sr. (Father)
         2005                       org.
 21      April 10,       Nineveh    Zarqawi       CPL Jason Pautsch (KIA)        Josef Pautsch (Brother)
         2009                       org.          SSG Bryan Hall (KIA)           Becky Johnson (Mother)
                                                  SGT Edward Forrest (KIA)
                                                  SSG Gary Woods (KIA)
                     Small Arms, Rocket-Propelled Grenade, and Anti-Aircraft Attacks
 22      January 20,     Diyala     Zarqawi       CSM Marilyn Gabbard (KIA)      Marla Van Cannon (Sister)
         2007                       org.                                         Michael Van Cannon
                                                                                 (Brother)
 23      February 18,    Al Anbar   Zarqawi       PFC Kelly Youngblood (KIA)     Richard Gervasi II (Half-
         2007                       org.                                         Brother)


                                                    14
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 Attack         Date     Province   Iranian              Attack Victim(s)        Bellwether Plaintiffs
  No.                               Agent(s)

                                           Indirect Fire Attacks
     24     April 24,    Baghdad    AAI          CPT Arthur Felder (KIA)       Cheryl Felder Stuart
            2004                                 SSG Billy Orton (KIA)         (Mother)
                                                                               Manaser Orton (Adopted
                                                                               Son)
     25     May 25,      Babil      Zarqawi      SGT Alan Bean (KIA)           Alan Bean, Sr. (Father)
            2004                    org.



          A.      Improvised Explosive Device (“IED”) Attacks

          Twelve of the 25 Bellwether Attacks involved the use of one or multiple IEDs by Iran-

backed AAI or the Zarqawi organization. The attacks took the lives of 34 service members and

civilian contractors, and severely wounded many more.

          IED is a catch-all term encompassing a wide variety of bombs and other explosive devices

used to destroy, incapacitate, harass, or distract targets. See Brown v. Islamic Republic of Iran,

No. 1:21-CV-1308 (TNM), 2023 WL 4824740, at *5 (D.D.C. July 27, 2023) (“Brown II”)

(describing IEDs as “sophisticated weapons systems” that terrorist groups are trained to “emplace

and trigger” on command by flipping a switch at the right time or through passive detonation, such

as when a vehicle drives over one) (citations omitted); Cabrera v. Islamic Republic of Iran, No.

CV 18-2065 (JDB), 2022 WL 2817730, at *16 (D.D.C. July 19, 2022) (“Cabrera I”) (categorizing

and defining IEDs), adhered to, 2023 WL 1975091 (D.D.C. Jan. 27, 2023). IEDs are typically

composed of home-made explosives or repurposed military grade explosives (such as mortar

shells), contained within a purpose-built or repurposed container (such as oxygen tanks). 10 These

devices range in scale from a handheld pipe-bomb to explosives planted throughout an entire



10
    United Nations Office on Drugs and Crime, Conventional Terrorist Weapons, n.d.,
https://www.unodc.org/images/odccp/terrorism_weapons_conventional.html.

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building. See, e.g., infra § III(A) – Attack #12. Successful emplacement and detonation of IEDs

require a certain degree of sophistication and professionalism, as the attacker must surveil and

gather intelligence on U.S. operations to determine target location, manufacture the device,

provide security around the site during emplacement, and in the case of non-victim operated IEDs,

execute the attack at the correct moment. Pregent Expert Report ¶¶ 147-55. The subtypes of IEDs

employed in the attacks below include vehicle-borne IEDs (“VBIEDs”), house-borne IEDs

(“HBIEDs”), victim-operated IEDs (“VOIEDs”), suicide vehicle-borne IEDs (“SVBIEDs”), and

suicide vest IEDs (“SVIEDs”).11       Shaped-charge IEDs and explosively formed penetrators

(“EFPs”) can be placed in a variety of locations, and are differentiated from other IEDs by specially

shaped container components that direct or amplify the explosion. Several inherent properties of

IEDs make them particularly attractive weapons to insurgent forces waging war against an

overwhelming foe: (1) they can be set up in advance—sometimes months in advance—obviating

the need for an insurgent to be present and in harm’s way at the time of the attack; (2) they can be

concealed effectively, rendering them difficult to detect and increasing the difficulty of employing

effective countermeasures; and (3) they can be fabricated from a wide variety of available materials

and components, ranging from conventional weapons, such as grenades and artillery shells, to

common household items, such as fertilizer. Stearns v. Islamic Republic of Iran, 633 F. Supp. 3d

284, 294 (D.D.C. 2022) (noting the expert witness’s explanation that insurgents attacked coalition

forces with IEDs); Est. of Fishbeck v. Islamic Republic of Iran, No. 18-CV-2248 (CRC), 2023 WL

7448770, at *8 (D.D.C. Aug. 18, 2023) (“Fishbeck II”) (describing an attack with two pressure-

plate IEDs detonated by convoying vehicles); see also Pregent Expert Report ¶¶ 147-55



11
  The latter two subtypes of IEDs described, SVBIEDs and SVIEDs, are considered suicide bombs
instead. See discussion infra § III(C).

                                                 16
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(discussing sophisticated IED capabilities employed by AQI and AAI, including remote or radio

detonation, conditional detonation, booby trapped detonation mechanisms, and camouflaged

IEDs—all of which “were IRGC-QF- and Lebanese Hezbollah-taught tactics that were particularly

lethal to coalition forces”).

        As set out in detail infra at § V(C), Iran was a frequent supplier of IEDs to terrorists in

Iraq, including to the Zarqawi organization and AAI, and provided these terrorists with extensive

training on how to make, camouflage, deploy, and successfully detonate these highly complex and

effective weapons against oftentimes heavily armored American military vehicles. See Roth v.

Islamic Republic of Iran, 651 F. Supp. 3d 65, 88 (D.D.C. 2023) (“Roth II”) (finding that “Iran

taught [al-Zarqawi and other terrorists] particular tactics designed to cause great harm, such

as . . . IED emplacement” and provided its proxies, including Sunni militant groups, with IEDs,

among other weapons); Fishbeck II, 2023 WL 7448770, at * 6 (attributing an IED attack to AAI,

which received material support from Iran and deployed a “very sophisticated” IED that “included

anti-tampering components”); Brown II, 2023 WL 4824740, at *2 (IEDs are “[c]ommon weapons

terrorists learned to build and deploy [at Iran-funded training camps]”).

        Dr. Gartenstein-Ross also concludes that Iran materially supported each of these attacks,

which Plaintiffs discuss infra in § V(C)(2)(a).

                Attack #1.      July 21, 2004 IED Attack in Ad Duluiyah, Saladin Province that
                                Killed U.S. Army Private First Class Nicholas H. Blodgett

        On July 21, 2004, Private First Class (“PFC”) Nicholas Blodgett was on patrol in the Ad

Duluiyah area of the Saladin Region when an IED detonated. Attribution Report at 226. The IED

caused PFC Blodgett’s vehicle, a M3A3 Cavalry Fighting Vehicle, to catch fire,

                                                                        Six other service members

were wounded in the attack. Id.


                                                  17
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       Dr. Gartenstein-Ross concluded that AAI, operating as AAS, likely12 carried out this

attack, based on (1) AAS’s dominance in the Ad Duluiyah region, known as the “Sunni Triangle,”

in 2003 and 2004, where it “credibly claimed responsibility for numerous attacks in the vicinity,”

see Attribution Report at 227-28 (listing six AAS attacks in 2004 in the region); and (2) the TTPs

employed, including the use of IEDs, which were one of AAS’s most commonly employed

munitions at the time (which AAS frequently touted in publicly released videos, some of which

showed IED explosions in the Ad Duluiyah region). See id. at 228.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 210 and 211.

Bellwether Plaintiff Rita Blodgett was injured as a result of this attack.

               Attack #2.      April 28, 2005 IED Attack in Tal Afar, Nineveh Province that
                               Killed U.S. Army First Lieutenant William Anthony Edens and
                               U.S. Army Specialist Ricky William Rockholt, Jr.

       On April 28, 2005, U.S. Army First Lieutenant (“1LT”) William Anthony Edens and U.S.




12
   For all Bellwether Attacks, Dr. Gartenstein-Ross has concluded that a given Iranian Agent either
“likely” or “very likely” carried out the attack. See Stearns, 633 F. Supp. 3d at 299 (finding
“satisfactory evidence in the record to demonstrate that the explosive responsible for the [ ] attack
in Baghdad was an EFP traceable to Iran and its proxies” based on expert testimony that the EFP
“was likely” supplied by the IRGC); Est. of Fishbeck v. Islamic Republic of Iran, No. 18-CV-2248
(CRC), 2023 WL 7448770, at *7 (D.D.C. Aug. 18, 2023) (“Fishbeck II”) (stating that “the Court
is satisfied that there is sufficient evidence to attribute the . . . bellwether attack to AQI, which
received material support from [Iran],” based on expert testimony and a sworn declaration of a
battalion commander that AQI “was likely responsible for the attack”). A determination of
“likely” is based on the presence of significant but inferential evidence (e.g., the given attack
occurred within a geographic area where the perpetrator had operational dominance, was executed
with TTPs that are generally identified with the perpetrator, and the attack aligns with the
perpetrator’s motivations). Attribution Report at 17. A determination of “very likely” is made
when the aforementioned indicators exist alongside explicit indicators of responsibility, such as a
credible and verified claim of responsibility or government reporting attributing responsibility to
the perpetrator. Id. “Very likely” determinations may also be based on the profuse presence of
inferential evidence, such as the attack’s alignment with an Iranian Agent’s TTPs and area of
operations dominance and with the Iranian Agent’s announcement of a campaign targeting
coalition forces in the same time frame and region as the attack. Id.

                                                 18
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Army Specialist (“SPC”) Ricky William Rockholt Jr. were on patrol in a Stryker armored vehicle

as part of a convoy in southeast Tal Afar, Nineveh Province. Attribution Report at 184. Their

armored vehicle either struck and detonated an IED or was struck by a VBIED. Id. at 184-85.

1LT Edens and SPC Rockholt were killed by the explosive device’s blast. Id. at 184. The blast

also killed one other service member. Id.

        Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as AQI, very

likely carried out this attack, based on: (1) AQI’s dominance of the eastern half of Tal Afar, where

the attack occurred in 2005, evidenced by their operation in the area of large training facilities,

storage of significant amount of equipment, and usage of satellite uplinks; (2) the TTPs employed,

including the use of IEDs and VBIEDs, both of which AQI regularly made use of in the area and

continued to utilize after the date of this attack; and (3) the Zarqawi organization’s direct claim of

responsibility for this attack. Id. at 185.

        Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 182 through 187.

Bellwether Plaintiffs Christina Linden and Jason Rockholt were injured as a result of this attack.

                Attack #3.      August 21, 2005 IED Attack in Al-Karmah, Al Anbar Province
                                that Wounded U.S. Marine Corps Sergeant Adam C.
                                Kisielewski

        On August 21, 2005, U.S. Marine Corps Sergeant (“Sgt.”) Adam C. Kisielewski and other

service members were clearing a school in Al-Karmah, Al Anbar Province. When they breached

the rooftop door, a 97-pound artillery shell that was rigged to the door exploded. Attribution

Report at 33.

                One other service member was killed as a result of this attack. Id.

        Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as AQI, likely

carried out this attack, based on: (1) AQI’s maintenance of “a strong and persistent presence in Al



                                                 19
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Karmah” during this time period, which it used “as a center from which to attack Fallujah;” 13 and

(2) the TTPs employed, including the use of IEDs, which AQI made prolific use of throughout

Fallujah and the surrounding area, which includes Al Karmah, in 2005. 14 Id. at 34.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 44 and 102 through

104. Bellwether Plaintiff Adam Kisielewski was injured as a result of this attack.

               Attack #4.     June 9, 2006 IED Attack in Al Qaim, Al Anbar Province that
                              Killed U.S. Marine Corps Lance Corporal Brent Basil Zoucha

       On June 9, 2006, U.S. Marine Corps Lance Corporal (“LCpl.”) Brent Basil Zoucha was on

patrol in an up-armored High Mobility Multipurpose Wheeled Vehicle (“HMMWV”) called an

M1114 in Al Qaim, Al Anbar Province when his vehicle was struck by a remotely detonated IED.

Attribution Report at 40. LCpl. Zoucha died in the explosion, which left a blast site approximately

12 feet wide, 11 feet long, and three feet deep. Id. at 40, 43. The blast also killed three other

service members. Id. at 40.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as the Mujahedin

Shura Council (“MSC”), very likely carried out this attack, based on: (1) MSC’s dominance in the

Al Anbar Province generally, and their significant operational presence in Al Qaim, at the time of



13
   According to the Institute for Defense Analysis, on which Dr. Gartenstein-Ross relies, “AQI . . .
maintained a strong and persistent presence in Al Karmah, using it as a center from which to attack
Fallujah. One difficulty with securing the Karmah area was its proximity to where three Coalition
operating areas connected: Multi-National Division–North, Multi-National Division–Baghdad,
and MNF-W. Cognizant of the ‘seam,’ insurgents used the boundaries to facilitate their attack.
The area north of Al Karmah had also been a harbor for AQI since 2004, given its remoteness and
location along a major route connecting the Samarra area to the Fallujah area.” Attribution Report
at 35.
14
   For example, “a threat assessment declassified by CENTCOM and dated July 2, 2005,” just
weeks after the attack, “depicts AQI associate groups, VBIEDs, SVBIEDs, and weapons caches
in and around Fallujah,” and notes that AQI insurgents were attempting to establish themselves in
the area “in the same manner employed in late 2003 and early 2004.” Attribution Report at 36.


                                                20
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the attack;15 and (2) the TTPs employed, including the use of a powerful and remotely detonated

IED, which MSC built in IED factories located throughout Al Anbar province 16 and utilized

frequently in attacks against the coalition forces. 17 Id. at 40.

        Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 105 through 110.

Bellwether Plaintiff Rita Zoucha was injured as a result of this attack.

                Attack #5.      February 8, 2007 IED Attack in Al-Karmah, Al Anbar Province
                                that Killed U.S. Army Sergeant Ross Aaron Clevenger

        On February 8, 2007, U.S. Army Sergeant (“SGT”) Ross Aaron Clevenger was in a RG-

31 Mine-Protected Armored Personnel Carrier at the head of a convoy operating near Al-Karmah,

Al Anbar Province. Attribution Report at 46. The convoy was on a route clearance mission “in

support of recovery operations for a downed U.S. helicopter.”          Id. While en route to the

helicopter’s crash site, SGT Clevenger’s vehicle hit a deeply planted IED, which exploded,

severely injuring SGT Clevenger and sundering his armored vehicle into four pieces. Id.




15
   As Dr. Gartenstein-Ross concludes, “MSC used Al Qaim”—where this attack occurred—“and
its surrounding towns as a point of entry for fighters and supplies entering Iraq from neighboring
Syria, seizing existing smuggling routes from local tribes. By 2005, MSC’s presence in Al Qaim
was extensive[.]” Attribution Report at 42. And though its dominance in the area waned in late
2005, “MSC continued fighting the Albu Mahal throughout 2006, and the city’s importance as a
transit point from Syria meant MSC continued attacks on Coalition and local tribes in that area.
For example, three months after the IED attack that killed LCpl. Zoucha, MSC kidnapped a local
high-profile sheik who had objected to the group’s presence in Al Qaim.” Attribution Report at
43.
16
  According to Dr. Gartenstein-Ross, “[c]oalition special forces operations targeted these facilities
extensively, often finding senior MSC leaders on site.” Attribution Report at 44.
17
   As the Institute for Defense Analysis reported, “this was a sophisticated enemy . . . . All main
roads and avenues of approach were laced with IEDs. Residential buildings were mined in order
to target Coalition forces as they breached and cleared rooms.” See id. at 42.


                                                   21
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       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s dominance of the Al Anbar Province generally during

the time of the attack, including Al Karmah, evidenced by their frequent IED attacks in the area

and infiltration of the local government; 18 (2) the TTPs employed, including the use of IEDs, which

the Zarqawi organization built in IED factories located throughout Al Anbar province and utilized

frequently in attacks against the coalition forces, and especially the use of a deeply planted IED

that was a known Zarqawi tactic at this time because deeply buried IEDs were capable of

destroying heavily armored vehicles typically used for route clearance missions, such as the one

SGT Clevenger was on; and (3) ISI’s claim of responsibility for the downing of the U.S. helicopter,

which occurred the day before and to which SGT Clevenger’s route clearance mission was a

response. Id. at 47, 49.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 111 through 115.

Bellwether Plaintiff Brandon Clevenger was injured as a result of this attack.

               Attack #6.     February 11, 2007 Shaped-Charge IED Attack in Al-Karmah,
                              Al Anbar Province that Killed U.S. Army Sergeant Russell A.
                              Kurtz

       On February 11, 2007, SGT Russell A. Kurtz was traveling as part of an armored vehicle

convoy in Al-Karmah, Al Anbar Province, when the passenger-side of his vehicle, an up-armored




18
   According to Dr. Gartenstein-Ross, Al-Karmah, a nearby town located approximately six
kilometers from Fallujah, “was central to the group’s operations in the Fallujah area” because the
town was strategically located along a weapons and foreign-fighter smuggling route. Attribution
Report at 48. ISI exerted substantial control over Al Karmah, infiltrating the town’s government
structure. Id. at 49. That dominance continued until well after this attack. For example, “[i]n June
2007, Coalition forces launched Operation Black Diamond in Al-Karmah to ‘clear remaining AQI
elements.’” Id.

                                                22
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M1114 HMMWV, was struck by a shaped-charged IED. Attribution Report at 54. SGT Kurtz

was seated in the passenger seat at the time of the attack, and was struck on the right side of his

head by both the IED’s shock wave and loose glass from the passenger-door window, which was

hurled into the vehicle’s cabin as a result of the IED’s blast. Id. The IED “was most likely a

command wire detonated device and was placed at a 45 degree angle in a pot hole . . . to aim at

the passenger [] side of the vehicle.” Id. at 55. The Explosives Ordinance Disposal (“EOD”) unit

concluded that “any triggerman employing this type of IED would have been either very skilled

or very lucky, based on the timing required to properly employ this type of IED.” 19 Id. at 55.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s dominance of the Al Anbar Province generally during

the time of the attack, including Al Karmah where Attack #5 also took place, evinced by ISI’s

frequent IED attacks and infiltration of the local government during this time period; and (2) the

TTPs employed, including the use of shaped-charge IEDs, which ISI built in IED factories located

throughout Al Anbar province, in addition to a shaped-charge IED factory in neighboring Samara

Province, which were utilized frequently in attacks against the coalition forces. See id. at 55, 58.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 116 through 119.

Bellwether Plaintiffs Roger Kurtz and Stephanie Kurtz were injured as a result of this attack.

               Attack #7.     March 5, 2007 IED Attack in Samarra, Saladin Province that
                              Killed U.S. Army Staff Sergeant Justin Michael Estes

       On March 5, 2007, U.S. Army Staff Sergeant (“SSG”) Justin Michael Estes was on patrol




19
  The EOD report “goes on to state that the operative who detonated the shaped charge IED ‘was
most likely located within a few hundred meters north of ASR Michigan and had his escape
covered by a second Insurgent who fired at the platoon (1 B3-509) from a berm 300-400 meters
north of the IED site.’” Attribution Report at 55.

                                                 23
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in the third of four armored vehicles in the southeast portion of Samarra, Saladin Province.

Attribution Report at 231. The first vehicle struck a victim-operated IED, which was comprised

of a pressure plate linked to multiple 155mm artillery shells. Id. at 232. The explosion completely

destroyed the vehicle, “effectively cutting it in half.” Id. at 231. SSG Estes exited his vehicle and

ran towards the wounded to provide medical aid, but another pressure-switch IED exploded,

                          Id. at 232. Five other service members died in the attack that killed SSG

Estes. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, likely

carried out this attack, based on: (1) ISI’s extensive presence in Samarra during the time of the

attack, evidenced by the organization’s claimed attacks on police stations which marshalled some

300 insurgent fighters, roadside bombings, attacks on two minarets, and brazen threats of attacks

on Iraqi police forces located within Samara;20 and (2) the TTPs employed, including the use of

IEDs that contained unique components similar to the device used to kill SSG Estes, 21 for which

the Zarqawi organization ran specialized IED training camps where insurgents received instruction

on IED construction and use. Id. at 232, 234.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 212 through 214.

Bellwether Plaintiff Norma Estes was injured as a result of this attack.




20
  Just two months after this attack, ISI carried out another roadside bomb attack in this same area
against an Iraqi army vehicle. Attribution Report at 233.
21
  Four months after the attack that killed SGT Estes, coalition forces seized a Zarqawi organization
weapons cache south of Baghdad, which contained materials to construct IEDs similar to the
device that killed SSG Estes. Id. at 234.

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               Attack #8.      April 7, 2007 IED Attack in Zaganiyah, Diyala Province that
                               Killed U.S. Army Captain Jonathan Grassbaugh, U.S. Army
                               Private First Class Rodney Lynn McCandless, and U.S. Army
                               Specialist Levi Kenneth Hoover

       On April 7, 2007, U.S. Army Captain (“CPT”) Jonathan D. Grassbaugh, U.S. Army PFC

Rodney Lynn McCandless, and SPC Levi Kenneth Hoover were inside an armored vehicle

operating as part of a resupply convoy in Zaganiyah, Diyala Province. Attribution Report at 141.

Their convoy was returning to base when an IED detonated beneath their vehicle, exploding with

such violence that the vehicle’s turret and four of the five applicants were sent skyward. Id. PFC

McCandless remained trapped inside the vehicle and died as the vehicle was “engulfed in fire.”

Id. SPC Hoover was found dead “15-20 meters away from the blast site.” Id. CPT Grassbaugh

was found burning approximately 10 to 15 meters from the blast site and was pronounced dead on

arrival at a medical center in nearby Balad. Id. at 142. The blast also killed one other service

member. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s “effective[] occup[ation]” of the broader Diyala River

Valley region, including Zaganiyah, where ISI militants killed or displaced approximately 5,000

Shia residents by March, 2007;22 and (2) the TTPs employed, including the use of IEDs, which ISI

utilized along the main roads surrounding Zaganiyah to such a degree that, at the time of the attack,

certain coalition forces elements were reporting coming under “two to three daily IED attacks.”

Id. at 142, 144.



22
  By March, 2007, ISI had installed a new Islamic government in the region which implemented
Sharia law. See Attribution Report at 143. ISI also established its military headquarters in a
Zaganiyah elementary school and trained its fighters on a pre-setting tactic for IEDs, where IEDs
were “buried under streets in Diyala Province” sometimes months before detonation in order to
avoid detection by road surface alterations. Id.

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       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 153 through 158.

Bellwether Plaintiff Patricia Grassbaugh was injured as a result of this attack.

               Attack #9.      May 28, 2007 IED Attack in Abu Sayda, Diyala Province that
                               Killed U.S. Army Specialist James E. “Jimmy” Summers, U.S.
                               Army Specialist Zachary David “Bubba” Baker, and U.S. Army
                               First Lieutenant Kile G. West

       On May 28, 2007, SPC James E. “Jimmy” Summers, SPC Zachary David “Bubba” Baker,

and 1LT Kile G. West were traveling as part of a convoy tasked with retrieving a downed

helicopter near Abu Sayda, Diyala Province. Attribution Report at 146. Their Bradley fighting

vehicle drove over a pressure plate, which in turn detonated an IED buried underneath the road.

Id. The explosion killed SPC Summers and 1LT West immediately, while SPC Baker sustained

injuries from the blast and died while being evacuated to a medical facility located in Balad. Id.

at 146-47. One other service member was killed as a result of this attack. Id. at 147. Shortly after

the initial explosion, a second IED containing approximately 100 pounds of explosives detonated

on the recovery team, resulting in the death of another service member. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack based on: (1) ISI’s dominance of the broader Diyala River Valley region

during the time of the attack, including towns near Abu Sayda, which it used as a “safe haven”

town from which ISI militants organized attacks on neighboring towns; (2) the TTPs employed,

including the use of IEDs, which ISI utilized along the main roads surrounding the nearby towns

of Baqubah and Zaganiyah to such a degree that, at the time of the attack, certain coalition forces

elements were reporting coming under “two to three daily IED attacks;” and (3) the Zarqawi

organization’s claim of responsibility for shooting down the helicopter which was the impetus for

the mission on which SPC Summers, SPC Baker, and 1LT West were killed. Id.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 159 through 165.


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Bellwether Plaintiffs Michael Summers, Clark West, and Nanette West were injured as a result of

this attack.

                Attack #10.     October 14, 2007 IED Attack in Arab Jabour Neighborhood of
                                Baghdad that Killed U.S. Army Sergeant First Class Justin S.
                                Monschke

        On October 14th, 2007, U.S. Army Sergeant First Class (“SFC”) Justin S. Monschke

pursued insurgents on foot in Arab Jabour, a southern neighborhood of Baghdad. Attribution

Report at 122. An improvised IED placed in a footpath detonated, resulting in SFC Monschke

being thrown 15 meters into a 15-foot deep ditch

                                                                     Id. at 123. SFC Monschke died

from his injuries. Id.

        Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s “virtually uncontested” influence over the southeast of

Baghdad at the time of the attack, fostered by the aggrieved local Sunni population, Iraqi

Government absenteeism, and favorable terrain, and evinced by ISI’s frequent IED attacks on main

roadways, use of the area to prepare fighters for operations in Baghdad, and maintenance of a

“detention house” used to torture captured combatants; and (2) the TTPs employed, including the

use of IEDs, which ISI utilized in at least one other October, 2007 attack for which it claimed

responsibility, and which were constructed with similar materials to those discovered in an ISI

weapons cache seized by the coalition forces the following month in neighboring Babil Province.

See id. at 123, 125.

        Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 147 through 149.

Bellwether Plaintiff Patty Jett was injured as a result of this attack.




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               Attack #11.     October 24, 2007 IED Attack in Baiji, Saladin Province that
                               Killed District of Columbia U.S. Army National Guard Sergeant
                               First Class Robin L. Towns, Sr.

       On October 24, 2007, District of Columbia U.S. Army National Guard SFC Robin L.

Towns, Sr. was part of a four-car convoy operating in Baiji, Saladin Province. Attribution Report

at 237. The convoy noticed a vehicle tire lying in the road and stopped to scan the tire for signs

of an IED. Id. After determining there was no threat, the vehicles drove past the tire one by one.

Id. When SFC Towns’s vehicle, an HMMWV, drove by, a buried command-wire IED detonated

flipping SFC Towns’s vehicle                              Id. at 237-38.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, likely

carried out this attack, based on: (1) ISI’s use of Baiji before, during, and after the attack as an

instrumental midpoint in a key transportation route between Mosul and Baghdad; 23 and (2) the

TTPs employed, including the use of a buried command-wired IED, which ISI regularly used to

target coalition forces in Iraq’s northern provinces, and which were constructed with similar

materials to those discovered in ISI weapons caches captured by coalition forces in neighboring

Nineveh Province during this time period.24 Id. at 238, 240.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 215 through 217.

Bellwether Plaintiff Shelia Towns was injured as a result of this attack.




23
  As Dr. Gartenstein-Ross explains, ISI’s dominance in the area is further demonstrated by: the
capture by coalition forces of senior ISI leaders in the Baiji network in the months leading up to
the attack; and ISI’s deploying of several car bombs in Baiji just before and several months after
the attack. Attribution Report at 239.
24
   The Zarqawi organization used command-wired IEDs similar to the one that killed SFC Towns
in several other attacks in the neighboring province. Id. at 240.

                                                 28
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               Attack #12.     January 9, 2008 House-Borne IED Attack in Sinsil, Diyala
                               Province that Killed U.S. Army Staff Sergeant Jonathan Killian
                               Dozier, U.S. Army Sergeant Zachary Wade McBride, and U.S.
                               Army Sergeant First Class Matthew Ignatius Pionk

       On January 9, 2008, SSG Jonathan Killian Dozier, SGT Zachary Wade McBride, and SFC

Matthew Ignatius Pionk entered a suspected ISI safe house in Sinsil, Diyala Province. Attribution

Report at 158. Their entry triggered the explosion of a HBIED, causing the building to collapse

and killing all three service members. Id. Three additional service members and one civilian

contractor were also killed as a result of the HBIED. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi Organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s dominance of the broader Diyala River Valley region,

including the town of Sinsil, where ISI militants established a nearby sanctuary, which they used

to “terroriz[e] and intimidate[e] the local population;” 25 (2) the TTPs employed, including the use

of HBIEDs, which were a common ISI tactic at this time, with coalition forces encountering 42

HBIEDs belonging to ISI in the Diyala River Valley between December 24, 2007 and February

18, 2008; and (3) U.S. Government reporting that indicates ISI perpetrated the attack, based in part

on intelligence that just days before the attack “[ISI] started hanging out at this house. Local

citizens were warned by [ISI] not to look at the activity taking place at the residence. Children

who normally play in abandoned houses were told not to go in this one.” 26 Id. at 158, 161.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 172 through 176.

Bellwether Plaintiffs Martha Cabe, Sarah Lambert, and Duane Pionk were injured as a result of



25
   ISI used the area as a command and control site “to funnel fighters, weapons, and money.”
Attribution Report at 159. ISI also operated detention, torture, and execution facilities near Sinsil.
Id.
26
  Additionally, according to the after action report, a local political leader pointed to the house
where the bomb was planted, as “the location of a suspected Al Qaeda safehouse.” Id. at 158.

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this attack.

        B.      Complex Attacks

        Four of the 25 Bellwether Attacks were complex attacks carried out by the Iran-backed

Zarqawi organization and/or AAI. The attacks claimed the lives of 18 service members and

civilian contractors, and severely wounded many more.

        Complex attacks involve the use of multiple types of weapons in the same attack, and are

either previously coordinated engagements by multiple attacks or opportunistic employment of

multiple available weapon types. See Roth II, 651 F. Supp. 3d at 80 (deeming attacks “complex”

because one roadside bombing attack contained a mortar “indirect fire component” and another

attack involved “sustained fighting with multiple weapons systems”); Brown II, 2023 WL

4824740, at *4 (noting that complex attacks “involve multiple weapons systems (such as an IED

and an RPG)[,] are sustained over time[, and] show evidence of advanced planning to inflict

maximum casualties”); Cabrera I, 2022 WL 2817730, at *15 (categorizing and defining complex

attacks). Complex attacks may take the form of an ambush, which generally requires the

perpetrators to have conducted reconnaissance and selected the attack site ahead of time, gathered

men and materiel, and laid in wait. See Roth II, 651 F. Supp. 3d at 90 (noting the expert’s testimony

that the complex attack was an “‘ambush’ because terrorists would have developed intelligence

about U.S. troop movement to carry it out successfully”); Fishbeck II, 2023 WL 7448770, at *4

(describing a complex attack “perpetrated by a large number of combatants embedded within the

city who used small arms, rocket propelled grenades (‘RPGs’), and improvised explosive devices

(‘IEDs’)” and also “used sophisticated ambush tactics, including blocking routes to funnel the

soldiers into ‘a kill zone’”).

        Complex attacks can also begin with an event-based trigger (e.g., the detonation of an IED,

followed by small arms fire) or can involve multiple weapon systems from the outset (e.g.,

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coincident engagement with small arms and RPGs, followed by remote detonation of nearby

IEDs), and may involve multiple waves of attacks. See Roth II, 651 F. Supp. 3d at 79-80 (agreeing

with an expert’s conclusion that the attack was pre-planned because it involved the explosion of a

building door when servicemen attempted to breach the building and subsequent fire attack from

RPGs and small arms). As such, complex attacks are generally carried out by more sophisticated

terrorist groups, often with substantial training and other support from Iran. See Roth II, 651 F.

Supp. 3d at 76 (noting that Iran taught terrorists “how to commit ‘complex attacks,’ which involve

multiple weapons such as IEDs combined with RPGs, small arms fire, and more”); Fishbeck II,

2023 WL 7448770, at *5 (stating that “the coordinated nature of the largescale attack,” “the

insurgents’ sophisticated ability to lure the convoy with false intelligence, track the fast-moving

convoy through the region, and immobilize the convoy in a kill zone” was “consistent with the

capabilities of AQI,” which received material support from Iran); Pregent Expert Report ¶¶ 157-

58 (stating that as AAI/AAS, AQI, and their respective affiliates’ capabilities for complex attacks

increased, “U.S. forces concluded the attacks were planned out, rehearsed, and sourced, and

benefitted from pattern analysis and intelligence—a trained tactic of the IRGC-QF and

Hezbollah”).

       Dr. Gartenstein-Ross concludes that Iran materially supported each of these attacks, which

Plaintiffs discuss infra in § V(C)(2)(b).

               Attack #13.     April 9, 2004, Complex Ambush Attack in Abu Ghraib,
                               Baghdad Province that Killed U.S. Army Reserve Sergeant
                               Elmer C. Krause and Kellogg, Brown & Root (“KBR”) Civilian
                               Contractors Stephen F. Hulett, Timothy E. Bell, Tony Duane
                               Johnson, and Jack A. Montague

       On April 9, 2004, SGT Elmer C. Krause and KBR civilian contractors Stephen F. Hulett,

Timothy E. Bell, Tony Duane Johnson, and Jack A. Montague were serving at Logistics Support

Area Anaconda, in Balad, Saladin Province when their convoy was ambushed. Attribution Report

                                                31
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at 99. The day before the attack, the U.S. Army requested that KBR send an emergency convoy

to the north gate of Baghdad International Airport (“BIAP”) to supply fuel for U.S. forces. Id.

SGT Krause’s unit was tasked with protecting the unarmed KBR drivers. Id. The convoy,

consisting of 26 vehicles, hit a roadblock en route to BIAP. Id. at 100. As the convoy pushed

through the roadblock, it was ambushed by approximately 15 RPGs and additional rifle fire. Id.

The attackers detonated IEDs during their assault. Id. Survivors report there may have been

machine guns and mortars used as well. Id.

       SGT Krause was shot while attempting to help survivors in another vehicle evacuate into

his tanker, Tanker 12. Id. After SGT Krause was shot, Tanker 12 caught fire, and SGT Krause

was not seen evacuating the vehicle with the other members of the convoy. Id. SGT Krause was

listed as “whereabouts unknown” until his remains were identified on April 23, 2004. Id.

       Mr. Hulett’s tanker fishtailed and crashed. Id. He escaped his vehicle, but was killed by

gunfire during the ambush. Id.

                 Id. Mr. Johnson’s tanker, Tanker 8, sustained significant damage as a result of

insurgent fire, causing the tanker to crash. Id. Mr. Johnson was killed in the crash. Id. Mr.

Montague’s tanker, Tanker 10, was destroyed by enemy fire, resulting in his death. Id. Mr. Bell’s

tanker, Tanker 15, was rendered inoperable by enemy fire during the ambush. Id. After the

operable vehicles arrived at BIAP, they returned to the ambush site to retrieve the wounded and

stranded members of the convoy. Id. By the time they returned, Mr. Bell, along with two other

convoy members, were missing. Mr. Bell was never found and was declared dead six years later,

on April 26, 2010. Id. at 101.

       This attack has come to be known as the “Good Friday Ambush.” Id. Dr. Gartenstein-

Ross concludes that the Zarqawi organization very likely carried out this attack, based on: (1) the



                                                32
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Zarqawi organization’s maintenance of a significant presence near BIAP, and west of Baghdad

generally, in the period leading up to, during, and after the attack, including carrying out multiple

attacks in the area shortly before and after this ambush; (2) the TTPs employed, and especially the

use of a complex ambush attack featuring RPGs, IEDs, and various small arms, all of which the

Zarqawi organization had training on and access to at the time of the attack and had used in

carrying out similar ambushes elsewhere in Iraq; and (3) the U.S. Government’s assignment of

responsibility for the attack to the Zarqawi organization, and in particular Zarqawi organization

leader Hammada Awdah Abd Farhan, who was responsible for coordinating and carrying out other

ambushes and assassinations in the Baghdad area during this period. Id. at 101, 103.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 128 through 132.

Bellwether Plaintiffs Jonathan Krause, Gerald Krause, Lisa Kaufman, Alexandria Parks, Felicia

Bell Carter, and Michael Bell were injured as a result of this attack.

               Attack #14.     April 11, 2004 Complex Attack Near Mahmudiyah, Babil
                               Province that Killed U.S. Army Sergeant Major Michael B.
                               Stack

       On April 11, 2004, U.S. Army Sergeant Major (“SGM”) Michael B. Stack and his unit

were returning to their primary base of operations after an earlier ambush involving the use of an

IED that misfired and the attempted firing of an RPG. Attribution Report at 73. As SGM Stack’s

unit traveled near Mahmudiyah, Babil Province, they were ambushed again by a heavy volume of

machine gun and small arms fire. Id. at 73-74. Securing the convoy’s rear, SGM Stack directed

fire against the enemy. Id. at 73. As the convoy moved through the area, “a [sic] IED/RPG was

detonated on the southern side of the last vehicle.” Id. SGM Stack was killed in action,

                                                   Id. at 74. Shortly after this attack, the unit was

ambushed again with small arms fire. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization likely carried out this attack,

                                                 33
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based on: (1) the Zarqawi organization’s dominance of the city of Mahmudiyah at the time of the

attack, evinced by the Zarqawi organization’s terrorizing of Shia residents and frequent ambushing

of coalition forces during this time period in what was known as the “Triangle of Death”; 27 and

(2) the TTPs employed, including the use of a complex ambush28 attack at night involving a large

quantity of machine guns and RPGs and/or IEDs, which the Zarqawi organization had employed

in similar ambushes elsewhere in Iraq. 29 See id. at 74, 76-77.

          Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 123 through 125.

Bellwether Plaintiffs Milissa Wojtowicz and Virginia Maitland were injured as a result of this

attack.

                 Attack #15.    June 12, 2007 Complex Attack in Baqubah, Diyala Province that
                                Killed U.S. Army Corporal Damon LeGrand

          On June 12, 2007, U.S. Army Corporal (“CPL”) Damon LeGrand was on patrol as part of

a convoy near Baqubah, Diyala Province, when his armored vehicle “ran over” an IED “comprised

of ‘two anti-tank mines’ buried in the ground.” Attribution Report at 152. The blast was so

powerful that there was nothing left of the armored vehicle except for the “doghouse” (main




27
  According to the Institute for the Study of War, on which Dr. Gartenstein-Ross relies, “Al Qaeda
dominated the city of Mahmudiyah from 2004 through 2006.” Attribution Report at 75. The
Zarqawi organization carried out suicide bomb attacks against police and mosques in the area in
2004. Id. at 76. The organization also moved fighters, supplies, and weapons through the region
west and north of Mahmudiyah. Id.
28
    As explained in the after action report for this attack, “The ambush was well directed and
planned, the enemy had isolated the kill zone and there was no other CF seen on the entire MSR.
The enemy placed a heavy volume of fire that was controlled and not just the usual spray of bullets.
. . . The enemy followed similar TTPs for each ambush by isolating the trail vehicle directing the
majority of their firepower in an attempt to possibly cause a break in contact.” Id.
29
  At least four other attacks on coalition forces in 2004 demonstrate the Zarqawi organization’s
“ability to direct and plan complex ambushes” like the attack that killed SGM Stack. Id. at 76-77.


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carriage). Id. Simultaneously, the vehicle was attacked with an RPG. Id. Following the IED and

RPG blasts, the remainder of CPL LeGrand’s unit engaged with a high volume of small arms fire.

Id. By the time the attackers had engaged his comrades,

                             Id. One other service member was killed as a result of the attack. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, likely

carried out this attack, based on: (1) ISI’s position as the “dominant force” during this period in

Diyala Province, which includes Baqubah, where the attack took place; and (2) the TTPs

employed, including the use of complex ambush attacks involving small arms, IEDs, and RPGs,

all of which ISI possessed at the time of the attack.30 Id. at 152, 154-55.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 166 through 171.

Bellwether Plaintiffs Ashley LeGrand Rawlings and K.L. were injured as a result of this attack.

               Attack #16.     January 28, 2008 Complex Attack in Mosul, Nineveh Province
                               that Killed U.S. Army Sergeant James Edward Craig, U.S.
                               Army Corporal Evan Andrew Marshall, and U.S. Army Private
                               Second Class Joshua Young

       On January 28, 2008, SGT James Edward Craig, CPL Evan Andrew Marshall, and U.S.

Army Private Second Class (“PV2”) Joshua Young patrolled in a five-vehicle convoy in the

Yarimjah neighborhood of Mosul, Nineveh Province. Attribution Report at 191. While on patrol,

a powerful IED detonated directly under their up-armored vehicle, a M1114 HMMWV, splitting

the vehicle in two pieces. Id. SGT Craig, CPL Marshall, and PV2 Young were killed immediately,

and the remaining patrol vehicles came under attack from small arms fire, RPGs, and four mortar




30
   In the months before the attack that killed CPL LeGrand, Coalition forces uncovered several
weapons caches containing machine guns, RPGs, and explosives used for the construction of IEDs.
Attribution Report at 154. ISI also conducted numerous complex attacks utilizing such weaponry
in the months leading up to the attack that killed CPL LeGrand. Id. at 154-55.

                                                 35
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rounds coming from surrounding buildings. Id. Helicopter-borne air support and other ground

troops moved to assist the embattled convoy. Id. at 193. The fighting lasted for nearly four and a

half hours after the initial IED explosion that killed SGT Craig, CPL Marshall, and PV2 Young.

See id. Two other service members were killed in the attack. Id. at 191.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, and AAI,

operating as AAS, very likely jointly carried out this attack, based on: (1) ISI’s dominance of

Mosul at the time of the attack, which was deemed as the organization’s “last major urban

stronghold,” while AAS, which maintained a “working relationship” with ISI during this time,

concentrated fighters in Mosul thanks in part to Mosul’s large population and narrow alleyways

that afforded AAS insurgents a defensible environment; (2) the TTPs employed, including the use

of complex ambush attacks involving small arms, IEDs, mortars, and RPGs, all of which ISI and

AAS had access to at the time; (3) declassified U.S. Government reporting, which characterized

ISI as the dominant insurgent group in Mosul at the time and the likely perpetrator of the attack;

and (4) AAS’s claim of responsibility for the attack, which details when the insurgents planted the

IED that initiated the attack, as well as the progression of the battle. Id. at 193.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 188 through 199.

Bellwether Plaintiffs Joel Sexton-Craig, Natalie Jackson, Andrew Marshall, Sheila Marshall, and

Brandi Yanez were injured as a result of this attack.

       C.      Suicide Bombings

       Five of the 25 Bellwether Attacks involved the use of suicide attacks carried out by Iran-

backed AAI or the Zarqawi organization. The attacks claimed the lives of 27 service members

and civilian contractors, and seven Iraqi service members; they also severely wounded many more.

       Suicide bombings involve an individual’s purposeful commitment of suicide by command-

detonating explosives while they are near their target, generally while on foot or in a vehicle.

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Cabrera I, 2022 WL 2817730, at *17 (categorizing and defining suicide attacks); see Taitt v.

Islamic Republic of Iran, No. CV 20-1557 (RC), 2023 WL 2536518, at *2 (D.D.C. Mar. 16, 2023)

(describing a suicide bombing of the U.S.S. Cole). On foot, suicide bombings typically involve

the attacker wearing a garment—described as an SVIED—with explosives sewn into the fabric,

which may be further augmented with nails, ball bearings, and other fragments which function as

shrapnel when the explosives detonate, inflicting additional deaths and injuries. Cabrera I, 2022

WL 2817730, at *17; see Fishbeck II, 2023 WL 7448770, at *7 (describing an AQI-perpetrated

personnel-borne IED attack near a mosque on a major religious holiday). Suicide bombings

perpetrated from vehicles, also described as SVBIEDs, are cars, vans, or trucks loaded with

explosives driven near or into their target. Cabrera I, 2022 WL 2817730, at *17; see Brown II,

2023 WL 4824740, at *4 (noting that VBIEDs—explosive devices carried by vehicles—are one

of AQI’s signature attack methods); Fishbeck II, 2023 WL 7448770, at *10 (describing a vehicle-

borne IED attack when the detonation of a parked car resulted in killing and injuring servicemen

who approached the car on patrol).

       As courts have previously recognized, suicide attacks are a signature TTP of the Zarqawi

organization, and are often supported by Iran through the provision of weapons, training, and

funding. See Brown II, 2023 WL 4824740, at *10 (finding a SVBIED attack—a “signature” AQI

TTP—perpetrated by AQI to have been caused by Iran’s material support); Cabrera I, 2022 WL

2817730, at *22 (finding Iranian supply of “finances, training, and weapons” to have “substantially

contributed” to a proxy’s ability to conduct person-borne and SVBIED attacks); see also Sunni

Militant Groups Report at 46, 72 (stating the Zarqawi organization “sent three kinds of people into

Iraq: suicide bombers, anti-coalition fighters, and couriers” and that AAI signaled its commitment

to “continu[e] the insurgency” by committing a suicide bombing in Mosul); Attribution Report at



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91, 96 (describing the Zarqawi organization’s practice of perpetrating suicide bombings, as well

as AAI’s “frequent[]” use of suicide bombers and car bombs); Pregent Expert Report ¶ 146 (stating

that suicide bomb makers “would routinely enter Iraq via the IRGC-QF and the Syrian-intelligence

Foreign Fighter Facilitation network, in full knowledge of both Iran and Syria”). AQI, for instance,

“claimed responsibility for countless suicide bombings, an integral tactic in its war against the

coalition, which reflected the group’s obsession with martyrdom.” See Attribution Report at 120.

Suiciding bombing was also a preferred method of AAI attack. Id.at 96 (citing a Stanford

University Center for International Security and Cooperation study finding that AAI “frequently

used suicide bombers and car bombs”); id. at 132 (explaining that “both the Zarqawi organization

and AAS/AAI remained active in the city of Baqubah, routinely conducting IED attacks on

coalition and Iraqi forces, as well as suicide bombings and VBIED attacks, throughout 2007 and

2008”); see also id. at 172-84, 221-25 (detailing Attacks #19 and #17, respectively, both of which

were suicide Bellwether Attacks committed by AAI, and also describing that suicide bombings

were TTPs commonly associated with AAI). The Sunni Terrorist Groups preferred these attacks

for the same reason—they produced “‘spectacular attacks,’ gaining media attention and notoriety,

and supporting their goal of inciting sectarian conflict.” Id. at 120.

       Dr. Gartenstein-Ross concludes that Iran materially supported each of these attacks, which

Plaintiffs discuss infra in § V(C)(2)(c).

               Attack #17.     May 14, 2004 Suicide Vehicle-Borne IED Attack in Balad,
                               Saladin Province that Killed U.S. Army Sergeant James W.
                               Harlan

       On May 14, 2004, SGT James W. Harlan traveled as a passenger in a vehicle in Balad,

Saladin Province. Attribution Report at 221. A passing vehicle carrying explosives was detonated

by the driver. Id.

        Id.

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        Dr. Gartenstein-Ross concludes that AAI, operating as AAS, likely carried out this attack,

based on: (1) AAS’s maintenance of operational dominance in the Saladin Province at the time of

the attack, evinced by AAS’s “credibl[e] [claims of] responsibility for numerous attacks in the

vicinity of Balad;”31 and (2) the TTPs employed, including the use of an SVBIED, which AAS

had utilized in several other recent attacks for which it claimed responsibility. 32 Id. at 221.

        Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 207 through 209.

Bellwether Plaintiff Tara Roberts was injured as a result of this attack.

                Attack #18.     October 14, 2004 Suicide Attack in Baghdad, Baghdad Province
                                that Killed John Albert Pinsonneault

        On October 14, 2004, John Albert Pinsonneault was employed as a civilian government

contractor with DynCorp, and was spending time at a bazaar in the International Zone of Baghdad.

Attribution Report at 113. While Mr. Pinsonneault and two of his colleagues were walking through

the market, a suicide bomber and IED simultaneously detonated in the market and the International

Zone café, respectively. Id. Mr. Pinsonneault was killed in the attack.



                         Id. Two of Mr. Pinsonneault’s DynCorp colleagues, one other American

civilian, and six Iraqi civilians were also killed in the attack. Id.




31
  AAS credibly claimed responsibility for attacks in the vicinity of Balad, including on April 8,
2004; April 9, 2004; April 12, 2004; April 13, 2004; and July 28, 2004. Attribution Report at 222-
23. These attacks indicate that AAS maintained uninterrupted area of operations dominance in the
area between these cities, including in and around Balad, at the time of the attack that killed SGT
Harlan. Id. at 223.
32
   In the months preceding this attack, AAS orchestrated several SVBIED attacks targeting
coalition forces for which it claimed responsibility, including on December 12, 2003; January 31,
2004; and February 23, 2004. Id. at 223. AAS’s use of SVBIEDs also continued past May 2004.
Id. For example, AAS was responsible for a SVBIED bombing on July 6, 2004 in Khalis, a town
in Diyala Province, according to the Office of the Director of National Intelligence. Id.

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       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as JTJ, very likely

carried out this attack, based on: (1) JTJ’s high level of activity in Baghdad, including high-profile

bombings, at the time of the attack, having perpetrated a suicide truck bombing against the U.N.

Headquarters in Baghdad less than a year prior; (2) the TTPs employed, including the use of a

SVIED, which was a common TTP used by the Zarqawi organization throughout its existence,

including during the period it was known as JTJ; and (3) JTJ’s issuance of a claim of responsibility

for the attack, which was subsequently published by The New York Times. Id. at 113-14.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 138 through 143.

Bellwether Plaintiff Jacob Kosky was injured as a result of this attack.

               Attack #19.     December 21, 2004 Suicide Attack on Forward Operating Base
                               Marez, Mosul, Nineveh Province that Killed Maine U.S. Army
                               National Guard Staff Sergeant Lynn Robert Poulin, U.S. Army
                               Staff Sergeant Julian Melo, and U.S. Army Private Lionel Ayro

       On December 21, 2004, Maine U.S. Army National Guard SSG Lynn Robert Poulin, U.S.

Army Staff Sergeant Julian Melo, and U.S. Army Private (“PVT”) Lionel Ayro were in the Dining

Facility (“DFAC”) on FOB Marez in Mosul, Nineveh Province. Attribution Report at 172-73. A

suicide bomber in an Iraqi Army uniform gained access to FOB Marez, entered the DFAC, sat at

a table facing the busy cafeteria line, and detonated the explosives on his person. Id. at 173. The

blast killed 14 U.S. military personnel, including SSG Poulin, SSG Melo, and PVT Ayro; four

Haliburton employees and four Iraqi soldiers were killed as well, and 71 other people were injured

by the blast. Id.

       Dr. Gartenstein-Ross concludes that AAI, operating as AAS, very likely carried out this

attack, based on: (1) AAS’s maintenance of an operational presence in Mosul at the time of the

attack, having engaged in fierce fighting with coalition forces in Mosul; (2) the TTPs employed,

including the use of a suicide attack, of which AAS had a “documented history;” (3) AAS’s


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issuance of a written claim of responsibility for the attack, which included a video of the events

leading up and subsequent to the attack; and (4) U.S. Government reporting, which assigned AAS

responsibility for having perpetrated the attack. Id. at 174.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 177-81. Bellwether

Plaintiff Nancy Poulin was injured as a result of this attack.

               Attack #20.     December 9, 2005 Suicide Vehicle-Borne IED Attack in Abu
                               Ghraib, Baghdad Province that killed U.S. Army Specialist
                               Adrian N. Orosco

       On December 9, 2005, SPC Adrian Noe Orosco was patrolling on foot in Abu Ghraib, a

western neighborhood of Baghdad. Attribution Report at 117-18. SPC Orosco was killed at the

“intersections of Route Sword and Route Michigan” by the detonation of an SVBIED. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as AQI, very

likely carried out this attack, based on: (1) AQI’s high level of activity in Baghdad before, during,

and after the time of the attack, where only three months prior AQI militants had orchestrated 12

coordinated explosions across Baghdad that killed 167 people and wounded approximately 600

more;33 and (2) the TTPs employed, which include the use of SVBIEDs, which were a “signature

attack method[]” of AQI at the time of the attack. 34 Id. at 118.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 144 through 146.



33
   At the time of the attack, AQI had consolidated control in the western neighborhoods of
Baghdad. Attribution Report at 119. Specifically, AQI “used Route Sword and Route Michigan
as primary routes for transporting weapons and supplies into Baghdad,” and SPC Orosco was
killed by an SVBIED explosion at the intersection of these routes. Id.
34
   For example, “AQI was responsible for the SVBIED attack on the U.N. Baghdad Headquarters
in 2003, killing the United Nations’ representative to Iraq, Sergio Vieira de Mello. In 2004, AQI
carried out a SVBIED attack that killed Iraqi Governing Council head Ezzedine Salim near the
Coalition headquarters compound in Baghdad. In September 2005, when AQI had strongholds in
west Baghdad, AQI launched a triple suicide car bomb attack in Balad, Saladin Province, killing
over 200 people.” Id. at 119.

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Bellwether Plaintiff Noe Orosco Sr. was injured as a result of this attack.

                Attack #21.   April 10, 2009 Suicide Vehicle-Borne IED Attack in Mosul,
                              Nineveh Province that Killed U.S. Army Corporal Jason G.
                              Pautsch, U.S. Army Staff Sergeant Bryan E. Hall, U.S. Army
                              Sergeant Edward W. Forrest, and U.S. Army Staff Sergeant
                              Gary L. Woods

        On April 10, 2009, CPL Jason G. Pautsch, SSG Bryan E. Hall, SGT Edward W. Forrest,

and SSG Gary L. Woods were on patrol as part of a convoy in western Mosul, Nineveh Province.

Attribution Report at 207. A red dump truck approached their position at FOB Marez at a high

rate of speed. Id. CPL Pautsch, SGT Forrest, and SSGs Hall and Woods attempted to stop the

truck with machine gun fire from their armored vehicle, but the truck continued to rapidly advance

towards their position. Id. When the truck was approximately 10 meters from the service

members’ armored vehicle, a SVBIED contained within the truck detonated, “tearing ‘the roof

from the [service members’] vehicle hull,’ tipping it over, and ejecting” the service members. Id.

CPL Pautsch, SGT Forrest, and SSGs Hall and Woods died instantaneously from injuries sustained

in the blast. Id. at 208.

        Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s continued operational presence in Mosul, which reached

a cadence “35 attacks per week” in the month of and after the attack; (2) the TTPs employed,

including the use of SVBIEDs, which ISI was known to use to target coalition forces compounds

at the time of the attack; (3) the U.S. Government’s unsealing of an indictment prosecuting a

Canadian-Iraqi citizen and member of ISI, Sayfildin Tahir Sharif, for orchestrating the attack,

where Sharif eventually pled guilty and was sentenced to 26 years in federal prison; and (4) ISI’s

issuance of a claim of responsibility, which described the attack. Id. at 208, 210-13.

        Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 200 through 206.

Bellwether Plaintiffs Josef Pautsch and Becky Johnson were injured as a result of this attack.

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       D.      Small Arms, Rocket-Propelled Grenade, and Anti-Aircraft Attacks

       Two of the 25 Bellwether Attacks were small arms, RPG, and anti-aircraft attacks carried

out by the Iran-backed Zarqawi organization. These attacks claimed the lives of 13 service

members.

       Small arms (including handguns, sniper rifles, and machine guns), RPG, and anti-aircraft

attacks involve the attacker firing at their target with line-of-sight visibility. Cabrera I, 2022 WL

2817730, at *16 (describing the above as “[i]nfantry-style tactics” which involve “individuals

pulling triggers”). As numerous courts have concluded, Iran has provided terrorist groups in Iraq

with these types of weapons and trained these militants on how to use them effectively to kill

American troops. See Roth II, 651 F. Supp. 3d, at *92 (finding possession of RPGs by proxy

forces, and in particular their successful use, to indicate “substantial” Iranian support); Brown II,

2023 WL 4824740, at *6 (finding RPGs require training to use accurately, indicating substantial

Iranian support); Neiberger v. Islamic Republic of Iran, No. 16-cv-2193-EGS-ZMF, 2022 WL

17370239, at *4-5, 10 (D.D.C. Sept. 8, 2022) (concluding that Iran’s provision of material support

proximately caused the rocket fire attack that resulted in a service member’s injuries), report and

recommendation adopted, 2022 WL 17370160 (D.D.C. Sept. 30, 2022); see also Cabrera I, 2022

WL 2817730, at *11 (finding that Iran provided training to Taliban members in Afghanistan on

the use of small arms and infantry tactics); Sunni Militant Groups Report at 51-52 (detailing

Iranian provision of weapons to the Zarqawi organization of the kind used in Attacks 22 and 23).

       Dr. Gartenstein-Ross concludes that Iran materially supported each of these attacks, which

Plaintiffs discuss infra in § V(C)(2)(d).

               Attack #22.     January 20, 2007 Anti-Aircraft Attack in Bahrez, Diyala
                               Province that Killed Iowa U.S. Army National Guard Command
                               Sergeant Major Marilyn L. Gabbard

       On January 20, 2007, Iowa U.S. Army National Guard CSM Marilyn Gabbard flew as a

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passenger in a UH-60 Blackhawk helicopter (call sign EZ 40) as part of a two-helicopter formation

over Bahrez, Diyala Province. Attribution Report at 134. CSM Gabbard’s helicopter was struck

by enemy fire and subsequently crashed, killing all 12 people onboard, including CSM Gabbard.

Id. at 134-35. The surviving helicopter and newly arrived aircraft engaged with and destroyed the

enemy positions. Id. at 135. While the precise munition used to shoot down EZ 40 is unknown,

surface-to-air missiles (“SA-7s” and retrofitted air-to-air R5 missiles), RPGs, a 50-caliber machine

gun, and an anti-aircraft gun were discovered at the enemy ground site. Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as ISI, very likely

carried out this attack, based on: (1) ISI’s position as the “dominant force” at the time in the Diyala

Province, which includes Bahrez, where the attack took place, as well as Bahrez’s neighboring

city of Baqubah;35 (2) the TTPs employed, including the use of RPGs, SA-7s, 50-caliber machine

guns, and an anti-aircraft gun, all sophisticated weapons that were found in a building near CSM

Gabbard’s crash site that was destroyed in the crash, and which ISI had trained its fighters to use

at various locations throughout Iraq; and (3) ISI’s issuance of a claim of responsibility for shooting

down the helicopter, which accurately described the location and timing of the crash. Id.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 150 through 152.

Bellwether Plaintiffs Marla Van Cannon and Michael Van Cannon were injured as a result of this



35
   As Dr. Gartenstein-Ross explains, “[d]uring the first three years of the Iraq War, the town was
a frequent battleground between U.S. and Iraqi forces, on the one hand, and Sunni insurgents. U.S.
forces and their Iraqi partners would take control of the town, only to have Sunni insurgents retake
it once they left. One of these struggles for control of Bahrez occurred in mid-February 2007 –
soon after the attack that killed CSM Gabbard – that ensued because ISI had once again claimed
control of the town in December 2006. According to credible news reports, the progress of
Coalition forces was stymied by a combination of real and fake roadside bombs, IEDs, snipers
posted “throughout the city,” and rocket-propelled grenade (“RPG”), mortar, and small arms fire
– demonstrating the entrenchment of ISI in Bahrez around the time of this attack.” Attribution
Report at 136.

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attack.

                 Attack #23.   February 18, 2007 Small Arms Fire Attack in Ramadi City, Al
                               Anbar Province that Killed Private First Class Kelly David
                               Youngblood

          On February 18, 2008, PFC Kelly David Youngblood was serving on a three-person team

manning a tank outside of Ramadi, Al Anbar Province. Attribution Report at 61. As PFC

Youngblood exited the tank, he was the target of three synchronized gunshots fired by snipers

lying in wait in three different buildings, all of which had PFC Youngblood’s tank in line-of-sight.

Id. PFC Youngblood was found by his crewmates lying motionless on the front slope of the tank

near the driver’s hatch. Id. It was soon determined that PFC Youngblood had been shot once in

the head. Id. He was evacuated to a medical checkpoint where he was subsequently pronounced

dead. Id.

          Dr. Gartenstein-Ross concludes that the Zarqawi Organization, operating as ISI, likely

carried out this attack, based on: (1) ISI’s position as the dominant insurgent force in Ramadi at

the time of the attack, evinced by its longstanding presence in Ramadi and continued campaign of

murder and intimidation across the city, which it sustained over the course of the year; 36 and (2)

the TTPs employed, including the coordinated use of multiple small arms, which ISI was known

for through several other attacks it had carried out throughout 2007 and for which ISI had the




36
   Just three months before this attack, Iraq’s Commanding General George Casey authored a
briefing, noting that 75 percent of CENTCOM’s fights in Ramadi were against ISI militants.
Attribution Report at 62-63. Further, an authoritative CENTCOM report on the insurgency in Al
Anbar Province published in 2007 noted that “[ISI] retained a complex and coordinated command
and control infrastructure in the city despite the efforts of the Anbar Revolutionaries to assassinate
the group’s leadership.” Id. at 63. ISI “remained the most powerful insurgent group in Ramadi
when this attack occurred.” Id.


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training, weapons, and familiarity with local terrain and coalition troop movements. 37 Id.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 120 through 122.

Bellwether Plaintiff Richard Gervasi II was injured as a result of this attack.

       E.      Indirect Fire

       Two of the 25 Bellwether Attacks were indirect fire attacks carried out by the Iran-backed

AAI or Zarqawi organization. These attacks claimed the lives of four service members, and

severely wounded many more.

       Indirect fire attacks involve the use of rockets, artillery, or mortars against an objective.

See Fishbeck II, 2023 WL 7448770, at *6 (describing an attack “by artillery fire from two 120-mm

mortars and two 107-mm rockets” on a base); Brown II, 2023 WL 4824740, at *11 (noting that

rockets and mortars differ from RPGs because they involve a stabilizing base, which is used to

launch them from the ground); Stearns, 633 F. Supp. 3d at 341-42 (describing indirect fire attacks

that involved rockets and mortar rounds dropped on the Green Zone in Baghdad). These weapons

are particularly valuable because they do not require a direct line of sight to their intended target,

allowing their operators to remain in cover while attacking, although they do require a known

target location to be accurate. See Fishbeck II, 2023 WL 7448770, at *8-9 (describing an attack

that “involved several 107-mm rockets landing in Camp Travis” launched from Sadr City). With

proper training, these types of attacks can be highly effective. See Brown II, 2023 WL 4824740,




37
   The Zarqawi organization also carried out multiple small arms attacks on coalition personnel
stationed in and around Ramadi in the months leading up to and after the attack that killed PFC
Youngblood. See id. at 63. Additionally, the fact that PFC Youngblood and his crewmates were
shot at from multiple buildings simultaneously suggests that the perpetrators would need to be
familiar with the terrain, not only to coordinate the attack itself, but to select the site as an ideal
ambush location. Id. at 64. It is well documented that Iranian weapons were funneled to Zarqawi’s
ISI terrorists in Al Anbar Province. Id.

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at *6 n.6 (finding that indirect fire weapons systems used by AQI terrorists required “training and

sophistication,” indicating substantial Iranian support); Stearns, 633 F. Supp. 3d at 295

(acknowledging that “Iran’s connection to mortar rounds and smaller caliber rockets spans more

than fifty years”); Pregent Expert Report ¶¶ 138-43 (noting that a successful indirect fire attack

“requires expertise that only comes from advanced training,” and that Iran’s Arabic-speaking

proxy, Hezbollah, trained Sunni terrorist groups on these techniques in Iran and Lebanon).

       Dr. Gartenstein-Ross concludes that Iran materially supported each of these attacks, which

Plaintiffs discuss infra in § V(C)(2)(e).

               Attack #24.     April 24, 2004 Artillery Attack in Taji, Baghdad Province that
                               Killed Arkansas U.S. Army National Guard Captain Arthur L.
                               Felder and U.S. Army Staff Sergeant Billy J. Orton

       On April 24, 2004, Arkansas U.S. Army National Guard CPT Arthur L. Felder and SSG

Billy J. Orton were in an accommodation trailer at Camp Cooke in Taji, Baghdad Province when

Camp Cooke was attacked by enemy artillery, either mortars or 107mm rockets, launched from a

truck. Attribution Report at 107.

                                Id. Helicopters subsequently engaged and destroyed the enemy

launch vehicle. Id. The attack killed two other coalition members. Id.

       Dr. Gartenstein-Ross concludes that AAI, operating as AAS, likely carried out this attack,

based on: (1) AAS’s maintenance of an operational presence in Baghdad Province and the area

proximate to Baghdad City around the time of the attack, including the region north of Baghdad

City and the town of Taji itself, and evinced by AAS’s claims of responsibility for two other attacks




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in Baghdad province in the same month;38 and (2) the TTPs employed, specifically the use of

mortars or 107mm rockets in attacks against coalition forces, which were the weapons used in

eight other AAS attacks which occurred in the same month, and which AAS frequently touted in

videos of rocket attacks it used as part of its recruiting and training campaign. 39 Id. at 108.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 133 through 137.

Bellwether Plaintiffs Cheryl Felder Stuart and Manaser Orton were injured as a result of this attack.

               Attack #25.     May 25, 2004 Artillery Attack in Iskandariya, Babil Province
                               that Killed Vermont U.S. Army National Guard Sergeant Alan
                               N. Bean

       On May 25, 2004, U.S. Army National Guard SGT Alan N. Bean was conducting routine

operations at FOB Kalsu in Iskandariya, Babil Province, approximately 20 miles south of

Baghdad. Attribution Report at 79. At approximately 14:20, 15 simultaneously fired 107mm

rockets hit the base. Id. at 80. The attack killed three service members including SGT Bean, and

wounded twelve others. Id.




38
   “An expert report published in May 2004 states that ‘AAS’s area of operations included
Baghdad, the Sunni triangle, and northern Iraq.’” Attribution Report at 109 (quoting Michael
Rubin, Ansar al-Sunna: Iraq’s New Terrorist Threat, MIDDLE EAST INTEL. BULL., 6:5 (May 2004),
https://www.meforum.org/meib/articles/0405_iraq1.htm).          Further, AAS “maintained an
operational presence in Taji itself, even after this attack, as demonstrated by an AAS claim of
responsibility for executing an Iraqi contractor in Taji in October 2004.” Id. AAS also claimed
responsibility for two attacks near the area carried out during the same month as the Bellwether
Attack. Id. Dr. Gartenstein-Ross noted that other terrorist groups, including the Zarqawi
organization, did not have an operational focus in the region of the attack that killed SGT Orton in
early 2004, bolstering his conclusion that AAI was likely responsible. Id. at 110-11.
39
   Profiles of AAS demonstrate that both rockets and mortars were used by AAS at the time of the
attack. For example, in the same month of the attack, AAS claimed responsibility for at least eight
attacks using similar weapons. Id.at 110. By December 2004, AAS had become known to “‘use
videos of rocket attacks and roadside bombings as part of its recruiting and training campaign.’”
Id. (quoting ABC NEWS, Profile of Terror Group Ansar al-Sunna (Dec. 21, 2004),
https://abcnews.go.com/WNT/story?id=350505).


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                  Id.

       Dr. Gartenstein-Ross concludes that the Zarqawi organization, operating as JTJ, likely

carried out this attack, based on: (1) JTJ’s maintenance of an operational presence in Iskandariya

and the surrounding area, evinced by two suicide bombing attacks carried out in the area in the

months preceding the attack;40 and (2) the TTPs employed, including the use of indirect fire

weapons to target other coalition forces bases in the area, which JTJ used on a subsequent October

2004 attack on an Iraqi National Guard compound in the greater Baghdad area, and especially the

use of 107mm rockets, which were known to be provided by Iran to proxy forces operating in Iraq

which aligned with Iran’s anti-American interests, such as JTJ, evidenced by the seizure of Iranian-

made 107mm rockets from a JTJ weapons cache in Fallujah later that year. 41 Id. at 80.

       Dr. Gartenstein-Ross’s conclusions as to this attack relied on Exhibits 126 and 127.

Bellwether Plaintiff Alan Bean Sr. was injured as a result of this attack.

IV.    LEGAL STANDARD

       The Federal Rules of Civil Procedure grant district courts discretion to enter a default



40
   At the time of the attack, the Zarqawi organization operated heavily out of the region containing
Iskandariya, known colloquially as the “Southwest Belt,” or the “Baghdad Belt.” Attribution
Report at 81. This area was of such strategic importance that the Zarqawi leader, Abu Musab al-
Zarqawi, hand-drew a map of the area demonstrating his plan to control the region’s terrain. Id.
at 81-82. In the months leading up to the May 25 attack, JTJ committed two separate attacks on
the same region. Id. at 82. JTJ held a stronghold in the north of Babil province—where this attack
occurred—whereas other militias were most present in the south of the Babil province. Id. at 83-
84.
41
   JTJ regularly used rockets at this time, as demonstrated by the November 2004 seizure of a JTJ
weapon cache in Fallujah, which Iran is known to have provided the militant groups it supported.
Id. at 83; Pregent Expert Report ¶ 137 (citing Agence France-Presse, US Shows Evidence in Iraq
Rocket      Attacks     It    Says      Leads     to    Iran,     NAT’L,   July     14,    2011,
http://www.thenational.ae/news/world/middle-east/us-shows-evidence-in-iraq-rocket-attacks-it-
says-leads-to-iran) (detailing Iran’s pattern of providing the militant groups it supported with
107mm rockets—the same caliber as the munitions used in Attack 25). Moreover, The Zarqawi
organization also had a history of targeting coalition military bases. Id.

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judgment upon a party’s motion when an opposing party fails to appear. Fed. R. Civ. P. 55(b)(2);

see W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117, 124 (D.D.C. 2019) (“W.A. I”). “A

default judgment is normally available, as here, when ‘the adversary process has been halted

because of an essentially unresponsive party.’” Azadeh v. Gov’t of Islamic Republic of Iran, No.

1:16-CV-1467 (KBJ), 2018 WL 4232913, at *2 (D.D.C. Sept. 5, 2018) (quoting Jackson v. Beech,

636 F.2d 831, 836 (D.C. Cir. 1980)). To enter a default judgment, “the Court must—at a

minimum—satisfy itself that it has subject matter jurisdiction over the claims and personal

jurisdiction over the defendants.” Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 56 (D.D.C.

2018) (“Fritz I”).

       The Foreign Sovereign Immunity Act (“FSIA”) “provides the ‘sole basis for obtaining

jurisdiction over a foreign state in our courts.’” Ewan v. Islamic Republic of Iran, 466 F. Supp. 3d

236, 242 (D.D.C. 2020) (quoting Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S.

428, 434 (1989)). Under the FSIA, a foreign state is not entitled to immunity from suit in U.S.

courts when claims against the state fall within a statutory exception, such as the “state-sponsored

terrorism exception.” Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 356 (D.D.C. 2020)

(“Force I”) (citing 28 U.S.C. § 1605A). The “state-sponsored terrorism exception” confers

subject-matter jurisdiction to hear certain terrorism-related claims under state or federal law and

recognizes a federal cause of action against those foreign states subject to the exception. Hamen

v. Islamic Republic of Iran, 401 F. Supp. 3d 85, 98-99 (D.D.C. 2019) (“Hamen I”). “The FSIA

also addresses personal jurisdiction and specifies precise procedures that a plaintiff must

follow . . . to effect service on a foreign state.” Force I, 464 F. Supp. 3d at 356 (citing 28 U.S.C.

§ 1608).

       To obtain a default judgment against Iran, following service, Plaintiffs must (1) produce



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evidence sufficient to show that their claims fall within the state-sponsored terrorism exception,

(2) establish that Iran was served in accordance with the FSIA, and (3) establish their right to relief

under federal or state law by offering evidence “satisfactory to the court.” Force I, 464 F. Supp.

3d at 336 (quoting 28 U.S.C. § 1608(e)) (citations omitted). Thus, “the FSIA leaves it to the court

to determine precisely how much and what kinds of evidence the plaintiff must provide, requiring

only that it be ‘satisfactory to the court.’” Han Kim v. Democratic People's Republic of Korea,

774 F.3d 1044, 1047 (D.C. Cir. 2014) (quoting 28 U.S.C. § 1608(e)). Even “the Supreme Court

has recognized very realistically that [district] courts have the authority—indeed . . . the

obligation—to adjust evidentiary requirements to differing situations.” Id. at 1048 (citations and

quotation marks omitted).

       In weighing the evidence in a “state-sponsored terrorism” case, “the Court must do so in

light of Congress’s purpose in enacting § 1605A—that is, to ‘compensat[e] the victims of terrorism

[so as to] punish foreign states who have committed or sponsored such acts and [to] deter them

from doing so in the future,’” Force I, 464 F. Supp. 3d at 336 (quoting Han Kim, 774 F.3d at 1048).

Additionally, courts must consider “the difficulty in obtaining ‘firsthand evidence and eyewitness

testimony . . . from an absent and likely hostile sovereign.’” Id. (quoting Owens v. Republic of

Sudan, 864 F.3d 751, 785 (D.C. Cir. 2017) (“Owens III”), vacated and remanded sub nom. on

other grounds Opati v. Republic of Sudan, 140 S. Ct. 1601 (2020)). “[I]ndeed, the quantum and

quality of evidence that might satisfy a court can be less than that normally required.” Lee v.

Islamic Republic of Iran, 518 F. Supp. 3d 475, 480 (D.D.C. 2021) (“Lee I”) (quoting Owens III,

864 F.3d at 785). The D.C. Circuit reviews findings underlying a default judgment in an FSIA

case for abuse-of-discretion, in a “lenient” manner. Fraenkel v. Islamic Republic of Iran, Ministry

of Foreign Affs., 892 F.3d 348, 356 (D.C. Cir. 2018); Maalouf v. Islamic Republic of Iran, 514 F.



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Supp. 3d 280, 285 (D.D.C. 2021) (“Maalouf II”) (“The district court . . . has an unusual degree of

discretion over evidentiary rulings in a FSIA case against a defaulting state sponsor of terrorism,”

and “only where the court relies upon evidence that is both clearly inadmissible and essential to

the outcome has it abused its discretion.”) (quoting Owens III, 864 F.3d at 785-86).

        Uncontroverted factual allegations that are supported by admissible evidence, such as

documentary and affidavit evidence, are taken as true. Valore v. Islamic Republic of Iran, 700 F.

Supp. 2d 52, 59 (D.D.C. 2010); Barry v. Islamic Republic of Iran, 437 F. Supp. 3d 15, 28-29

(D.D.C. 2020) (“Barry II”) (collecting cases). The court also “need not ‘step into the shoes of the

defaulting party and pursue every possible evidentiary challenge.’” Force I, 464 F. Supp. 3d at

336 (quoting Owens III, 864 F.3d at 785). Furthermore, an evidentiary hearing is not required.

Ben-Rafael v. Islamic Republic of Iran, 540 F. Supp. 2d 39, 43 (D.D.C. 2008) (noting that courts

reviewing FSIA claims may rely on affidavits and are not required to hold evidentiary hearings);

Hammons v. Islamic Republic of Iran, No. CV 19-2518 (ACR/RMM), 2023 WL 5933340, at *7

(D.D.C. July 24, 2023) (noting that “expert testimony may be presented solely through written

testimony including sworn affidavits, because the FSIA does not actually demand a hearing or live

testimony; it demands [only] evidence.”) (internal quotations omitted), report and

recommendation adopted, 2023 WL 6211248 (D.D.C. Sept. 25, 2023); Bernhardt v. Islamic

Republic of Iran, No. CV 18-2739 (TJK), 2023 WL 2598677, at *5 (D.D.C. Mar. 22, 2023) (noting

that plaintiffs may meet their evidentiary burden with a prima facie showing in the absence of an

evidentiary hearing); Taitt, 2023 WL 2536518, at *4 (stating that plaintiffs may rely on “their

pleadings, bolstered by such affidavits and other written materials as they can otherwise obtain”).

“As long as the evidence itself is admissible . . . and the court finds it satisfactory, its form or type

is irrelevant.” Owens III, 864 F.3d at 788. Thus, plaintiffs “may establish proof by affidavit, . . .



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declarations, . . . or other written materials as [plaintiffs] can otherwise obtain,” without the need

for an evidentiary hearing. Neiberger, 2022 WL 17370239, at *1 (quotations omitted).

       Expert reports are not only entirely proper, but often sufficient and even indispensable in

terrorism cases because firsthand evidence of terrorist activities is difficult, if not impossible to

obtain. Force I, 464 F. Supp. 3d at 336-37 (citations and quotation marks omitted); Fritz I, 320 F.

Supp. 3d at 57. The D.C. Circuit has “repeatedly sustained jurisdiction or liability or both under

the terrorism exception to the FSIA . . . based solely upon expert testimony.” Owens III, 864 F.3d

at 788 (emphasis added); Kilburn v. Socialist People’s Libyan Arab Jamahiriya, 376 F.3d 1123,

1132-33 (D.C. Cir. 2004) (finding that defendants “have failed to satisfy their ‘burden of proving

that the plaintiff’s allegations do not bring its case within a statutory exception to immunity’” by

offering no evidence contradicting plaintiff’s expert declaration); Neiberger, 2022 WL 17370239,

at *1 (quoting Owens III, 864 F.3d at 788).

       The court may also take judicial notice of related proceedings and records in cases before

the same court. Est. of Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 263 (D.D.C. 2006)

(“Heiser I”). A court in this jurisdiction recently explained:

       [Federal Rule of Civil Procedure] 201 is used frequently to judicially notice factual
       evidence developed in other FSIA proceedings “involving the same conduct by the
       same defendants,” Akins, 332 F. Supp. 3d at 11, “even when those proceedings have
       taken place in front of a different judge.” Foley v. Syrian Arab Republic, 249 F.
       Supp. 3d 186, 191 (D.D.C. 2017) (citing Brewer v. Islamic Republic of Iran, 664
       F. Supp. 2d 43, 54 (D.D.C. 2009)). This avoids “the formality of having that
       evidence reproduced.” Harrison v. Republic of Sudan, 882 F. Supp. 2d 23, 31
       (D.D.C. 2012) (quoting Taylor v. Islamic Republic of Iran, 811 F. Supp. 2d 1, 7
       (D.D.C. 2011)); see also Oveissi v. Islamic Republic of Iran . . . , 879 F. Supp. 2d
       44, 50 (D.D.C. 2012) (finding courts permitted “in subsequent related cases to rely
       upon the evidence presented in earlier litigation”) (quoting Rimkus, 750 F. Supp.
       2d at 172); Estate of Botvin v. Islamic Republic of Iran, 873 F. Supp. 2d 232, 237
       (D.D.C. 2012) (taking “judicial notice of the evidence presented in the earlier
       cases”).

Blank v. Islamic Republic of Iran, No. 19-3645 (BAH), 2021 WL 3021450, at *2 (D.D.C. July 17,


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2021). “In this way, rather than require litigants to present such evidence anew in each lawsuit

stemming from the same terrorist attack, courts have determined that the proper approach is one

that permits courts in subsequent related cases to rely upon the evidence presented in earlier

litigation . . . without necessitating the formality of having that evidence reproduced, so that courts

may reach their own independent findings of fact predicated on judicial notice of the evidence

presented in the earlier cases.” Akins v. Islamic Republic of Iran, 332 F. Supp. 3d 1, 10-11 (D.D.C.

2018) (quotations omitted); see Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 191 (D.D.C.

2017) (finding same “approach appropriate” and “tak[ing] judicial notice of the requested

findings”) (“Foley I”). Thus, courts in this jurisdiction regularly take judicial notice of findings




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from earlier, related proceedings.42

V.     THE COURT HAS SUBJECT-MATTER JURISDICTION OVER PLAINTIFFS’
       CLAIMS

       Pursuant to the FSIA, “the Court has ‘original jurisdiction’ over ‘nonjury civil action[s]’

against foreign states ‘without regard to amount in controversy’ if the claims seek ‘relief in

personam with respect to which the foreign state is not entitled to immunity either under sections

1605-1607 of this title or under any applicable international agreement.’” Karcher v. Islamic

Republic of Iran, 396 F. Supp. 12, 53-54 (D.D.C. 2019) (“Karcher I”) (quoting 28 U.S.C.

§ 1330(a)).   Thus, “[t]he pertinent jurisdictional question is whether the FSIA’s ‘terrorism

exception,’ 28 U.S.C. 1605A, applies such that Defendant Iran—a foreign state—is ‘not entitled



42
   See Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 16 (D.D.C. 2019) (“Karcher I”)
(taking judicial notice of certain findings by the district court in Fritz regarding Iran’s support for
terrorist attacks in Iraq) (citing Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48 (D.D.C. 2018)
(“Fritz I”)); Akins v. Islamic Republic of Iran, 332 F. Supp. 3d 1, 10 (D.D.C. 2018) (taking judicial
notice of prior findings of fact regarding an Iranian-supported attack in Saudi Arabia); Rimkus v.
Islamic Republic of Iran, 750 F. Supp. 2d 163, 172 (D.D.C. 2010) (taking judicial notice of
evidence concerning the attack on Khobar Towers and Iran’s involvement in the attack); Anderson
v. Islamic Republic of Iran, 753 F. Supp. 2d 68, 75 (D.D.C. 2010) (taking judicial notice of
evidence demonstrating Iranian support to Hezbollah and attacks on the Marine Barracks in
Lebanon); Taitt v. Islamic Republic of Iran, No. CV 20-1557 (RC), 2023 WL 2536518, at *8
(D.D.C. Mar. 16, 2023) (taking judicial notice of the findings in Flanagan that “Iran’s provision
of financial, training, and travel support to Bin Laden and Al-Qaeda ‘facilitated the planning and
execution of the attack on the Cole.’”) (quoting Flanagan v. Islamic Republic of Iran, 87 F. Supp.
3d 93 (D.D.C. 2015)); Neiberger v. Islamic Republic of Iran, No. 16-cv-2193-EGS-ZMF, 2022
WL 17370239, at *4 (D.D.C. Sept. 8, 2022) (taking notice of previous findings that deploying an
explosive device was a deliberated attempt to kill someone, even when no fatalities resulted),
report and recommendation adopted, 2022 WL 17370160 (D.D.C. Sept. 30, 2022); Jakubowicz v.
Islamic Republic of Iran, No. CV 18-1450 (RDM), 2022 WL 3354719, at *6-7 (D.D.C. Aug. 9,
2022) (“Jakubowicz I”) (stating that the court may review evidence considered in a prior
proceeding “without necessitating the re-presentment of such evidence” and considering the
evidence submitted by the plaintiffs in Force I); see generally Han Kim v. Democratic People's
Republic of Korea, 774 F.3d 1044, 1049 (D.C. Cir. 2014) (holding that plaintiffs had “met their
burden of producing evidence ‘satisfactory to the court’” where the only evidence linking North
Korea to the victim’s disappearance was a South Korean court’s conviction of a North Korean
agent, of which the district court had taken judicial notice).

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to immunity,’ 28 U.S.C. 1330(a), and the [Plaintiffs] may pursue their claims before this Court.”

Barry II, 437 F. Supp. 3d at 30 (citations omitted). Under the state-sponsored terrorism exception

in section 1605A, a foreign state is not immune from the federal courts’ subject-matter jurisdiction

when:

        [1] money damages are sought against a foreign state [2] for personal injury or
        death [3] that was caused by [4] an act of torture, extrajudicial killing,
        aircraft sabotage, hostage taking, or the provision of material support or resources
        for such an act if such act or provision of material support or resources is [5]
        engaged in by an official, employee, or agent of such foreign state while acting
        within the scope of his or her office, employment, or agency.

Hamen I, 401 F. Supp. 3d at 99-100 (citing 28 U.S.C. § 1605A(a)(1)). Additionally, the exception

applies only when the following requirements are met:

        (1) the defendant was a designated state sponsor of terrorism when the attack
        happened and at the time the claim was filed; (2) the claimant or victim was a U.S.
        national, a member of the U.S. armed forces, or a U.S. government employee or
        contractor at the time of the attack; and (3) “in a case in which the act occurred in
        the foreign state against which the claim has been brought, the claimant has
        afforded the foreign state a reasonable opportunity to arbitrate the claim in
        accordance with the accepted international rules of arbitration.”

Karcher I, 396 F. Supp. 3d at 53-54 (quoting 28 U.S.C. § 1605A(a)(2)(A)(iii)); Jakubowicz

v. Islamic Republic of Iran, No. CV 18-1450 (RDM), 2022 WL 3354719, at *2 (D.D.C.

Aug. 9, 2022) (“Jakubowicz I”) (same).

        Plaintiffs “‘bear[] [the] initial burden of production to show an exception to immunity, such

as § 1605A, applies,’ whereupon, if the defendant fails to appear, ‘jurisdiction attaches.’” Barry

II, 437 F. Supp. 3d at 30 (quoting Owens III, 864 F.3d at 784); Hamen I, 401 F. Supp. 3d at 98-99.

        The Bellwether Plaintiffs meet their burden of proof on each of the elements. Defendant

Iran failed to appear. Thus, this Court may exercise subject-matter jurisdiction over Iran.

        A.     Plaintiffs Seek Money Damages for Personal Injury or Death

        Each of the 45 Bellwether Plaintiffs seeks money damages for personal injury and/or death


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caused by Iran’s support of terrorists in Iraq who perpetrated attacks against Plaintiffs or their

family members. See Complaint (at § IV); infra § VIII(A). The Bellwether Plaintiffs thus satisfy

the “money damages” requirement. See Jakubowicz I, 2022 WL 3354719, at *7.

        B.      The Bellwether Plaintiffs were Injured or Killed During Terrorist Attacks that
                Constituted Extrajudicial Killings

        Each of the 25 Bellwether Attacks constituted an “extrajudicial killing.”               Section

1605A(a)(1) “strips immunity” for “personal injury or death that was caused by an act of . . .

extrajudicial killing . . . or the provision of material support or resources for such an act.” Force

I, 464 F. Supp. 3d at 360 (citing Karcher I, 396 F. Supp. 3d at 57-58).

        As defined in section 3 of the Torture Victim Protection Act of 1991:

                [T]he term “extrajudicial killing” means a deliberated killing not authorized
                by a previous judgment pronounced by a regularly constituted court
                affording all the judicial guarantees which are recognized as indispensable
                by civilized peoples. Such term, however, does not include any such killing
                that, under international law, is lawfully carried out under the authority of a
                foreign nation.

28 U.S.C. § 1605A(h)(7); Barry II, 437 F. Supp. 3d at 33.

        The Bellwether Plaintiffs demonstrate that each attack constituted an extrajudicial killing

by proving that: (1) the attack involved a killing; (2) the killing was deliberated; and (3) the killing

was not authorized by a previous judgment pronounced by a regularly constituted court. Karcher

I, 396 F. Supp. 3d at 55-56.

        As to the first element, a claimant may recover for an attack that resulted in a killing of any

person. Force I, 464 F. Supp. 3d at 360 (noting that “individuals who are injured but not killed in

an attack that results in the death of others may recover for their injuries under § 1605A”); Salzman

v. Islamic Republic of Iran, No. CV 17-2475 (RDM), 2019 WL 4673761, at *12 (D.D.C. Sept. 25,

2019) (deeming an attack on the street an extrajudicial killing—even though the plaintiffs’ family

members were injured not killed—because the attack killed five other people).

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       As to the second element, a deliberated killing is “simply one undertaken with careful

consideration, not on a sudden impulse.” Force I, 464 F. Supp. 3d at 363. Evidence of the attack’s

sophistication and planning—such as intelligence gathering, selecting the attack site in advance,

purchasing weapons, and/or operationally training to commit the attack—demonstrate

deliberation.   See id. at 364 (finding an attack was sufficiently deliberated given it was

“meticulously planned,” “demonstrate[d] characteristics of organized [terrorist] attacks,” and

showed signs of “careful intelligence and logistic preparations . . . made prior to the attack”);

Neiberger, 2022 WL 17370239, at *3-4 (explaining that an IED attack carried out by an Iranian-

backed terror organization was a “prototypical deliberated, extrajudicial killing”); Cabrera I, 2022

WL 2817730, at *38 (explaining that even if Iranian-backed terrorists “may not have known in

advance that [they] would have the opportunity to conduct a particular attack,” these attacks were

nevertheless “deliberated” because the terrorists “planned [their] tactics in advance should the

opportunity to kill Americans arise”); Schwartz v. Islamic Republic of Iran, No. CV 18-1349

(RDM), 2020 WL 7042842, at *12 (D.D.C. Nov. 30, 2020) (“Schwartz I”) (finding “ample

evidence that the attacks in question were planned” from an expert declaration).

       As to the third element, evidence that a terrorist organization carried out the attack suffices

to show that the attack was unauthorized by a previous judgment from a regularly constituted court.

See Neiberger, 2022 WL 17370160, at *3 (“As detailed below, Dr. Gartenstein-Ross offers

evidence that each attack was carried out by a violent non-state actor, such as a terrorist

organization. Thus, none of these attacks were authorized by a previous judgment from a regularly

constituted court.”). Moreover, as here, when no evidence is presented to show that a killing was

authorized by a judgment of a regularly constituted court or lawfully carried out under the authority

of a foreign nation, the presumption of the killing’s extrajudicial nature stands. See Lee I, 518 F.



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Supp. 3d at 492.

       Here, Plaintiffs were injured as a result of 25 extrajudicial killings in which at least one

individual was killed.43 All of the 25 Bellwether Attacks were quintessential extrajudicial killings,

in that they were carried out by nongovernmental terrorist organizations (with Iran’s backing)

outside of Iran’s territory, involved deadly weaponry, required detailed preparation and planning,

and were part of the Sunni Terrorist Groups’ tactical approach of inflicting mass American

casualties.

       IED Attacks. Bellwether Attacks 1-12 involved the use of IEDs, which by their nature

required the terrorist responsible for the attack to deliberately make, place, arm, camouflage, and

in some instances remotely detonate the IED prior to it being used to kill or injure their intended

victims—American service members and/or civilian contractors. Attribution Report at 17-18;

Roth II, 651 F. Supp. 3d at 91 (finding that IED attacks were deliberated, extrajudicial killings

because terrorists “needed to amass intelligence about U.S. routes to place IEDs where they were

likely to inflict casualties on American troops, rather than on the terrorists or their sympathizers”);

Brown II, 2023 WL 4824740, at *10 (finding that successful IED attacks were deliberated,

extrajudicial killings because such attacks “require training on strategic placement” of the IED and

“necess[itate] [] intelligence-gathering about routes American troops are likely to use”);

Neiberger, 2022 WL 17370239, at *3 (explaining that “prior planning required to carry [the attack]

out,” including “by selecting the site” is “indicative of deliberation”); Cabrera I, 2022 WL

2817730, at *37-38 (buried IED attack found to be a deliberated, extrajudicial killing because the




43
  Supra § III(A) – Attack #3, involves an attack where the Attack Victim represented in this case,
Bellwether Plaintiff Sgt. Kisielewski, was severely injured, but not killed. However, Attack #3
resulted in the death of a U.S. Marine, and thus still constitutes an extrajudicial killing.

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IED was placed “on a path where American forces would likely trigger it,” despite the insurgents

not knowing whether they would have had an opportunity to kill Americans, because the insurgents

“planned [their] tactics in advance should the opportunity to kill Americans arise”). For example,

in Attack #12 that killed SGT McBride, SSG Dozier, and SFC Pionk, the terrorists began rigging

the house with the IED up to eight days before the assault, clearly evincing an attack “undertaken

with careful consideration, not on a sudden impulse.” Force I, 464 F. Supp. 3d at 363; Attribution

Report at 161; see also supra § III(A) – Attack #1 (IED placed along military supply route); Attack

#2 (IED buried under road to avoid detection); Attack #3 (IED rigged as a booby trap to explode

when door opened); Attack #4 (buried IED deliberately detonated by a long-range cordless

telephone detonator system); Attack #5 (IED buried deeply along route between American military

base and downed helicopter); Attack #6 (IED deliberately placed in a pothole alongside road at a

45-degree angle so as to pierce up-armored vehicle); Attack #7 (IED activated by pressure plate

calibrated to explode under a pre-determined weight); Attack #8 (IED buried underneath road);

Attack #9 (IED buried and activated by pressure plate calibrated to explode under a predetermined

weight); Attack #10 (IED placed along footpath on which service member was pursuing a fleeing

insurgent); Attack #11 (IED detonated by insurgent via command wire).

       Complex Attacks. These attacks, by their nature, required terrorists to engage in especially

extensive planning and/or execution tactics and entailed the use of particularly advanced or lethal

weaponry to target American troops and personnel. Attribution Report at 18-19; Roth II, 651 F.

Supp. 3d at 76 (finding that “Iran taught [terrorists] how to commit ‘complex attacks,’” which

involve multiple weapons such as IEDs combined with RPGs, small arms fire, and more); Brown

II, 2023 WL 4824740, at *4, 9 (noting that complex attacks combined multiple weapons system

and involved advanced planning to strike along routes heavily trafficked by Americans to inflict



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maximum casualties, ensuring attacks were “more deadly to Americans”).

       The four complex Bellwether Attacks each involved a highly coordinated ambush attack

on a convoy of American troops and/or civilian personnel, involving high-powered weaponry,

including in IEDs and RPGs. For example, in Attack #13 that killed SGT Krause and KBR

contractors Stephen Hulett, Tony Duane Johnson, Jack Montague, and Timothy Bell, the Zarqawi

terrorists had set up a roadblock to spark the attack and deployed hundreds of fighters wielding

RPGs, IEDs, small arms, mortars, and machine guns. Attribution Report at 100-101; supra § III(B)

– Attack #13. Moreover, members of the convoy were kidnapped and/or executed by the Zarqawi

organization following the ambush. Attribution Report at 101. Attack #14 that killed SGM Stack

likewise involved a coordinated ambush by the Zarqawi organization from multiple angles during

a complex nighttime assault. Attribution Report at 73-74; supra § III(B) – Attack #14. The

terrorists used IEDs, small arms, machine guns, and RPGs set up across multiple ambush points

along the convoy’s route to attack it. Id. In Attack #15 that killed Corporal LeGrand, Zarqawi

organization terrorists initiated the ambush by deploying an IED consisting of two anti-tank mines

that exploded as vehicles in the convoy approached. See supra § III(B) – Attack #15. Following

the explosion, the terrorists launched a coordinated assault on the convoy, consisting of RPG and

small arms fire. Attribution Report at 152. In Attack #16 that killed SGT Craig, CPL Marshall,

and PV2 Young, Zarqawi organization and AAS terrorists teamed up to carry out a carefully

coordinated and high-powered ambush of the American convoy, involving the detonation of

multiple IEDs underneath the convoy’s vehicles followed by a coordinated attack of the remaining

vehicles from nearby buildings, using small arms fire, RPGs, and mortar rounds. See supra

§ III(B) – Attack #16; Attribution Report at 191.

       Suicide Bombings. Similar to IED attacks, suicide bombings carry all of the hallmarks of



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a deliberated attack—they involve preparing explosives, finding a terrorist assailant willing and

capable of purposefully detonating the explosives while wearing them or having them in their

vehicle, selecting a target, and planning the logistics of ensuring access to the target at the specified

time and place. Such bombings also often involve filming martyr videos before the attack, and

compensating the terrorist’s family following the attack. Brewer v. Islamic Republic of Iran, 664

F. Supp. 2d 43, 52-53 (D.D.C. 2009) (finding that a suicide bombing of a United States Embassy

constituted an extrajudicial killing); Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 395

(D.D.C. 2015) (“Roth I”) (finding that a suicide bombing at a restaurant constituted an extrajudicial

killing); see Attribution Report at 177-83, (describing the martyr video filmed and released by

AAS claiming responsibility for Attack #19).

        The five suicide bombing Bellwether Attacks involved careful and premeditated planning.

In Attack #19 that killed SSG Poulin, SSG Melo, and PVT Ayro, the AAS terrorist wearing the

bomb wore an Iraqi army uniform to deceive security and entered the FOB Marez mess hall at one

of the busiest times of the day, as to maximize casualties. See supra § III(C) – Attack #19;

Attribution Report at 173. The design of the suicide vest further indicates that the attacker sought

to inflict maximum damage—the bomb specifically included 243 metal-coated ball bearings.

Attribution Report at 173. AAS claimed responsibility for the attack afterwards, boasting about

its killing of American troops. Id. at 173-74. In Attack #18 that killed John Albert Pinsonneault,

the Zarqawi organization sent the suicide bomber into Baghdad’s green zone, which was known

to house many Americans and high-ranking Iraqi officials. The attacker then went to the bazaar,

a bustling area with American troops present, and simultaneously detonated his suicide vest along

with another IED located inside the nearby Green Zone Cafe. See supra § III(C) – Attack #18;

Attribution Report at 113. In Attacks #17 and #20 that killed SGT Harlan and SPC Orosco,



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respectively, the terrorist groups filled vehicles with powerful explosives and sent the suicide

attackers to areas with U.S. military presence. Attribution Report at 222, 118. The attackers then

detonated the bombs as they drove alongside clearly marked U.S. military vehicles and personnel.

Id. In Attack #21 that killed CPL Pautsch, SSG Hall, SGT Forrest, and SSG Woods, the Zarqawi

organization targeted U.S. Army FOB Marez with a vehicle-borne suicide bomber during

Operation New Hope, the coalition force’s operation against the Zarqawi organization in Mosul

during the spring of 2009. See supra § III(C) – Attack #21; Attribution Report at 207, 210-211.

The terrorists drove a cement truck full of explosives through the initial checkpoint, with the goal

of detonating and killing as many American troops as possible. Attribution Report at 212.

        Small Arms, Rocket-Propelled Grenade, and Anti-Aircraft Attacks. The two Bellwether

Attacks involving small-arms fire, the use of RPGs, or the use of anti-aircraft munitions were

deliberated attacks carried out by terrorist groups on American troops that resulted in the death of

at least one American troop or civilian personnel. In Attack #22 that killed CSM Gabbard, the

Zarqawi organization assailant used a weapon powerful enough to take down a UH-60 Blackhawk

helicopter.44 See supra § III(D) – Attack #22; Attribution Report at 134-135. The assailant had to

aim the weapon at the fast-moving target, a feat evincing advanced training and preparation. That

the Zarqawi organization funded bonuses for militants who were able to successfully shoot down

American helicopters, paying up to $7,000 for such a feat, further evinces that this act was

deliberated and intentional. Id. at 44. In Attack #23 that killed PFC Youngblood, several Zarqawi

organization terrorists hid within an unknown building, waiting for a target, and then fired upon




44
  U.S. military reports did not conclusively identify the weapon used to down CSM Gabbard’s
helicopter, though the range of possibilities identified included surface-to-air missiles, anti-aircraft
gunfire, and RPG fire.

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PFC Youngblood from afar just as PFC Youngblood exited his parked tank. See supra § III(D) –

Attack #22; Attribution Report at 61. The shots were fired simultaneously from multiple buildings

which all had a line of sight to PFC Youngblood’s tank, evincing deliberation, preparation,

coordination, and knowledge of the local terrain. Id.

       Indirect fire. Two of the Bellwether Attacks involved the directing of high-powered

weapons, such as rockets or mortars, at American bases with the deliberate aim of killing American

troops. The aiming and firing of high-powered weaponry at American installations evinces the

terrorists’ intent to kill as many Americans as possible. See Force I, 464 F. Supp. 3d at 361 (finding

a rocket attack “evidenced an intent to kill”); Brown II, 2023 WL 4824740, at *11 (finding that

indirect fire weapons systems require “preparation” and “perimeter security,” which are indicia of

deliberation); Stearns, 633 F. Supp. 3d at 342-43 (attack on the U.S. Phoenix Base in Baghdad

when 107mm rockets crashed into the roof on a gym, killing and injuring service members, found

to be deliberated); Cabrera I, 2022 WL 2817730, at *38 (finding an indirect fire attack on an

American airfield to be a deliberated, extrajudicial killing). In Attack #24 that killed CPT Felder

and SSG Orton, Zarqawi organization terrorists fired rockets at Camp Taji, where American troops

were stationed. See supra § III(E) – Attack #24; Attribution Report at 107. The rockets used were

not only deliberately aimed at an American target, but also required advanced training for the

terrorists to be able to employ effectively. Cabrera I, 2022 WL 2817730, at *16 (finding that

accurate indirect fire indicates receipt of training). In Attack #25 that killed SGT Bean, Zarqawi

organization terrorists this time targeted FOB Kalsu with rockets, one of which struck and killed

SGT Bean and two other service members, and wounded twelve others. See supra § III(E) –

Attack #25; Attribution Report at 80.




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        C.      Iran Provided Material Support for the Extrajudicial Killings that
                Proximately Caused Plaintiffs’ Damages

        “The FSIA’s terrorism exception abrogates sovereign immunity for foreign states that . . .

provide ‘material support or resources’ for extrajudicial killings.” Est. of Fishbeck v. Islamic

Republic of Iran, No. 18-CV-2248 (CRC), 2023 WL 5333209, at *1 (D.D.C. Aug. 18, 2023)

(“Fishbeck III”) (citing 28 U.S.C. § 1605A(a)(1)). “Material support or resources” consist of:

        any property, tangible or intangible, or service, including currency or monetary
        instruments or financial securities, financial services, lodging, training, expert
        advice or assistance, safehouses, false documentation or identification,
        communications equipment, facilities, weapons, lethal substances, explosives,
        personnel (1 or more individuals who may be or include oneself), and
        transportation, except medicine or religious materials[.]

Karcher I, 396 F. Supp. 3d at 54 (quoting 18 U.S.C. § 2339A(b)(1)); see Asemani v. Syrian Arab

Republic, CA 09-1158 (EGS), 2009 WL 4456323, at *1-2 (D.D.C. Nov. 30, 2009) (same).

        Plaintiffs must show that Iran provided material support or resources through its officials

acting within the scope of their official duties. Karcher I, 396 F. Supp. 3d at 55 (citing 28 U.S.C.

§ 1605A(a)(1)). Plaintiffs may rely on an expert testimony to prove this requirement. See

Hammons, 2023 WL 5933340, at *12-14 (concluding that the expert testimony provided

satisfactory evidence that Iranian officials acting within the scope of their official duties gave a

terrorist organization material support and resources); Neiberger, 2022 WL 17370239, at *8 (“The

Quds Force is part of the IRGC, which is, in turn, an arm of the Islamic Republic of Iran. Those

findings are sufficient to satisfy the scope of office requirement.”).

        The deaths and injuries from the attacks must have been “caused by” Iran’s provision of

material support to terrorist organizations. Salzman, 2019 WL 4673761, at *14 (quoting 28 U.S.C.

§ 1605A(a)(1)). “Plaintiffs need not show that Iran . . . specifically knew of or intended its support

to cause the particular attacks in question, . . . or even that Iran[’s] . . . material support was a ‘but

for’ cause of their injures.” Force I, 464 F. Supp. 3d at 368 (first citing Owens III, 864 F.3d at

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789, then citing Kilburn, 376 F.3d at 1128) (quotation marks omitted). Plaintiffs must merely

show proximate causation, which is “some reasonable connection between the act or omission of

the defendant and the damage which the plaintiff has suffered.” Id.

       The “two similar but distinct elements” to establish proximate cause are: (1) “the

defendant’s actions [were] a ‘substantial factor’ in the sequence of events that led to the plaintiff’s

injury,” and (2) “the plaintiff’s injury [was] ‘reasonably foreseeable or anticipated as a natural

consequence’ of the defendant’s conduct.” Owens III, 864 F.3d at 794 (citations omitted). “In

assessing reasonable foreseeability, moreover, the Court must consider ‘the broader context’ of

Iran’s conduct” and need not find that Iran “intend[ed] that the victims sustain the specific injuries

at issue.” Fritz I, 320 F. Supp. 3d at 86 (quoting Owens III, 864 F.3d at 797). Plaintiffs also need

not show “nexus” between Iran’s support and each attack that caused their injuries “because

funds—and, in certain instances, arms and other support—are fungible, and the FSIA could hardly

be interpreted to condition Plaintiffs’ recovery on [terrorists groups’] ‘careful bookkeeping.’”

Force I, 464 F. Supp. 3d at 368 (quoting Kilburn, 376 F.3d at 1130). Finally, a state sponsor of

terrorism “may not avoid liability [under FSIA] for supporting known terrorist groups by

professing ignorance of their specific plans for attacks.” Owens III, 864 F.3d at 799.

       As Dr. Gartenstein-Ross concludes, in line with previous decisions from courts in this and

other jurisdictions, Iran for decades has materially supported the terrorists groups who killed or

injured the Bellwether Plaintiffs, and such support was reasonably connected to the Bellwether

Attacks. See Attribution Report at 20-242 (attack attributions). That support has come from the

highest levels of the Iranian government, and is given with the primary aim of killing Americans

so as to deter the United States’ involvement in conflicts in the region near or bordering Iran. See

Hammons, 2023 WL 5933340, at *3 (“To promote its goal to attack the United States and other



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‘regional foes,’ Iran supplies the Taliban with military support and resources, including a steady

transfer of arms.”); Neiberger, 2022 WL 17370239, at *18 (noting Iran’s “‘longstanding pattern

and policy’ supporting terrorist organizations that aim to harm Americans”); Est. of Fishbeck v.

Islamic Republic of Iran, No. 18-CV-2248 (CRC), 2023 WL 7443394, at *1 (D.D.C. Mar. 27,

2023) (“Fishbeck I”) (“The Islamic Republic of Iran, Islamic Revolutionary Guard Corps, and

Iranian Ministry of Intelligence & Security provided material support, as that term is used in 28

U.S.C. § 1605A(a)(1), to the Sunni terrorist groups Al Qaeda, Al Qaeda in Iraq, and Ansar al Islam

during the relevant time period of 2003-2011.”).

               1.     Iran Provided Material Support for the Sunni Terrorist Groups Who
                      Carried Out the Bellwether Attacks

       Two Sunni terrorists groups in Iraq carried out all 25 Bellwether Attacks—the Zarqawi

organization and AAI. Multiple courts in this jurisdiction have already found Iran to be a long-

standing and ardent supporter of these Sunni terrorist groups, including through the provision of

material support and resources in the form of training, financial support, weapons, safe haven,

lodging, travel and transportation, and expert knowledge and assistance in forming tactics,

techniques, and procedures for attacks. See Roth II, 651 F. Supp. 3d at 87 (stating that Iran

provided the Taliban and al-Qaeda “with training, weapons, soldiers, safe haven and smooth

passage, and more”); Hammons, 2023 WL 5933340, at *3 (noting that Iran supplied the Taliban,

a Sunni terrorist organization, with military support and resources, including a steady transfer of

arms “to promote its goal to attack the United States”); Neiberger, 2022 WL 17370239, at *7

(“Though a predominately Shi’a country, Iran also provided material support and resources to

Sunni militant groups, including the Zarqawi organization, or AQI.”); Cabrera I, 2022 WL

2817730, at *10 (noting that although Iran is a Shia regime, Iran is affiliated with “certain Sunni

terrorist groups, including Hamas”).


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       Plaintiffs’ two experts, Dr. Gartenstein-Ross and Michael Pregent, have rendered the same

conclusion, not just in this case, but in numerous other cases, and the courts have adopted their

conclusions about Iran’s provision of material support to empower its terroristic violence. See

Roth II, 651 F. Supp. 3d at 87 (noting that the plaintiffs provided ample evidence satisfactory to

the court, including from expert Pregent, that Iran provided material support to the Taliban and al-

Qaeda); Brown II, 2023 WL 4824740, at *11 (stating that “based on Pregent’s report and testimony

at the hearing, the Court is satisfied that Iran’s support was a ‘substantial factor’ in the IED,

landmine, RPG, rocket, and mortar attacks and that the consequences of its support were

‘reasonably foreseeable’”); Neiberger, 2022 WL 17370239, at *6 (“In consideration of these past

findings in Karcher and Fritz and the exhaustive report by Dr. Gartenstein-Ross, this Court too

finds that Iran was providing material support and resources to terrorist groups . . . at the time of

the attacks at issue.”); see also Espitia v. Islamic Republic of Iran, No. 1:21-cv-123, 2022 WL

2168355, at *5 (S.D. Tex. June 16, 2022) (“The evidence also demonstrates that Iran provided

material support specifically to AQI.”). 45

       As prior courts have recognized, Iran, the world’s leading state sponsor of terrorism, has

relied for decades on violent non-state actors (“VNSAs”) as proxies for achieving its foreign policy

goals.46 Sunni Militant Groups Report at 3, 57 n. 290. As a predominantly Shia state, Iran has

principally employed VNSAs affiliated with Shia Islam, except where alliances of convenience

with Sunni Islam VNSAs have proven useful to Iran’s larger ambitions, including its ambitions to




45
  This Court can and should take judicial notice of these findings, and need not “require [Plaintiffs]
to present such evidence anew.” Akins v. Islamic Republic of Iran, 332 F. Supp. 3d 1, 10 (D.D.C.
2018).
46
   A more detailed history of these groups can be found in Plaintiffs’ Sunni Militant Groups Report
at 13-76.

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expel the coalition forces from the region or drawing them away from regions of strategic Iranian

interest. Id. at 28-29. As Dr. Gartenstein-Ross explains in his Sunni Militant Groups Report,

Iran’s support for Sunni organizations is “based on ‘enemy of my enemy’ logic”—Iran regards

Sunni militants with suspicion, but utilizes them to achieve its goals, so long as the threat to its

Shia groups and “creed” is limited. Id. at 67. Using this logic, Iran provided significant material

support to three Sunni Groups that bear upon the claims at issue here: al-Qaeda, the Zarqawi

organization (which operated at times in Iraq as an al-Qaeda affiliate known as AQI), and AAI.

        Iranian support of VNSAs has most frequently been provided through two of its major

political arms: the Ministry of Intelligence and Security (“MOIS”) and the IRGC. Id. at 31.

Funneling support through VNSA proxies has allowed Iran and its affiliated entities to maintain a

relative distance from terrorist attacks and operations abroad—thereby preserving its ability to

deny involvement where convenient, politically or otherwise—despite playing a central role in

their orchestration. Id. at 29.

        Plaintiffs first address Iran’s support for AQ, which in turn used that support to finance,

train, arm, recruit for, and coordinate with the Zarqawi organization/AQI and AAI. Plaintiffs next

address Iran’s direct material support to the Zarqawi organization/AQI and AAI. Finally, Plaintiffs

demonstrate the “reasonable connection” between Iran’s material support for these groups and the

25 Bellwether Attacks, such that the support can readily be seen as a proximate cause of Plaintiffs’

injuries.

                        a.        Iranian Material Support for al-Qaeda

        Iran has provided material support to its proxy al-Qaeda in a variety of ways over the course

of its relationship with the group. See, e.g., Bernhardt, 2023 WL 2598677, at *9-10 (concluding

that plaintiffs produced sufficient evidence through expert Gartenstein-Ross’s report that “Iran

materially supported al-Qaeda in its efforts to plan and execute the Camp Chapman attack”). As

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described in detail, infra § V(C)(1)(d), Iran has provided material support to al-Qaeda by way of:

funding; weapons; training on how to conduct mass casualty operations and collect and conduct

intelligence operations; sanctuary for key leaders and militants; travel facilitation for the transit of

personnel, money, and other resources across borders; and infrastructure, by assisting in the

establishment of new bases in the region. See Sunni Militant Groups Report at 43-44; Cabrera I,

2022 WL 2817730, at *35 (noting that Iran provided al-Qaeda with a range of “weapons, lethal

substances, [and] explosives, . . . including AK-47s, 107mm rockets, mortars, RPGs, recoilless

rifles, PKM machine guns, light machine guns, antitank missiles, ammunition, IEDs, EFPs, and

materials, including explosives needed to make suicide vests and VBIEDs”). While finding Iran

liable for attacks made possible by the provision of the aforementioned resources, courts in this

jurisdiction have repeatedly recognized Iran’s material support to al-Qaeda.            See Owens v.

Republic of Sudan, 826 F. Supp. 2d 128, 135 (D.D.C. 2011) (“Owens I”) (finding that Iran,

“through Hezbollah, provided explosives training to Bin Laden and al-Qaeda and rendered direct

assistance to al Qaeda operatives.”); Flanagan v. Islamic Republic of Iran, 87 F. Supp. 3d 93, 115

(D.D.C. 2015) (finding that Iran provided material support and resources to Osama bin Laden and

al-Qaeda through “financial support, support for training, and facilitation of travel.”).

        Iran’s relationship with al-Qaeda started in the 1990s. Sunni Militant Groups Report at 28.

As explained by Dr. Gartenstein-Ross, the nexus between Iran and al-Qaeda was first created when

the leader of Egyptian Islamic Jihad (“EIJ”), a militant group, visited Iran in the early 1990s,

seeking training support and assistance in its fight against Egypt’s then government regime. Id. at

28. EIJ’s leader was already associated with al-Qaeda, in large part due to a common connection

to Osama bin Laden, founder and leader of al-Qaeda. Id. at 15, 29. Iran engaged in discussions

with EIJ and al-Qaeda, and the three entities ultimately formed an alliance with the common



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political and military goal of “confront[ing] the United States and Israel, and undermin[ing] Arab

regimes that they viewed as supporting these two states.” Id. at 29 (citations omitted).

       Once this relationship was established, Iran began to use other VNSAs, such as Hezbollah,

as conduits through which it could surreptitiously channel further support to al-Qaeda. Id. at 29.

Since that time, the relationship between Iran and al-Qaeda has only grown stronger—bolstered

by major, devastating events that “deepened” ties between Iran and al-Qaeda, such as embassy

bombings and the 9/11 terrorist attacks on the United States. See generally id. at 28-34. In

particular, one provision of support from Iran to al-Qaeda—years of safe-housing jihadist and

senior al-Qaeda leader Saif al-Adl—ultimately led to the integration of supporters of Abu Musab

al-Zarqawi (founder of AQI) into al-Qaeda. Id. at 14, 16, 34.

                       b.     Al-Qaeda Use of Iranian Support to Bolster the Zarqawi
                              organization/AQI and AAI

       The Zarqawi organization, founded by Abu Musab al-Zarqawi, established itself in Iraq in

2002 just before the U.S. invasion, and thereafter came to be known as the U.S.-led coalition’s

“primary terrorist threat” in Iraq. Id. at 14. The group is known to have been responsible for

“some of the worst atrocities committed in Iraq,” and for having “executed deadly attacks,

established campaigns of violence, and held area of operations dominance in critical locations

throughout the Iraq war.” Sunni Militant Groups Report at 14.

       The Zarqawi organization was closely allied with, and received substantial and long-

standing support from, al-Qaeda—and Iran directly and knowingly assisted al-Qaeda in ways that,

in turn, indirectly yet “heavily” supported the Zarqawi organization. See id. at 45. Zarqawi himself

was trained in al-Qaeda camps, and prior to entering Iraq, had run a terrorist training camp near

Herat, Afghanistan—near the border with Iran—that was funded by al-Qaeda. Id. Shortly after

establishing itself in Iraq, the organization publicly declared its allegiance to al-Qaeda and its


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leader, Osama bin Laden. Id. Thereafter, al-Qaeda treated the group as its franchise in Iraq, and

the group for a period of years referred to itself as al-Qaeda in Iraq (“AQI”). Id.

       The alliance between al-Qaeda and the Zarqawi organization/AQI proved to be highly

consequential, as Iran first began supporting the Zarqawi organization by using Iran’s support for

al-Qaeda as a pass-through intermediary to indirectly fund Zarqawi operations. This support came

in many forms. For example, even prior to Zarqawi’s move to Iraq and the establishment of AQI,

al-Qaeda provided Zarqawi and his allies with specialized training, and provided financing,

training, and support for Zarqawi’s training camp near Herat. Id. at 45-46. As Dr. Gartenstein-

Ross explains, “Al-Qaeda supported the Zarqawi organization in the early years of the Iraq war;

bin Laden included the Zarqawi organization as a recipient of some of the $1.5 million in monthly

funding he sent to Iraq to support the insurgency.” Id. at 46. After Zarqawi declared his

organization’s formal affiliation with al-Qaeda, al-Qaeda provided the group with additional

“considerable external financial support,” and support with recruiting additional jihadists,

including suicide bombers, anti-coalition fighters, and couriers, many of whom carried thousands

of dollars to transport to Iraq. Id. at 46-47. This support allowed AQI to “hire[] additional fighters,

pa[y] civilians to act as spies, and commission[] attacks on coalition forces.” Id. at 47. As a result

of the financial support from al-Qaeda, “the Zarqawi organization was able to pay its recruits a

higher salary than they would receive from Iraqi security forces: While a low-ranking member of

the Iraqi Army or police was paid roughly $150 per month, Zarqawi could pay $100 to $200 for a

single small arms, mortar, or IED attack, and even paid civilians $10 a day to spy on coalition

forces.” Id. at 47 (citations and quotation marks omitted). AQI also used these funds to reward

successful attackers to swell its fighter ranks: “AQI also funded bonuses: $200 for a successful

improvised explosive device (IED) attack, $500 to $700 for destroying a High Mobility Multi-



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Purpose Wheeled Vehicle (HMMWV), and $7,000 for shooting down a helicopter.” Attribution

Report at 44.

       In addition to the substantial funding Iran provided al-Qaeda, Iran proactively adopted a

“permissive facilitation environment” that allowed al-Qaeda and Zarqawi organization operatives

to live in Iran and orchestrate their plans in relative safety, away from coalition forces. For

example, during Zarqawi’s time running the training camp near Herat, al-Qaeda was able to

“provide logistical support through a network of safe houses in the Iranian cities of Tehran and

Mashaad.” Sunni Militant Groups Report at 47 (citations and quotation marks omitted). Iran also

allowed al-Qaeda’s primary go-between with AQI, Saif al-Adl, to coordinate al-Qaeda’s support

of AQI from Iran, including coordinating Zarqawi’s flight from Afghanistan into Iraq to establish

AQI. Id. at 48.

       Iran further permitted another al-Qaeda operative, Yasin al-Suri, to support AQI’s efforts

from Iran, including by “moving significant amounts of money via Iran for onward passage to al-

Qa’ida’s leadership in Afghanistan and Iraq.” Id. at 49 (citations and quotation marks omitted).

According to the U.S. Treasury Department, this support was actually memorialized in a formal

agreement between the Iranian government and al-Qaeda. Id. at 50. According to the agreement,

“al-Qa’ida must refrain from conducting any operations within Iranian territory and recruiting

operatives inside Iran while keeping Iranian authorities informed of their activities. In return, the

Government of Iran gave the Iran-based al-Qa’ida network freedom of operation and uninhibited

ability to travel for extremists and their families.” Id.

                       c.      Iranian Direct Material Support of AQI and AAI

                                i.     Iran’s Direct Material Support of AQI

       As Dr. Gartenstein-Ross explains, “[i]n addition to Iran’s role in allowing al-Qaeda to

bolster the Zarqawi organization, direct Iranian material support also proved critical to the Zarqawi

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organization.” Id. at 51. In fact, Iran’s direct support to the Zarqawi organization made its

formation possible in the first place.

        Gen. David Petraeus, the former commander of Multi-National Force – Iraq,
        highlighted what the Zarqawi organization required to establish itself. According
        to General Petraeus’s briefing, the Zarqawi organization required weapons, money,
        command and control facilitation, safe havens, and senior leader guidance . . .
        Tehran ultimately either provided or otherwise empowered the Zarqawi
        organization to obtain all of these various requirements through the Islamic
        Republic’s provision of weapons, funding, training, logistics and organizational
        facilitation, as well as sanctuary for senior Zarqawi organization leaders.

Id. at 51.

        In 2006, evidence was obtained from the IRGC-QF via operatives in Iraq, which “detailed

‘how the Quds Force was working with individuals affiliated with Al Qaeda in Iraq and Ansar al

Sunnah [AAS/AAI],’ including by ‘importing modern, specially shaped explosive charges,’

among other weapons and organizational support.” Id. at 53. And at several times in 2007,

coalition forces discovered weapons caches belonging to AQI that contained “weapons of Iranian

origin.” Id. at 54. Among the caches were descriptions of the assistance that the Iranians provided

Sunni militants (AQI being the predominant Sunni group in Iraq at the time):

        Arms that American military officials say appear to have been manufactured in Iran
        as recently as last year have turned up in the past week in a Sunni-majority area,
        the chief spokesman for the American military command in Iraq said Wednesday
        in a news conference. The spokesman, Maj. Gen. William B. Caldwell IV, said
        that detainees in American custody had indicated that Iranian intelligence
        operatives had given support to Sunni insurgents.

Id. at 53 (citations omitted).

        Iran’s support to the Zarqawi organization/AQI continued for years and has earned Iran

and its government organs/officials sanctions designations from the United States, in both 2008

(IRGC-QF brigadier general) and 2012 (Iran’s MOIS). Id. at 53. According to the U.S. Treasury

Department, the IRGC-QF brigadier general, Ahmed Foruzandeh, “committed, directed, or



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supported acts of violence against Coalition forces via his financial and material support,” to

insurgent groups; directing subordinates to “further sectarian violence within Iraq,” which Dr.

Gartenstein-Ross described as aligned with AQI’s goal of “igniting sectarian violence that would

force the Coalition out of Iraq.” Id. at 54 (citations and quotation marks omitted). In his position

as brigadier general, Foruzandeh also instructed other Iranian intelligence officers in the IRGC to

“direct funding of Sunni militant operations” against coalition forces. Id. at 54. Dr. Gartenstein-

Ross concludes that “[t]he fact that Foruzandeh directed this support to Sunni groups in Saladin

Province means that his efforts very likely financed the Zarqawi organization specifically.”

Id. at 55.

        In 2011, the U.S. Department of State identified that Muhammad Hisham Muhammad

Isma’il Abu Ghazala, a specialist in IEDs and an Iranian affiliate, was connected to “multiple IED

networks across northern Iraq, where the Zarqawi organization primarily operated.” Id. at 57. Dr.

Gartenstein-Ross concludes that “it is very likely that Ghazala played a role in facilitating IED

attacks for the Zarqawi organization.” Id.

        Dr. Gartenstein-Ross highlights the straightforward rationale underlying Iran’s support to

al-Qaeda and AQI:

        Adopting such a stance is in line with Tehran’s general approach to foreign relations
        and is one that has borne dividends. Iran’s provision of logistical and operational
        support buttressed the ability of al-Qaeda and the Zarqawi organization to target a
        common enemy, the United States. At the same time, allowing the groups’ cadres
        to shelter on its soil afforded Iran with leverage in its dealings with Washington:
        restrictions on al-Qaeda’s activities can be loosened to deter or retaliate against
        American actions, while tighter control can be exercised in exchange for
        concessions, or to improve bilateral relations. Finally, working with al-Qaeda
        provided Iran with an insurance policy that often helped to shield it from the
        group’s attacks.

Id. at 58.

        Just as Iran’s self-interest has been served by supporting al-Qaeda, it has been served by


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supporting AQI: “[f]or the most part, Tehran’s backing for Zarqawi’s group was part of a wider

strategy aimed at accelerating the eviction of U.S. troops from Iraq, while simultaneously

providing some insurance against the emergence of a strong Shia state that could threaten the

legitimacy—and predominance—of Iran’s clerical regime.” Id. at 59. Dr. Gartenstein-Ross

concludes that Iran’s support to AQI has been “essential in fulfilling the Zarqawi organization’s

material needs . . . Iran’s support enabled the Zarqawi organization to become a lethal and

formidable militant force.” Id. at 59.

                              ii.        Iran’s Direct Material Support of AAI

       Iran’s support for Sunni groups was not limited to al-Qaeda, AQI, and their affiliates; Iran

has also provided significant support to AAI, an Islamic Sunni terrorist group that emerged from

Iraq’s Kurdistan region. Id. at 66. Dr. Gartenstein-Ross recounts the history of the predominately

Kurdish Islamist group AAI, which operated mainly in Northern Iraq, and how its leader, Mullah

Fatih Krekar, studied Islamic jurisprudence under Osama bin Laden’s mentor and effectively

idolized al-Qaeda. Id. at 63-65. Though it is unclear how strong AAI’s relationship with al-Qaeda

was prior to the official formation of the AAI organization, Kurdish Islamist groups have been

sending fighters to train with al-Qaeda since at least 2000, with general encouragement from

Osama bin Laden. Id. at 63-64. In the wake of the 9/11 terrorist attacks, AAI established its first

territory, and eventually formed an official organization with financial support from, and the

blessing of, Osama bin Laden. Id. at 64.

       Over time, and as described in detail in Dr. Gartenstein-Ross’s Sunni Groups Report, AAI

became progressively sectarian and increasingly instigated attacks against other Kurdish groups

such as the Patriotic Union of Kurdistan (“PUK”) and the Kurdish Communist Party. Id. at 64-65.

The campaign against the PUK was “significant because it reflects the degree to which Ansar al-

Islam had begun to adhere to the sectarian values that would later be associated with Zarqawi.”

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Id. at 65. Dr. Gartenstein-Ross further suggests that this early fighting was meaningfully supported

by an external source—Iran:

       A significant degree of Iranian support was necessary for Ansar al-Islam to
       function, given that the group’s military supplies came in from Iran (the
       mountainous region they controlled touches the Iranian border), veterans from
       Afghanistan joined them via Iran, and their cadres (including Mullah Krekar
       himself) entered and left the area via Iran. The Shiite regime in Iran likely provided
       support to this radical Sunni group as a means of exercising leverage on the Kurdish
       secular parties ruling the KRG. Support for Ansar al-Islam could provide Iran with
       a particularly effective means of warning Iraqi Kurds not to allow Iranian Kurdish
       dissidents based in the KRG (the Kurdistan Democratic Party of Iran and Komala)
       to make too much trouble for Iran.

Id. at 66 (citing David Romano, An Outline of Kurdish Islamist Groups in Iraq, p. 12).

       In 2003, U.S.-led coalition forces mounted an attack against AAI, referred to as “Operation

Viking Hammer.” Id. at 67-69. As a result of Operation Viking Hammer, AAI lost a substantial

number of militants, but many managed to flee to Iran. Id. at 67. Though Iranian authorities did

hand over some number of these fighters to the PUK, it is estimated that as many as 700 AAI

fighters may have successfully escaped to Iran. Id. Indeed, Dr. Gartenstein-Ross concludes that

“[t]he survival of Ansar al-Islam as a coherent organization is largely a function of the support it

received from the IRGC,” which included “medical treatment to injured members” and “fake

identification cards.” Id. at 68.

       Iran, al-Qaeda, and AQI supported AAI to varying degrees from roughly 2004

through2006, and AAI’s size and presence in Iraq likewise fluctuated. Id. at 72, 75-76. But when

AAI’s cooperative relationship with AQI deepened in certain critical periods, AAI attack TTPs

started looking increasingly similar to TTPs routinely employed by al-Qaeda. Id. at 70 (regarding

AAI, “[t]he group’s attacks also regularly employed disguises, and it developed sophisticated

ambush techniques that used improvised explosive devices and RPGs.”) (citations omitted).

       In 2006, when AAI was relatively weak as an organization, Iran renewed its support for


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the terrorist group in Kurdistan. Id. at 73. This remained true despite the fact that, “under Iraqi

Kurdish pressure,” Iran purportedly ended its public support for AAI in 2007, as—contrary to this

posturing—Iran chose not to suppress AAI’s activities, which instead continued unimpeded in

Iranian Kurdistan. Id. at 73-74. Though AAI experienced a period of “near inactivity” in 2010

and a gradual declination in organizational strength, it still remained “a significant terrorist

threat—particularly in the Nineveh and Diyala provinces.” Id. at 75.

                      d.      The Extent and Means of Iran’s Material Support to the Zarqawi
                              Organization and AAI in Iraq

       As noted above, Iran has provided extensive direct material support to AQI and AAI

operating in Iraq, including but not limited to weapons; expert training, including knowledge and

assistance in tactics, techniques, procedures, and attack planning; safe haven and lodging in, and

passage through, Iran; financial support; and intelligence information and methodologies. See

supra §§ V(C)(1)(a)-(c); see generally Attribution Report at 243; Sunni Militant Group Report at

51-88 (detailing Iran’s direct material support of the Zarqawi Organization); id. at 75-76

(discussing Iran’s direct material support of AAI and AAS); Pregent Expert Report ¶¶ 37, 84-85,

107-30, 141-42, 151-52, 157-58.

                               i.     Weapons

       Iran provided weapons to AQI and AAI, which have been used to carry out vicious attacks

against coalition forces, including the Bellwether Attacks. For example, “in December 2006,

evidence found on captured IRGC-QF operatives detained in Baghdad described how the Quds

Force was working with individuals affiliated with Al Qaeda in Iraq and Ansar al Sunnah

[AAS/AAI], including by importing modern, specially shaped explosive charges, among other

weapons and organizational support.” Sunni Militant Groups Report at 74 (quotation marks

omitted). Additional weapons provided to AQI include “small arms, RPGs, IEDs, IEDs with


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mortar components, specially shaped explosive charges, and grenades” in addition to “automatic

weapons, uniforms, and military equipment.” Id. at 52-53.

       Coalition forces at various points discovered weapons caches uncovered in areas held by

AQI that included weapons of Iranian origin, including mortars and IEDs. For example, “[o]n

February 3, 2007, Coalition forces discovered an AQI weapons cache in Abu Ghraib (Baghdad

Province) containing Iranian-manufactured mortars.” Id. at 53. And “[i]n April 2007, the chief

American military spokesman in Iraq, Gen. William B. Caldwell IV, disclosed that U.S. forces

had again discovered Iranian-manufactured arms and that Sunni detainees had described assistance

that Iranian intelligence provided to them.” Id. Dr. Gartenstein-Ross concludes that “Iran’s

provision of weapons to AQI was one of the most substantial types of support that Iran provided—

significant enough to be a causal factor in the U.S. Department of the Treasury’s designation of

Iran’s Ministry of Intelligence and Security (MOIS).” Id. at 51 (quotation marks omitted).

       Moreover, as Dr. Gartenstein-Ross highlights, an American military spokesman in Iraq

observed that Sunni extremists were using explosively formed penetrators (“EFPs”), and

“specially shaped explosives . . . among the weapons that the IRGC-QF provided” which

“require[d] some degree of training” to use—indicating not only that Sunni extremists received

specific weapons from Iran, but also potentially received instructions on how to use the weapons

from a source familiar with them. Id. at 56. See Roth II, 651 F. Supp. 3d at 76 (finding that Iran

provided small arms, ammunition, EFPs, IEDs, mortars, and RPGs to proxies, and specifically

“introduced [] ‘uniquely lethal’ weapons because they could penetrate [American] armored

vehicles”); Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61 (GMH), 2022 WL

18071921, at *8 (D.D.C. Dec. 28, 2022) (recognizing that Iran sent “modern, specially shaped




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explosive charges into Iraq, weapons that have been used in roadside bombs to target U.S. military

armored vehicles”).

       Iran’s provision of weapons to Sunni groups has been significant enough for courts in this

and other jurisdictions to hold Iran liable for attacks caused by terrorist organizations, where these

violent non-state actors employed Iranian weapons in the attacks. See Roth II, 651 F. Supp. 3d at

87 (stating that the plaintiffs “have sufficiently alleged that senior officials in Iran and its Quds

Force supported . . . the Taliban [ ] and al-Qaeda” by providing the terrorist groups with weapons,

inter alia); Fishbeck II, 2023 WL 7448770, at *6-7 (concluding that Iran was liable for materially

supporting an IED attack carried out by AAI, notwithstanding the lingering possibility that AQI

may instead have been responsible for the attack, because ultimately Iran “provided material

support to both groups.”); Neiberger, 2022 WL 17370239, at *7 (concluding that Iran provided

material support to AQI in the form of weapons, among other things); Espitia, 2022 WL 2168355,

at *5 (“The evidence also demonstrates that Iran provided material support specifically to AQI . . .

intelligence experts determined that Iran was responsible for a significant portion of AQI’s

weapons arsenal, and would have been AQI’s principal supplier of EFPs.”); see also Brown II,

2023 WL 4824740, at *2 (“the Quds Force provided a new leader—Abu Musab al-Zarqawi—with

funds, weapons, and safe passage into Iraq to target Americans.”); Driscoll v. Islamic Republic of

Iran, No. 20-CV-622-EGS-ZMF, 2023 WL 4892710, at *11 (D.D.C. June 27, 2023) (“Iran used

the IRGC-QF to provide funding, training, weapons, equipment, and direction to various Shia

militia groups and Sunni groups to target Americans in post-Saddam Hussein Iraq,” including

“provid[ing] Abu Musab al-Zarqawi, founding member of al-Qaeda in Iraq (‘AQI’), funding,

weapons, and transportation into Iraq to target U.S. troops.”), report and recommendation adopted

sub nom. All Plaintiffs Represented by Driscoll v. Islamic Republic of Iran, No. CV 20-622



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(EGS/ZMF), 2023 WL 5932974 (D.D.C. July 13, 2023) (emphasis added); Battles v. Islamic

Republic of Iran, No. 1:21-CV-179, 2022 WL 3443922, at *3 (S.D. Tex. Aug. 17, 2022) (“By no

later than early February 2004, a supply of arms flowed from Iran into al Qaeda strongholds in

Iraq, and Iranian arms became an important part of al Qaeda’s arsenal.”) (quotation marks

omitted).

                               ii.     Training

       Iran provided training to AQI and AAI, which has facilitated the strength and expansion of

those groups in Iraq. Dr. Gartenstein-Ross’s Sunni Groups Report demonstrates the extent to

which Iran imparted its sophisticated training and knowledge on both AQI and AAI, which made

possible countless deadly attacks perpetrated by those groups. Training that Iran has provided

includes, but is not limited to, knowledge and assistance on tactics, techniques, procedures, and

planning for attacks. This involves training in explosives, intelligence, and security. Sunni

Militant Groups Report at 76-77.

       Starting around 1991, al-Qaeda and Iran established “an informal agreement to cooperate

in providing support—even if only training—for actions carried out primarily against Israel and

the United States.” Id. at 30 (citations and quotation marks omitted). The training was put into

practice in connection with several subsequent, identifiable attacks. For instance, in the 1998 East

African U.S. Embassy bombings, “trainees who received instruction from Iran and Hizballah

included al-Qaeda’s ‘top military committee members,’ as well as al-Qaeda terrorists.” Sunni

Militant Groups Report at 30. “Indeed, the 9/11 Commission found that the training provided by

Iran and Hizballah gave al-Qaeda the ‘tactical expertise’ it required for the 1998 U.S. Embassy

bombings.” Id. Another instance is in the bombing of the USS Cole, during the years leading up

to which “Iran was directly involved in . . . training and logistics for al-Qaeda in the Gulf region.”

Id. at 32. Without Iran’s coaching, it is unlikely that al-Qaeda could have successfully executed

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these mass casualty attacks. See Owens I, 826 F. Supp. 2d at 138 (highlighting instances where

Iran trained al-Qaeda operatives, and noting that prior to Iran’s training contributions, “al-Qaeda

had not carried out any successful large scale bombings” and that “it would not have been possible

. . . without this type of training it received from Iran and Hezbollah”).

        Al-Qaeda—armed with newfound knowledge on the best practices for succeeding in

terrorism—began to share its Iranian-learned techniques and procedures with AQI and AAI.

Zarqawi, the founder of AQI, “arranged training for terrorists at al-Qaida camps” and made contact

with al-Qaida to train Jordanians. Sunni Militant Groups Report at 17. Zarqawi’s operatives

“trained at al-Qaida’s al-Faruq Camp, where they received full support from al-Qaida.” Id.

(citations omitted). Even Zarqawi himself received training in al-Qaeda training camps, and prior

to entering Iraq, ran a terrorist training camp near Herat, Afghanistan—in close proximity to the

border with Iran—that was funded by al-Qaeda. Id. at 15, 45-46. See Roth II, 651 F. Supp. 3d at

88 (noting that Iran had “trained al-Zarqawi, who eventually founded AQI with the mission of

killing Americans in Iraq,” teaching al-Zarqawi “particular tactics designed to cause great harm,

such as ambushes, mortars, rockets, and IED emplacement”). Courts have recognized Iran’s role

in training AQI as instrumental to AQI’s ability to accomplish significant attacks that would not

have been possible without extensive training from Iranian figures. See Roth II, 651 F. Supp. 3d

at 87 (stating that the plaintiffs “have sufficiently alleged that senior officials in Iran and its Quds

Force supported . . . the Taliban [ ] and al-Qaeda” by providing the terrorist groups with training,

inter alia); Brown II, 2023 WL 4824740, at *9 (“Iran trained . . . JTJ [and] AQI . . . to use various

weapons—including IEDs, RPGs, VBIEDs, and more. These are all lethal explosives engineered

to kill targets. And Iran provided instruction on military tactics to help proxy groups deploy these

weapons more effectively. This support strengthened these groups and made them more deadly to



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Americans.”) (citations omitted); Driscoll, 2023 WL 4892710, at *13 (“Iran provided training to

proxy groups on particular tactics designed to cause great harm, such as ambushes, mortars,

rockets, and IED emplacement.”) (quotation marks omitted); Herrick v. Islamic Republic of Iran,

1:21-CV-168, 2022 WL 3443816, at *5 (S.D. Tex. Aug. 17, 2022) (“[T]he Court concludes that

the evidence is satisfactory to demonstrate that Iran, through various state officials and agents,

contributed significantly to AQI’s ability to orchestrate an attack with a weapon that was powerful

enough to penetrate an armored combat vehicle.”).

        As far as AAI, Iranian entities were actively teaching AAI how to improve their skills as

to the use of explosive devices:

        Intelligence indicates that elements of Iran’s Islamic Revolutionary Guard Corps
        ‘are providing safe haven and basic training to Iran-based AI [Ansar al-Islam]
        cadres.’ A report by the Iraq Survey Group noted that a source had reported
        “approximately 320 Ansar al-Islam terrorists being trained in Iran . . . for various
        attack scenarios including suicide bombings, assassinations, and general subversion
        against U.S. forces in Iraq.” Another British intelligence source “said that Iranian
        government agencies were also secretly helping Ansar al-Islam members cross into
        Iraq from Iran, as part of a plan to mount sniper attacks against coalition forces.”
        American sources confirmed this information, adding that “an Iranian was aiding
        Ansar al-Islam ‘on how to build and set up’ improvised explosive devices, known
        as IEDs.” An analyst for the U.S. Central Command offered this assessment: ‘AI
        [Ansar al-Islam] is actively attempting to improve IED effectiveness and
        sophistication.’

Sunni Militant Groups Report at 72 (citations omitted). The U.S. Treasury made similar findings

when designating AAI as a terrorist organization:

        Ansar al-Islam has received training and logistical assistance from al-Qa’ida.
        Groups of AI’s Kurdish members have traveled to Afghanistan to train with al-
        Qa’ida, while AI’s foreign members are believed to be al-Qaida-trained veterans of
        conflicts in Afghanistan and Chechnya.

        Ansar al-Islam has a close association with senior al-Qa’ida operative Abu Musab
        al-Zarqawi, . . . whose network has established a poison and explosives training
        camp in the area of northeastern Iraq that is controlled by Ansar al-Islam.

Id. at 66.


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                              iii.    Safe Haven and Safe Passage through Iran

       Iran provided AQI and AAI with sanctuary within and passage through its borders. Iran—

through a “secret” relationship with Osama bin Laden—served as a common transit route and

sanctuary for the al-Qaeda members (and their money) that moved throughout the region. Sunni

Militant Groups Report at 31. Saif al-Adl and Abu Musab al-Zarqawi in particular were two major

beneficiaries of Iranian sanctuary, as were militants fleeing responsibility for the 9/11 attacks and

subsequent invasions by coalition forces. Id. 31, 33.47 In addition to simply allowing the fleeing

terrorists to pass through its borders, Iran affirmatively provided them with “special traveling

papers” and “instructed its border guards not to stamp the passports of these operatives, effectively

cloaking their movements.” Id. at 32-33. Iran was especially supportive of al-Zarqawi; giving

him safe passage, an Iranian passport, a satellite phone, and two additional cell phones to remain

under the radar while recruiting and coordinating organizational activities and attacks from within

Iran’s borders. Id. at 57. As Dr. Gartenstein-Ross explains:

       In addition to the passage Iran granted to Zarqawi and his organization for network-
       building and operational activities, Iran provided sanctuary to Zarqawi himself, as
       well as other Zarqawi organization operatives. Zarqawi and other operatives from
       his group used this sanctuary to plan and execute attacks in Iraq. . . . Indeed, in the
       latter part of 2003, European intelligence assessed that Zarqawi was located in Iran,
       using it as a base from which to coordinate his group’s operations in Iraq, including
       attacks.

Id. at 57-58.

       This, and the impact of the Iranian safe haven provided to prominent al-Qaeda leaders,

such as al-Adl, cannot be understated. While on “house arrest” in Iran, al-Adl was essentially



47
   Dr. Gartenstein-Ross demonstrates how far this sanctuary went, with “General Qassem
Suleimani, the head of the Quds Force, reportedly t[aking] ‘personal responsibility’ for tending to
Osama bin Laden’s fleeing family, as well as senior al-Qaeda members, when they ‘sought
sanctuary in Iran in 2002.’” Sunni Militant Groups Report at 33.

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living freely and comfortably, maintaining a connection to his terrorist network, and contributing

substantially to al-Qaeda’s operations. Id. at 34. Most notably, Iran’s sanctuary to al-Adl gave

him the time needed to facilitate the design and dissemination of master strategies for achieving the

goals of both Al-Qaeda, and also the Zarqawi organization by extension. Al-Adl’s resulting

“master plan” is described by Dr. Gartenstein-Ross as the “most consequential jihadist strategic

documents ever produced.” Id. at 36. And this was nowhere near the end—Jordanian journalist

Fouad Hussein (recipient and publisher of al-Adl’s plan) incorporated and relied on al-Adl’s work

in his own strategic publication, building upon al-Adl’s vision to fuse the Zarqawi organization

and al-Qaeda into one synthesized movement. Id. Iran’s ongoing support for al-Qaeda in this way

is no secret—the U.S. Department of State has identified it as a “serious issue,” given that Iran has

been facilitating and enabling al-Qaeda since 2009. Id. at 42.

       In 2003, U.S.-led coalition forces mounted an attack against AAI, referred to as “Operation

Viking Hammer,” in which U.S.-led forces wiped out approximately 50 percent of the group’s

fighters. Id. at 67-69. As a result of Operation Viking Hammer, AAI lost a substantial number of

militants, but many managed to flee to Iran. Id. at 67. Though Iranian authorities did hand over

some number of these fighters to the PUK, it is estimated that as many as 700 AAI fighters may

have successfully escaped to Iran. Id. Iran also provided AAI with “medical treatment to injured

members” and “fake identification cards.” Id. at 68. Dr. Gartenstein-Ross explains that, “[g]iven

the intensity of the Operation Viking Hammer military operation, it is reasonable to conclude, as

I do, that the survival of Ansar al-Islam as a coherent organization is largely a function of the

support it received from the IRGC.” Id. at 76.

       Iran’s provision of safe haven to AAI continued for years thereafter. For example,

intelligence reporting from 2004 “indicates that elements of Iran’s Islamic Revolutionary Guard



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Corps ‘are providing safe haven and basic training to Iran-based AI [Ansar al-Islam] cadres.’”

Id. at 72 (citations and quotation marks omitted). In 2008, AAI/AAS fought alongside members

of the IRGC against a Kurdish contingent “in return for a continued Iran-based safe haven.”

Id. at 75. Dr. Gartenstein-Ross further concludes:

        Safe haven is a significant boon for any militant organization, bolstering the full
        range of its capabilities, and it is evident that AAI/AAS highly valued its safe haven
        in Iran—enough that it could be persuaded to fight Iran’s enemies to maintain this
        territorial access. This safe haven in Iran significantly enhanced AAI/AAS’s ability
        to conduct operations in Iraq, which was the major focus of the group’s militant
        activities.

 Id. at 76.

        Likewise, Iran has provided a safe haven to members and leaders of AAI/AAS (including

by declining to suppress AAI/AAS’s activities within its borders), and has facilitated their escape

amid conflict. Id. Dr. Gartenstein-Ross concludes that the territorial access to Iran “significantly

enhanced AAI’s ability to conduct operations in Iraq, which was the major focus of the group’s

militant activities.” Id.

        As with AQI, because Iranian safe havens facilitated AAI’s ability to escape capture or

defeat, such provision ultimately supported all subsequent attacks perpetrated by the terrorists who

benefitted from the safe haven environment and used it to escape capture or defeat at the hands of

Coalition Forces. Iran’s provision of safe haven and safe passage has indeed been recognized by

courts as a form of material support. See Roth II, 651 F. Supp. 3d at 87 (stating that the plaintiffs

“have sufficiently alleged that senior officials in Iran and its Quds Force supported . . . the Taliban

. . . and al-Qaeda” by providing the terrorist groups with “safe haven and smooth passage,” inter

alia); Force I, 464 F. Supp. 3d at 365 (noting that courts have held that safe havens to terrorist

organizations can constitute material support); Roth I, 78 F. Supp. 3d at 388 (finding that Iran

provided material support—including “safehaven”—for a bombing); Neiberger, 2022 WL


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17370239, at *7 (referring to the expert’s report as satisfactory proof that “Iran provided safe haven

to Zarqawi and its leaders by ‘permit[ting] Zarqawi recruits to transit Iranian territory and make

use of safe houses in different parts of the country’”); Cabrera I, 2022 WL 2817730, at *12

(concluding that the safe havens Iran provided were “critical to the Taliban’s insurgency”);

Herrick, 2022 WL 3443816, at *2 (“After the United States invaded Afghanistan in 2001, Iran

provided safe haven to several al Qaeda leaders and prominent extremists, including Abu Musab

Al-Zarqawi, a Jordanian-born Sunni extremist who initially operated under the protection of the

IRGC and its elite Quds Brigade. According to intelligence officials, the time Zarqawi spent in

Iran was crucial for rebuilding his network before relocating to Iraq.”) (citations and quotation

marks omitted); Battles, 2022 WL 3443922, at *2 (“Iran provided ‘safe haven’ to several al Qaeda

leaders and prominent extremists[,]” including to AQI, an organization that presented “a very

serious threat to the post-2003 stability of Iraq”).

                               iv.     Financial Support

       Iran’s financial contributions to AQI and AAI have occurred over a great length of time,

and have been crucial to the existence and operational success of both organizations. As Dr.

Gartenstein-Ross explains, with respect to AQI, “Al-Qaeda supported the Zarqawi organization in

the early years of the Iraq war; bin Laden included the Zarqawi organization as a recipient of some

of the $1.5 million in monthly funding he sent to Iraq to support the insurgency.” Sunni Militant

Groups Report at 46.

       In 2006, the U.S. Treasury designated a handful of individuals for, in part, giving money

to al-Qaeda and other terrorist organizations—money that al-Qaeda used to recruit jihadists and

pay expenses for AQI, effectively ensuring support for the Zarqawi organization at “every stage

of the terrorist life-cycle.” Id. The U.S. Treasury Department revealed that Iran’s MOIS was

providing money and weapons directly to the Zarqawi organization. See id. at 51, 54, 57. Ahmed

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Foruzandeh, IRGC brigadier general, is among those identified as having provided “financial and

material support” to insurgent Sunni groups in Iraq. Id. at 54. Osama bin Laden himself has

praised Iran as al-Qaeda’s “main artery for funds, personnel, and communication.” Id. at 40. Dr.

Gartenstein-Ross concludes in his report that the funding Iran provided to AQI had a “significant

impact on the organization’s ability to execute a high volume of attacks against Coalition forces.”

Id. at 53.

        Regarding AAI, at its inception, Osama bin Laden provided AAI with “seed money,” in

the amount of roughly $300,000 to $600,000. Id. at 64. In addition to the massive starter donation,

bin Laden “regularly provided the group with installments of $10,000 from 2001 to 2003 through

couriers.” Id. And even more than this, Iran offered “salaries of $1,500” to Iranian Kurds for their

participation in its training exercises—directly contributing to the skill, financial stability, and

overall advancement of the group and individual insurgents. Id. at 73. As evidenced by the

significant sums of money transferred from al-Qaeda to AAI, and as concluded by Dr. Gartenstein-

Ross, the relationship between al-Qaeda and AAI ultimately “manifested [] through funding.” Id.

at 63; see Hammons, 2023 WL 5933340, at *13 (summarizing an expert’s testimony that “[i]n

addition to direct funding, Iran provides substantial financial support to the Taliban[, a Sunni

organization,] by enabling its international narcotics trade[.]”); Cabrera I, 2022 WL 2817730, at

*12 (“Iran provided cash to key Taliban leaders so they could buy weapons and other materials to

disseminate throughout the regions where they operated.”); Parhamovich, 2022 WL 18071921, at

*8 (noting the evidence that “[i]n 2008, a leading Sunni militant and principal al Qaeda fundraiser

who had sent money to the Zarqawi organization, reported in an interview that ‘Iran was both

providing [AQI] with money and weapons and facilitating the movement of its fighters’” to deter

the United States “in order for [the U.S.] not to give its entire attention to Iran”); Neiberger, 2022



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WL 17370239, at *7 (noting that Iran provided “funding and weapons to Zarqawi/AQI” based on

the evidence from the expert Gartenstein-Ross’s report); Cabrera I, 2022 WL 2817730, at *40

(finding that Iran’s provision of financial and military aid was essential to the terrorists’ operating

capacity, and such material support was a substantial factor in the attacks that caused the injuries);

Herrick, 2022 WL 3443816, at *5 (“The United States and the United Nations have identified a

long-standing partnership between Iran and al Qaeda that included . . . providing funds . . . to al

Qaeda operatives in various middle eastern countries, including Iraq.”).

                               v.      Intelligence Information and Methodologies

       Iran also materially supported Sunni terrorist groups (including AQ, the Zarqawi

organization, and AAI) by providing them with important intelligence information and intelligence

collection and use methodologies (i.e., intelligence techniques Iran’s terrorist allies could use to

acquire and process attack intelligence on their own).

       First, Iran’s intelligence apparatus was directly involved in Iran’s provisioning of the

previous four categories of material support to its terrorist allies, and Iran often used its official

state intelligence service, MOIS, as a conduit to provide this support. Indeed, logistical guidance

and “[m]uch of Iran’s support for al-Qaeda was rendered through its Ministry of Intelligence and

Security (MOIS) and the IRGC.” Sunni Militant Groups Report at 31, 53 (Sunni detainees

confirmed that Iranian intelligence operatives supported them); see also Sunni Militant Groups

Report at 31, 36 (recognizing Iran’s MOIS, and the IRGC, as “deeply involved in supporting

terrorists, including al Qaeda.”) (citations omitted). And as noted above, Iran’s MOIS received a

U.S. Treasury designation for supporting terrorist organizations, as did Ahmed Foruzandeh, IRGC-

QF brigadier general, who specifically directed Iranian intelligence officers to provide support to

Sunni militants. See Sunni Militant Groups Report at 51, 54; supra § V(C)(1)(c)(i).

       Dr. Gartenstein-Ross highlights how al-Qaeda members and top officials were trained in

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explosives and intelligence by Iranian intelligence agents and Hezbollah. See Sunni Militant

Groups Report at 30, 55 (citations omitted). Al-Qaeda military officials, based in Iran, also

independently worked to gather intelligence for al-Qaeda’s benefit and did so while benefitting

from the inaction of Iranian intelligence officials who allowed such intelligence gathering on

Iranian soil. See Sunni Militant Groups Report at 41-42. Having information of this caliber made

it possible for operatives to, among other things, seamlessly and secretly move in and out of Iran’s

borders. See Sunni Militant Groups Report at 44. In fact, it was Iranian policy to facilitate this

type of movement, even where it benefitted the Zarqawi organization: “Iran’s intelligence service

no doubt understood Zarqawi’s sectarian disposition, but they also had a policy of tolerating jihadis

transiting their territory, especially if those fighters were hostile to the Taliban.” Sunni Militant

Groups Report at 18 (citations omitted). Likewise, the MOIS has extended support to AAI during

offensives. Sunni Militant Groups Report at 61. It is likely that the continuous collaboration

between Iran’s MOIS and the Sunni insurgents contributed to AQI and AAI becoming “the most

powerful actors in the Iraqi insurgency,” as described by U.S. military intelligence officials. See

Sunni Militant Groups report at 73; see also Pregent Expert Report ¶ 44 (“The IRGC, Lebanese

Hezbollah, and the MOIS made possible the ability of AQI and AAI/AAS to conduct resupply

operations, maintain freedom of movement, and shift forces from one geographic area to another

to attack U.S. forces.”).

       Beyond specific examples of intelligence support, Iran—through the IRGC-QF—also

provided intelligence training to Iranian proxy Lebanese Hezbollah on what types of intelligence

information is needed to execute a successful and highly lethal attack. Pregent Expert Report ¶¶

141-42, 151-52, 157-58 (“[T]errorists, including AQI and AAI/AAS, learned from Hezbollah how

to apply reconnaissance and surveillance practices to scope out an area for attack, prepare



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exfiltration routes, monitor timing of shift changes and patterns of patrols, and learn the response

times of U.S. Quick Reaction Forces (QRF). The trainings sensitized AAI/AAS, AQI, and their

respective affiliates to the types of information that they would need to collect in order to make

any attack successful.”). This training on intelligence gathering was ultimately disseminated by

the Hezbollah to al-Qaeda, the Zarqawi organization, and AAI, and this Iranian-provided

intelligence methodology has served as a framework for each of the militant organizations when

planning future attacks. Pregent Expert Report ¶¶ 37, 84-85, 141-42, 151-52, 157-58. Specifically,

knowing how to collect the requisite intelligence information has given each group insight into the

best practices for picking targets; timing attacks; identifying vulnerabilities; planning escape

routes; and anticipating counterattacks—ultimately elevating their capabilities exponentially, and

indefinitely. See Pregent Expert Report ¶¶ 141-42, 151-52, 157 (“[Trainings] empowered AQI,

AAI/AAS, and their respective affiliates to prepare for attacks without further input from Iran or

Hezbollah as to the details of any specific attack—having learned the Iran-Hezbollah intelligence

methodology, AQI, AAI/AAS, and their respective affiliates could prepare such intelligence on

their own.”).

       In this way, Iran provided valuable material support—through its IRGC-QF and MOIS,

and through its proxy Lebanese Hezbollah—to the Sunni Terrorist Groups in the form of both

specific intelligence information, and in the form of intelligence methodologies that were brought

to bear to increase the effectiveness and lethality of the Sunni Terrorist Groups’ attacks against

Americans.

                2.     Iran’s Material Support to the Sunni Terrorist Groups Was a
                       Proximate Cause of the Bellwether Attacks

       Plaintiffs’ expert Dr. Gartenstein-Ross concludes that all 25 Bellwether Attacks were

perpetrated by the Sunni Terrorist Groups having received Iranian material support, that such


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Iranian material support substantially contributed to each attack that killed or injured Plaintiffs,

and that Iran’s material support was provided to the Sunni Terrorist Groups with the express and

intended purpose of causing injuries and deaths exactly like those inflicted on Plaintiffs and their

loved ones. See Attribution Report at 241-42 (“Given the nature and extent of Iranian material

support to al-Qaeda, the Zarqawi organization, and Ansar al-Islam/Ansar al-Sunnah, Iran’s

assistance was critical to the survival of these militant organizations, significantly increased their

capabilities, and is reasonably connected to each of the attacks listed above.”); id. at 20-240

(attributing each individual attack). The material support that Iran provided to the Sunni Terrorist

Groups is thus a proximate cause of the Bellwether Attacks. See Force I, 464 F. Supp. 3d at 368-

69 (concluding that Iran’s financial and military aid to terrorist groups coupled with active

encouragement to carry out terrorist attacks was a substantial factor in the attacks that caused

foreseeable plaintiffs’ injuries); Fishbeck I, 2023 WL 7443394, at *1 (finding plaintiffs’ evidence

satisfactory that Iran “provided material support, as that term is used in 28 U.S.C. § 1605A(a)(1),

to the Sunni terrorist groups Al Qaeda, Al Qaeda in Iraq, and Ansar al Islam during the relevant

time period of 2003-2011” and also finding that the provision of material support by Iran “to the

above-mentioned Sunni terrorist groups was essential to the groups’ operating capacity, and

terrorist attacks involving these groups in Iraq during the relevant time period of 2003-2011 were

reasonably foreseeable and a natural consequence of that material support”).

                       a.      IED Attacks

       Each of the twelve IED attacks at issue in this case was proximately caused by Iran’s

material support of the Zarqawi organization or AAI terrorists that perpetrated them. As both Dr.

Gartenstein-Ross and Mr. Pregent conclude, Iran provided IEDs to AQI and AAI during the

relevant time period, trained AQI and AAI terrorists on how to manufacture, design, and

effectively deploy this type of weapon, and provided these groups (as well as al-Qaeda) with

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substantial funding in which to carry out these types of attacks. Attribution Report at 230 (U.S.

intelligence reporting that an Iranian was training AAI militants “on how to build and set up”

IEDs) (citing Kimberly Kagan, Iran’s Proxy War against the United States and the Iraqi

Government, Iraq Report May 2006—August 20, 2007, Institute for the Study of War, at 7,

https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf); Sunni Militant

Groups Report at 51-53, 75-76 (describing Iranian provision of weapons—including IEDs—and

other material support to enable Zarqawi organization- and AAI-perpetrated attacks, respectively);

Pregent Expert Report ¶ 155 (“I have personal knowledge that AQI and AAI/AAS specialized in

these tactics and deployed such IEDs to great effect using the aforementioned training and material

support they had received from the IRGC-QF”); see Battles, 2022 WL 3443922, at *3 (“Iran was

providing terror cells in Iraq with the capacity to build IEDs, both by funding the manufacture of

these weapons and by helping to smuggle their components into Iraq, with the express intended

purpose of attacking United States servicemembers and further destabilizing the Iraqi region.”)

(quotation marks omitted). These Iranian IEDs came from IED factories located within Iraq which

were staffed by Iranian-trained bomb-makers, as well as factories located within Iran itself. Sunni

Militant Groups Report at 51-53; see, e.g., Attribution Report at 59-60 (finding Iran provided

material support to the Zarqawi organization in the form of training to use IEDs and provision of

IED components).

       IEDs were one of AAI’s and the Zarqawi organization’s most commonly employed

munitions at the time. See Sunni Militant Groups Report at 59-60 (“[T]he Islamic Republic’s

provision of IEDs and IED components was especially critical in supporting a hallmark of

Zarqawi’s operations: spectacular attacks that were often achieved via bombings[.]”); see also id.

at 55-56 (describing Iranian provision of training in explosives attack planning); Attribution



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Report at 96 (IEDs were among AAI’s “most commonly employed munitions, although [AAI]

also frequently used suicide bombers and car bombs”). The use of IEDs was further supported by

Iranian-provided financial support to the Zarqawi organization, which allowed the organization to

pay its recruits higher salaries than they would have received from Iraqi Security Forces, and

allowed Zarqawi to offer, inter alia, “$100 to $200 for a single small arms, mortar, or IED attack.”

Sunni Militant Groups Report at 47. AAI made itself known for its use of IEDs, and by late

December 2007, AAI was known for using videos of prior IED attacks as part of its recruitment

and training tactics. Attribution Report at 228. In 2007, AAI released a seven-minute video of

their “Top 20 IED Attacks,” which ranked attacks based on criteria including precision, impact,

and video quality. Id. Similarly, the Zarqawi organization became known for using IEDs, as they

produced “spectacular attacks.” Id. at 89. As to VBIEDs, a court in this jurisdiction has already

characterized this TTP as “a signature AQI attack method.” Brown II, 2023 WL 4824740, at *4.

       Courts have consistently found that IED attacks carried out by AQI and AAI in Iraq were

proximately caused by Iran. See Fishbeck II, 2023 WL 7448770, at *6-7 (finding evidence

satisfactory to attribute an IED attack to AAI, with material support from Iran); Brown II, 2023

WL 4824740, at *10 (finding that Iran’s material support caused IED attacks perpetrated by

terrorist organizations in Iraq, including AQI, because IEDs were sophisticated weapons that

required training to make them and place them strategically to inflict casualties); Fissler v. Islamic

Republic of Iran, No. 18-cv-3122 (CKK), 2022 WL 4464873, at *1, 3 (D.D.C. Sept. 26, 2022)

(finding Iran liable for IED attacks in light of Iran’s arms transfers, training programs, and

signature tactic of burying IEDs in the ground); Neiberger, 2022 WL 17370239, at *4 (finding

Iran liable for an IED attack carried out by AQI in Sadr City); Driscoll, 2023 WL 4892710, at *13

(finding Iran’s material support to Sunni militant groups, including through provision of training



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on particular attacks designed to cause great harm, “was a substantial factor in the sequence of

events that resulted in the deaths of eleven servicemembers and injuries to one servicemember

from IED and rocket fire attacks”).

       Details about the IEDs used in Attacks #1 through #12 further bolster the finding that Iran

materially supported these attacks. All 12 IED attacks occurred in regions and at specific times

where Iran was known to have provided specific support to the terrorist groups who carried out

the attacks. Attribution Report at 38-39, 44-45, 52-53, 59-60 (detailing Iranian support for IED

attacks which occurred in Al Anbar Province), 125-26 (same in Baghdad Province), 144-45, 149-

50, 161-62 (same in Diyala Province), 189-90 (same in Nineveh Province), 229-30, 235-36, and

241-42 (same in Saladin Province); see Fishbeck II, 2023 WL 7448770, at *6-7 (attributing an

IED attack to AAI, which received material support from Iran, because the terrorist group “enjoyed

a ‘safe heaven’” in the area at the time of the attack, “had claimed responsibility for other IED

attacks in the surrounding area,” and deployed a “very sophisticated” IED that “included anti-

tampering components”). As detailed below, many of the IEDs were powerful enough to penetrate

armored military vehicles and left large blast sites, which reflects the sophistication and power of

the weapon indicating Iranian origin and/or training. See supra § III(A) – Attacks 1-2, 4-9 (attacks

involving destruction of armored vehicles); Fishbeck II, 2023 WL 7448770, at *8-10 (attributing

the pressure-plate IED attack to AQI, which received material support from Iran, because of “the

size and sophistication of the blast” sufficient to flip over the 14-ton mine-resistant, ambush-

protected vehicle, the “sophistication of the design, and ability to plant the IEDs without targeting

civilians”); Hammons, 2023 WL 5933340, at *3, 11 (stating that the size of the blast in Camp

Sullivan residential complex, from a truck containing more than three thousand pounds of

explosive material, supports the Taliban’s claim of responsibility for the attack and Iran’s



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involvement by providing material support to its proxy to “to attack U.S. forces and its allies in

the region with acts of terrorism”); Driscoll, 2023 WL 4892710, at *7 (finding AQI-detonated IED

traceable to Iran in part because the weapon penetrated an M1114, noting that the court in Karcher

II “was persuaded by the ‘clear photographic evidence of the catastrophic damage to and the

incineration of [the] up-armored vehicle’”) (quoting Karcher v. Islamic Republic of Iran, No. CV

16-232 (CKK), 2021 WL 133507 (D.D.C. Jan. 14, 2021) (“Karcher II”)). Further, many of the

IEDs used in the Bellwether Attacks were camouflaged, deeply buried, booby-trapped, and/or

remotely detonated, demonstrating a level of sophistication and training indicating Iranian support.

See infra § III(A) – Attack #3 (booby-trapped door); Attack #4 (remotely detonated IED); Attack

#8 (command wire used, indicating familiarity and training with IED weapons system); Attack

#11 (same); Roth II, 651 F. Supp. 3d at 86 (noting that the IED deployed in an attack “was a

sophisticated weapons system that required training to use”); Fishbeck II, 2023 WL 7448770, at

*8 (finding that AQI, with material support from Iran, carried out an attack with two camouflaged

pressure-plate IEDs detonating convoying vehicles); Cabrera I, 2022 WL 2817730, at *23 (finding

“Iran’s material support for the Taliban . . . substantially contributed to the Taliban’s ability to

conduct [an IED] attack” because the trigger device on the IED “was significantly more

sophisticated than the devices typically found in the area [and] it was designed to compress only

under the weight of a fully armed soldier, allowing the Taliban to place it under a commonly used

path without injuring local civilians”); Karcher II, 2021 WL 133507, at *10 (concluding that

“precisely the right directional focus, distance from the target, [the] timing of the [passive infra-

red device]-enabled” explosive device as well as “camouflaging the weapon to avoid tipping off

U.S. forces” required extensive training).

       Attack #1 involved an IED that penetrated and destroyed an M3A3 Cavalry Fighting



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Vehicle. The attack was carried out by AAI, operating as AAS, and occurred shortly after the

group had retreated to Iran, where it received safe haven, training, funding, and weapons, including

IEDs. See Fishbeck II, 2023 WL 7448770, at *7 (“Given the sophistication of the [IED] attack,

the location of the attack in an AAI safe haven, and a credible attribution by both plaintiffs’ expert

and a military report, the Court is satisfied that there is sufficient evidence to attribute the [ ] attack

to AAI, which received material support from [Iran], and holds [Iran] liable for the attack.”).

        Attack #2 involved an IED that was able to penetrate a Stryker armored vehicle. The attack

was carried out by the Zarqawi organization during a period where they were receiving substantial

material support from Iran in the form of weapons, including IEDs, and training, including with

regards to carrying out IED attacks.

        Attack #3 featured a highly powerful explosive that was booby-trapped to a door within an

Iraqi school that was wired to explode upon opening, a TTP that required a level of sophistication

indicative of advanced training of the kind provided by Iran. The attack was carried out by the

Zarqawi organization in Al-Karmah, very close to Fallujah, during a period in which the group

was receiving extensive support from Iran and al-Qaeda, “including funneling weapons to AQI

strongholds in Fallujah and Al Anbar Province.” Attribution Report at 38.

        Attack #4 involved an IED sufficiently large to destroy an M1114 up-armored HMMWV,

a vehicle highly resistant to all but the strongest IEDs, and left a blast site measuring 12 feet wide,

11 feet long, and 3 feet deep, indicating it was provided by Iran and/or the terrorists received

advanced training from Iran and/or al-Qaeda. Moreover the Explosive Ordnance Disposal team

investigating the explosion discovered a base station for a long range cordless telephone—a type

of remote detonation system—on the “southern edge of the road” with a 12-volt car battery,

indicating that the IED was remotely detonated. Attribution Report at 43; see Karcher II, 2021



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WL 133507, at *20 (finding that “Iran and its proxies [bore] responsibility” for an attack that

involved a long-range cordless telephone armed IED with a passive infrared device trigger). The

attack was carried out by the Zarqawi organization, operating as MSC, during a period in which

the group was highly dependent on Iranian support. MSC frequently used IEDs to attack coalition

forces, controlled several IED factories, and had received munitions from Iran, including IEDs, all

in Al Anbar Province. Attribution Report at 43-45. During the time of this attack, Iran supported

MSC militants in Al Anbar Province with the provision of arms, including IEDs, and military

intelligence. In December 2004, Iranian support for MSC was discovered when two Quds Force

operatives were arrested in Baghdad. Id. at 44. Per U.S. defense officials, the documents

possessed by the operatives definitively demonstrated the Quds Force’s cooperation with Sunni

militias, including MSC. Id. Further, the use of a remotely detonated IED indicates Iranian

material support.    In 2011, the U.S. Department of State identified Muhammad Hisham

Muhammad Isma’il Abu Ghazala, a Hamas operative, as a facilitator in the construction and

deployment of IEDs. Id. at 45. The State Department noted Ghazala’s affiliations with Iran and

al-Qaeda, his work in distributing designs for remote detonation IEDs used by terrorist groups in

Iraq, and his connections to multiple IED networks across northern Iraq, which is where MSC

primarily operated. Id. Dr. Gartenstein-Ross concludes that given Ghazala’s affiliations with Iran

and al-Qaeda and the nature of Ghazala’s activities in Iraq, it is “very likely” that Ghazala played

a role in facilitating IED attacks for MSC, such as the attack described above. Id.

       With respect to Attacks #5 and #6, Iran provided the Zarqawi organization militants in Al

Anbar Province that carried out the attacks with arms, IEDs, financing, and military intelligence,

each of which was brought to bear in their execution of the attacks. See supra § III(A) – Attacks

5 and 6; Attribution Report at 46-60. Attack #5, in particular, featured a deeply buried IED that



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“was not detected the previous night due to its depth beneath the road,” and fully destroyed an RG-

31 Mine-Protected Armored Personnel Carrier, lifting it into the air and breaking it into four pieces.

Attribution Report at 46. Dr. Gartenstein-Ross lays out the significance of deep-buried IEDs in

his attribution report, and particularly describes both how “[t]he use of deep-buried IEDs was a

known ISI TTP during this time period,” and also how ISI IED attacks accounted for 64 percent

of IED attacks in Al-Karmah, according to contemporaneous reporting by CENTCOM.

Attribution Report at 51. Attack #6 featured a highly sophisticated shaped charge IED most likely

detonated by a command wire and placed at a 45-degree angle to aim at the passenger side of the

vehicle. Id. at 55 (citing contemporaneous AR 15-6 Investigation Report). After observing these

features, the EOD team “indicated that any triggerman employing this type of IED would have

been either very skilled or very lucky, based on the timing required to properly employ this type

of IED.” Id. Each of these features—a shaped charge, command wire, and the specific angle of

placement to target the vehicle’s occupant—all evince that the perpetrator had received and

deliberately deployed advanced IED training likely acquired from Iran or supported by Iranian

material support. See Fissler, 2022 WL 4464873, at *2 (incorporating Karcher’s findings that an

operator’s use of a “command wire” or “remote frequency” to arm an explosive device “requires

substantial technical expertise” and “all but necessitates the inference that Iran was responsible”

for the attacks); Parhamovich, 2022 WL 18071921, at *8 (summarizing expert testimony that AQI

relied on logistics networks in Iran to procure sophisticated weapons, such as “specially shaped

explosive charges,” and training on such weapons that AQI then used in roadside bombs to target

U.S. military armored vehicles).      ISI’s EFP factory in the adjacent Saladin Province also

demonstrates the groups’ ability to conduct precisely such attacks, which in turn were facilitated

by Iran’s extensive support to ISI in the Al Anbar province. Attribution Report at 58-60.



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       For Attack #7, Iran provided Zarqawi organization militants in Saladin Province—where

this attack occurred—with arms and military intelligence, both of which were used by the Zarqawi

organization in this attack. See supra § III(A) – Attack 7; Attribution Report at 235-36. The attack

featured two independent IEDs of similar construction, featuring 155mm projectiles detonated by

a pressure switch. Id. at 231-32; see Espitia, 2022 WL 2168355, at *5 (finding Iran caused an

AQI attack, explaining that “the use of multiple IEDs and EFPs in a series of attacks . . . renders

almost a certainty that Iran supplied at least some of these weapons.”). ISI was well known at the

time for utilizing such IED attacks in Saladin Province, and had established a campaign in the

province for each cell to conduct three IED attacks. Attribution Report at 234. Coalition forces

additionally seized an ISI weapons cache south of Baghdad that included materials to construct

IEDs similar to the devices used in Attack #7. Id.

       Attacks #8 and #9 were supported by Iran’s supplying of weapons, logistics, and military

intelligence to Zarqawi organization militants in the Diyala River Valley where these attacks took

place. See supra § III(A) – Attacks #8 and #9; Attribution Report at 140-50. Attack #8 featured

a blast so powerful that it completely destroyed an up-armored Humvee, left it “immediately

engulfed in fire,” and threw its occupants—including SPC Hoover and CPT Grassbaugh—10-20

meters from the blast site. Id. at 141. This kind of powerful munition is evidence of Iranian

material support. Fishbeck II, 2023 WL 7448770, at *9-10 (attributing the pressure-plate IED

attack to AQI, which received material support from Iran, because of “the size and sophistication

of the blast” sufficient to flip over the 14-ton, mine-resistant, ambush-protected vehicle). Other

evidence collected by the explosive ordinance disposal team also suggests Iranian-supported ISI

carried out the attack: the IED had been preset and buried “several months” prior to the attack, a

tactic the team described as allowing IED emplacers to avoid detection, and the IED was detonated



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by a command wire, likely leading to a nearby house to give a direct vantage point. Attribution

Report at 143. Dr. Gartenstein-Ross explains, “The timelines required to pre-set an IED and knock

a hole in the wall of a house suggest that those who executed the attack were active in the area for

some months prior to the attack, which aligns with ISI’s March 2007 area of operations dominance

in the region.” Id. ISI had used IEDs to regularly target coalition forces in the Diyala River valley

at the time of the attack, and had extensively “mined the main roads” the month before Attack #8,

“resulting in two to three daily IED attacks” on just one squadron alone. Id. A subsequent raid in

Diyala Province—Operation Arrowhead Ripper—seized approximately 250 IEDs from ISI

weapons caches in the region. Id.

       Attack #9 featured two successive IED blasts that killed SPC Summers, SPC Baker, and

1LT West while they were on a mission to retrieve a downed Kiowa helicopter outside of Abu

Sayda, Diyala Province. Attribution Report at 146-47. The first was the result of a large IED

detonation that destroyed a Bradley Fighting Vehicle when it struck the IED’s pressure switch. Id.

at 146. The second blast was the result of an IED detonation that “used approximately 100 pounds

of explosives.” Id. These large buried IEDs went undetected, despite the fact that “the mission

was very deliberate in the route clearance by leading with Heavy tracked Vehicles for protection

and dismounting Troopers to look for IED pressure switches or command detonating wire.” Id.

This speaks to the sophistication of the attack, and it suggests that the perpetrators had received

advanced IED training that Iran was providing to ISI at the time. See Roth II, 651 F. Supp. 3d 65,

89-90 (stating that Iran proximately caused an attack with “a daisy chain of IEDs . . . spread out

so they hit at different points of the convoy” because Iran “provided the training and weaponry to

its proxies necessary to carry out” the attack); Fishbeck II, 2023 WL 7448770, at *8 (finding that

AQI, with material support from Iran, carried out an attack with two camouflaged pressure-plate



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IEDs detonating convoying vehicles); Brown II, 2023 WL 4824740, at *4, 9-10 (concluding that

Iran caused the attack that involved “daisy chained IEDs” placed “along routes heavily trafficked

by Americans”).

       Attack #10 was supported by Iran’s provision of the same categories of material support to

Zarqawi organization forces in Baghdad, see supra § III(A) – Attack #10; Attribution Report at

125-26. Attack #10 featured an IED that “was constructed of gray metal and unknown bulk

explosives, was approximately 155 millimeters in size, and was triggered by a pressure wire.” Id.

at 124. The IED was placed in a footpath and the explosion threw SFC Monschke “approximately

15 meters into a 15-foot deep ditch,” killing him instantly. Id. at 122-23. The large, pressure-wire

triggered IED indicates Iranian support.

       Attack #11 was substantially supported by Iran’s providing of weapons and military

intelligence to Zarqawi organization operatives in Saladin province, and additionally by Iranian

agents, who before, during, and after the attack smuggled weapons and ammunition across the

border into Iraq, before then distributing them to individuals who wanted to attack coalition forces.

See supra § III(A) – Attack #11; Attribution Report at 241-42. Attack #11 featured an IED that

had “a white command wire running from the blast seat to a telephone pole, and along a wall.” Id.

at 238. The command wire went undetected by the convoy who stopped to investigate before the

explosion. Id. at 237. The blast from the IED in Attack #11 was powerful enough to flip a

HMMWV, killing SFC Towns who was riding inside. Id. at 238. The command-wired IED was

similar to several ISI command-wired IEDs that Iraqi security forces and coalition forces captured

in neighboring Nineveh Province. Id. at 240. “These caches indicate that ISI had both the

materials and knowledge required to construct and deploy command wire IEDs at the time of this

attack.” Id. The command wire used in this attack, along with the fact that it was buried deep



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enough to go undetected, further indicates that the perpetrator received advanced IED training

likely acquired from or supported by Iranian material support. See Fishbeck II, 2023 WL 7448770,

at *9 (relying on expert testimony and intelligence reports to attribute the attack to AQI because

the IED was “ideally located and buried to create the most maximum effect,” which

“demonstrate[d] training” and “demonstrate[d] understanding of tactics and understanding of U.S.

operations”); Fissler, 2022 WL 4464873, at *2 (incorporating Karcher’s findings that an

operator’s use of a “command wire” or “remote frequency” to arm an explosive device “requires

substantial technical expertise” and “all but necessitates the inference that Iran was responsible”

for the attacks).

        Attack #12 was supported by the aforementioned support Iran provided the Zarqawi

organization in the Diyala River Valley, and featured a powerful, booby-trapped HBIED that killed

SGT McBride, SFC Pionk, and SGT Dozier. Attribution Report at 158. According to Dr.

Gartenstein-Ross’s report, “HBIED’s were a common ISI TTP during the period in which this

attack occurred.” Id. at 161. Before and after Attack #12, coalition forces conducted 74 different

operations that discovered and cleared “‘42 HBIED’s’ belonging to ISI.” Id. at 160. Other

evidence collected by the EOD team also indicates Iran supported ISI in carrying out the attack:

the EOD team had previously “cleared a building and dismantled an HBIED in Diyala Province

with the same crush-wire trigger mechanism as the HBIED used in this attack.” Id. The sheer

number of HBIEDs belonging to ISI which were discovered by coalition forces, which are

comparable to the HBIED that killed SGT McBride, SFC Pionk, and SGT Dozier, indicates Iranian

support. In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il

Abu Ghazala, a Hamas operative, as a facilitator in the construction and deployment of IEDs. Id.

at 161. The State Department noted Ghazala’s affiliations with Iran and al-Qaeda, his work in



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distributing designs for remote detonation IEDs used by terrorist groups in Iraq, and his

connections to multiple IED networks across northern Iraq, which is where ISI primarily operated.

Id. Dr. Gartenstein-Ross concludes that given Ghazala’s affiliations with Iran and al-Qaeda and

the nature of Ghazala’s activities in Iraq, it is “very likely” that Ghazala played a role in facilitating

IED attacks for ISI, such as the attack described above. Id.

                        b.      Complex Attacks

        Each of the four complex attacks at issue in this case were proximately caused by Iran’s

material support of the Zarqawi organization or joint Zarqawi/AAI terrorists that perpetrated them.

Such attacks have routinely been found to have been supported by Iranian material support,

including its provisioning of the training, munitions, and financing necessary to perpetrate them.

See Roth II, 651 F. Supp. 3d at 78 (relying on expert Pregent’s testimony that the indicia of a

complex attack—an ambush with machine gun rounds, RPGs, and a daisy chain of IEDs—

demonstrated a level of sophistication and showed how prominent and how dangerous AQI was at

the time). The nature of these attacks evince Iranian support, including the provision of the

advanced weaponry used to the groups carrying out the attacks, as well as the advanced training

the perpetrators received from Iran. See Roth II, 651 F. Supp. 3d at 90 (“The Court is persuaded

[by expert Pregent’s testimony] that Iran’s support of AQI and AAH was a ‘substantial factor’ in

[complex attacks] and that the consequences of its support were ‘reasonably foreseeable.’”);

Brown II, 2023 WL 4824740, at *9-10 (concluding that Iran’s provision of material support—

weapons and training—caused complex attacks because these attacks involved the combining of

multiple weapons systems to inflict casualties and striking along routes heavily trafficked by

Americans); Fishbeck II, 2023 WL 7448770, at *4-5 (finding the evidence sufficient to attribute

the complex “attack to AQI, which received material support from” Iran, based on “(1) the

sophistication of the coordinated attacks, (2) the use of weapons commonly used by AQI, such as

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grenades, PKM machine guns, and explosives, and (3) the specific tactic of using wounded U.S.

service members as ‘bait’ for ambushes were consistent with AQI being responsible for the

attack”).

       Attack #13, the so-called “Good Friday Ambush,” illustrates all of the hallmarks of a highly

coordinated attack that could only have been undertaken with the material support—munitions,

training, financing—that Iran had provided to the Zarqawi organization. An ambush on a 26-

vehicle convoy, Attack #13 began with the simultaneous firing of 15 RPGs and additional rifle fire

when the convoy hit a roadblock designed to halt their progress. Attribution Report at 100.

Survivors also reported machine gun and mortars may have been fired, as well, which Iran

provided to the Zarqawi organization prior to and during this time period. Shortly after Attacks

#13 and #14 (discussed infra), coalition forces subsequently captured weapons caches containing

Iranian-made mortars, RPGs, explosives, and ammunition in the area where the Zarqawi

organization had operated, including the area of west of Baghdad where Attack #13 occurred. See

supra § III(B) – Attacks #13 and #14.

       Attack #14 was another ambush—this time, at night, and the second ambush the victims

had encountered that same day—and featured two separate “kill zones,” one featuring a heavy

volume of machine gun and small arms fire, and the other featuring an IED/RPG detonation in

addition to small arms fire. Attribution Report at 73-74. Shortly after the initial attack, the unit

was ambushed again with additional small arms fire. Id. This synchronized, multi-kill-zone attack

under cover of darkness, followed by a subsequent ambush of the same unit, is emblematic of the

kind of training, coordination, and munitions that Iran had provided the Zarqawi organization for

expressly such purpose.

       Attack #15 featured tactics and procedures that could only have been conducted with the



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support that Iran provided the Zarqawi organization, including IEDs, RPGs, and small arms fire.

Attribution Report at 151-52. CPL LeGrand, driving an HMMWV, simultaneously hit an IED

comprised of two anti-tank mines with accelerant buried in the ground and was struck by an RPG,

which penetrated the vehicle. Id. at 152. Immediately after, the convoy was ambushed by

firearms. Id. The explosion from the IED “was so powerful there was nothing left of the vehicle

except for the ‘doghouse’ (main carriage).” Id. According to Dr. Gartenstein-Ross’s report, “The

composition of the complex attack reflects a trend in attacks carried out by ISI,” which received

substantial support from Iran used to carry out this attack, including weapons, training, military

intelligence, and funding. Id. at 154.

       Attack #16—which was jointly perpetrated by the Zarqawi organization and AAI—was

another ambush that involved weapons typical of Zarqawi organization and AAI attacks provided

to them by Iran. An HMMWV carrying SGT Craig, CPL Marshall, and PV2 Young drove over

an IED, blasting the vehicle into two pieces and killing its occupants. Attribution Report 191.

Following the explosion, “Enemy forces attacked the patrol from surrounding buildings, which

included homes and a mosque, employing small arms fire, RPGs, and around four mortar rounds.”

Id. The level of sophistication required in Attack #16 is also indicative of the kind of training,

coordination, and munitions that Iran had provided ISI and AAS for the purpose of executing such

attacks.

                       c.     Suicide Bombings

       Each of the five suicide bombing attacks at issue in this case was proximately caused by

Iran’s material support of the Zarqawi organization or AAI terrorists that perpetrated them. Iran

and al-Qaeda (which was in turn supported by Iran) provided the explosive materials, training, and

even the suicide bombers themselves that the Zarqawi organization and AAI required to

successfully carry out suicide bombings, which became a signature TTP of each group. See Sunni

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Militant Groups Report at 46, 72 (stating the Zarqawi organization “sent three kinds of people into

Iraq: suicide bombers, anti-coalition fighters, and couriers” and AAI signaled its commitment to

“continu[e] the insurgency” by committing a suicide bombing in Mosul); Attribution Report at 90-

91, 96 (describing the Zarqawi organization’s practice of perpetrating suicide bombings, as well

as AAI’s “frequent” use of suicide bombers and car bombs); Pregent Expert Report ¶ 146

(“[S]uicide bomb-makers . . . would routinely enter Iraq via the IRGC-QF and the Syrian-

intelligence Foreign Fighter Facilitation network, in full knowledge of both Iran and Syria.”); see

also supra § III(C); Brown II, 2023 WL 4824740, at *10 (finding that Iran proximately caused the

VBIED attacks by providing material support to AQI because (1) the use of VBIED is a signature

AQI attack method, (2) these “sophisticated attacks” required “expertise that only comes from

advanced training,” and (3) the attacks “took place in AQI strongholds”); Fishbeck II, 2023 WL

7448770, at *7 (finding the evidence sufficient to attribute a personnel-borne IED attack near a

mosque to AQI, which received material support from Iran); Bernhardt, 2023 WL 2598677, at *8

(concluding that Iran provided training to a Sunni terrorist evidenced by a carefully planned suicide

bombing of a covert American military installation, statements issued by al-Qaeda after the attack,

and videos about “the anticipated attack designed for distribution on several jihadist media

networks”); Cabrera I, 2022 WL 2817730, at *11 (noting that Iran provided a range of weapons

to Sunni terrorist groups, including “components for suicide attacks (e.g., triggers and

detonators)”).

       Attack #17, a SVBIED attack, was likely perpetrated by AAI, operating as AAS, which

had received extensive Iranian training in the perpetration of this precise kind of suicide bombing.

See Attribution Report at 224-25. As Iraq expert Kimberly Kagan of the Institute for the Study of

War details in her description of Iranian support for AAI/AAS:



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       U.S. and British intelligence reports in 2004 “concluded that Ansar al-Islam was
       working closely with Iran, and also al Qaeda, in its terrorist attacks against coalition
       forces . . . . [O]ne British defense report noted pointedly: ‘Some elements of [Ansar
       al-Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
       Revolutionary Guard Corps ‘are providing safe haven and basic training to
       Iran-based AI [Ansar al-Islam] cadres.’” A report by the Iraq Survey Group noted
       that a source had reported “approximately 320 Ansar al-Islam terrorists being
       trained in Iran . . . for various attack scenarios including suicide bombings,
       assassinations, and general subversion against U.S. forces in Iraq.” Another British
       intelligence source “said that Iranian government agencies were also secretly
       helping Ansar al-Islam members cross into Iraq from Iran, as part of a plan to mount
       sniper attacks against coalition forces.” American sources confirmed this
       information, adding that “an Iranian was aiding Ansar al-Islam ‘on how to build and
       set up’ improvised explosive devices, known as IEDs. An analyst for the U.S.
       Central Command offered this assessment: ‘AI [Ansar al-Islam] is actively
       attempting to improve IED effectiveness and sophistication.’”

Expert Sunni Militant Groups Report at 72 (citing Kimberly Kagan, Iran’s Proxy War against the

United States and the Iraqi Government, Iraq Report May 2006-August 20, 2007, Institute for the

Study of War, https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf)

(emphasis added).

       The same is true for Attack #19, which featured a suicide AAI/AAS bomber disguised in

an Iraqi Republican Army uniform, giving the bomber access to the Dining Facility of FOB Marez

on a specific date—in close proximity to the Christmas holiday—and at a time specifically selected

as one of the busiest times of day. Attribution Report at 173-74. The bomb consisted of C4

explosives and 243 metal-coated ball bearings designed to maximize the damage inflicted on its

victims. Id. at 173. The sophistication and planning of this attack, along with the highly powerful

explosives used, demonstrate Iranian support. See Cabrera I, 2022 WL 2817730, at *17-18

(finding that Iran’s material support substantially contributed to the Taliban’s ability to conduct an

attack on a U.S. Army vehicle patrol base because such attack required sophistication and training

to surveil the area in the preceding days, divert water into a nearby irrigation canal to disguise

sounds, and ensure that no civilians were present near the base on the day of the attack).


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       Attacks #18, #20, and #21 were each suicide attacks perpetrated by the Zarqawi

organization, which had received extensive training and support for suicide bombings from al-

Qaeda (which in turn had received them from Iran, knowing this would be passed on to further

insurgents) and from Iran directly. Attack #18 was a dual IED and SVIED attack at a public bazaar

in the International Zone of Baghdad (known as the “Green Zone”) that killed six people and

wounded 10 others and was perpetrated by the Zarqawi organization, operating as JTJ. This

specific attack TTP was both a common JTJ/Zarqawi organization tactic and, as described above,

a tactic with respect to which it had received specific training, munitions, and logistical support

from Iran and al-Qaeda. Attribution Report at 114, 116. Courts have previously recognized

Iranian provision of material support to the Zarqawi organization, including, inter alia, trainings,

IEDs, IEDs made with mortar components, specially shaped explosive charges, and grenades,

which are all weapons comparable, if not identical, to the weapons used in this attack, as sufficient

to hold Iran liable for attacks the Zarqawi organization committed throughout Iraq from June 2004

through May 2007. Id. at 116; Roth II, 651 F. Supp. 3d 65, 89 (attributing AQI attacks to Iran and

noting that “[o]n top of training and troops, Iran provided weapons to its proxies,” including

extremely lethal IEDs to “ensure maximum U.S. casualties” and supplied these weapons via

“specific smuggling routes”). Finally, Iranian provision of weapons and money to JTJ and other

Zarqawi affiliates was a “causal factor” in the U.S. Department of Treasury’s designation of Iran’s

Ministry of Intelligence and Security for human rights abuses and support for terrorism.

Attribution Report at 116.

       Attack #20 was a SVBIED attack conducted by the Zarqawi organization, operating as

AQI, in the Baghdad suburb of Abu Ghraib in Iraq’s Baghdad governorate. Attribution Report at

117-18. Iran’s connection to Attack #20 is clear from its support of AQI militants in the Baghdad



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region, where the attack occurred, through the provision of both arms and intelligence, Attribution

Report at 121, and the fact that Iran had provided the Zarqawi organization with weapons,

including explosive materials, from the very beginning of its support for the group. Id. As Dr.

Gartenstein-Ross explains, “By 2007, Coalition forces captured a number of weapons caches

containing Iranian mortars, explosive material, RPGs, and ammunition in areas where the Zarqawi

organization maintained strong areas of operations - including Abu Ghraib, where [Attack #20]

occurred.” Id.

       Finally, Attack #21, an SVBIED attack perpetrated by the Zarqawi organization, operating

as ISI, featured a high-speed dump truck lined with explosives that sped toward a convoy near

FOB Marez’s gate before exploding violently; even though the SVBIED exploded when still 10

meters away from the Max Pro Mine Resistant Ambush Protected vehicle carrying CPL Jason

Pautsch, SSG Bryan Hall, SGT Edward Forrest, and SSG Gary Woods, the explosion was so large

that it tore the roof from the vehicle, and ejected all four passengers, all of whom died instantly,

along with three other individuals (over two dozen other coalition forces were also injured).

Attribution Report at 207-08. In this way, Attack #21 underscores why ISI’s “preferred methods

were suicide attacks with either Person or Vehicle Borne Improvised Explosive Devices

(PBIED/VBIED),”48 which yielded horrifying results “aimed to gain media attention by killing a

large number of people or striking symbolic individuals or targets in important cities.” 49 In 2008,



48
   Attribution Report at 212 (citing “2008 Report on Terrorism,” National Counterterrorism
Center, April 30, 2009, pp. 16, 38, 39, 42, 46, https://www.fbi.gov/stats-
services/publications/terror_08.pdf).
49
   Eric Hamilton, Targeting the Diyala Suicide Bombing Network, (Institute for the Study of War,
n.d.),                                           p.                                           1,
https://www.understandingwar.org/sites/default/files/reports/Targeting%20the%20Diyala%20Sui
cide%20Bombing%20Network.pdf (describing such attacks as a hallmark of AQI, ISI’s
predecessor).

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the year before the attack, ISI maintained SVBIED factories and claimed responsibility for a

number of SVBIED and VBIED attacks throughout Iraq—including Mosul, where Attack #21

took place. See Attribution Report at 211. Iran’s material support to ISI is well documented, as

are the ways this material support was brought to bear on ISI attacks exactly like this one, including

through the provision of explosives, training, and military intelligence. See id. at 243-44; Sunni

Militant Groups Report at 76-77.

                        d.      Small Arms, RPG, and Anti-Aircraft Attacks

        Small arms (including handguns, sniper rifles, and machine guns), RPG, and anti-aircraft

attacks generally involve an attacker firing at its target with line-of-sight visibility. The intent of

such fire is generally to wound or kill, but it also has been used to deter movement of targets or

evacuation forces. Anti-aircraft attacks involve engagement of aircraft with small arms, RPGs,

anti-aircraft guns/artillery, and surface-to-air missiles.

        Attacks #22 and #23 involved a combination of small arms, RPGs, and anti-aircraft

weaponry; both were proximately caused by Iran’s material support of the Zarqawi organization

terrorists that perpetrated them.

        Both attacks involved the types of weapons provided to the Zarqawi organization by Iran.

Attack #22 (surface-to-air missiles, RPGs, 50 caliber machine guns, anti-aircraft guns, other

machine guns); Attack #23 (small arms, rifles). Moreover, the successful use of these weapons

reflects the training Iran provided to these groups. See Stearns, 633 F. Supp. 3d at 296 (finding

satisfactory evidence to trace Iran’s material support to an attack on a Joint Coordination Center

when terrorists entered the building under the disguise of friendly forces and proceeded to shoot,

beat, and execute U.S. service members); Brown II, 2023 WL 4824740, at *6 (noting that RPGs

require training to be used accurately). Finally, Iran-provided financial support to the Zarqawi

organization allowed the organization to pay its recruits higher salaries than they would have

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received from Iraqi Security Forces, and allowed Zarqawi to offer, inter alia, “$100 to $200 for a

single small arms, mortar, or IED attack,” or $7,000 to individual militants who were able to shoot

down an American helicopter. Attribution Report at 44; Sunni Militant Groups Report at 47.

       In Attack #22, the Zarqawi organization, operating as ISI, successfully shot down a moving

UH-60 Blackhawk helicopter flying over Bahrez, Iraq in Diyala Province, killing all 12 passengers

and crew onboard. Although the precise munitions used in the attack have never been confirmed,

in part due to the insurgent attack site being destroyed by the helicopter’s crash and the ensuing

counterattack, weapons recovered from the wreckage included surface-to-air missiles (SA-7 and

retrofitted air-to-air R5 missiles), RPGs, and machine gun fire. Attribution Report at 135 (citing

Ex. 152, Department of the Army, USARCENT FOIA FA-22-0067, AR 15-6 Collateral

Investigation of UH-60 incident on 20JAN07 (February 3, 2007)). Such munitions were known

to have been directly provided to ISI/the Zarqawi organization by the Iran and its IRGC-QF.

Attribution Report at 139 (“By 2007, Coalition forces captured a number of weapons caches

containing Iranian mortars, explosive material, RPGs, and ammunition in areas where ISI

maintained strong areas of operations.”); Pregent Expert Report ¶ 122 (detailing the IRGC-QF’s

provisioning of mortars, rockets, man-portable air-defense systems (MANPADS) and anti-aircraft

missiles (including SA-7 Strela and Misagh 1 & 2 systems), as well as anti-tank mines, small arms,

and critical bomb components (including Iranian electronics) to the Zarqawi organization/AQI).

Courts in this jurisdiction have also found that the successful use of RPGs indicates training, which

likely would have come from Iran, and that Iran provided RPGs to ISI. See Roth II, 651 F. Supp.

3d at 83, 90 (noting an expert’s conclusion that accurate RPG attacks denote proficiency and

indicate that AQI terrorists were trained on the use of RPGs and finding that Iran’s support was a

“substantial factor” in these RPG attacks).



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        Attack #23 was also carried out by the Zarqawi organization, operating as ISI, with Iran’s

material support. This time, however, ISI’s attack methodology manifested as a methodically

deployed and synchronized rifle strike where the perpetrators (operating in three different

buildings in tight coordination) patiently waited for the victim (PFC Youngblood) to leave the

protection of his tank before simultaneously firing upon him and shooting him in the head, killing

him. Attribution Report at 61-62, 64. While rifle strikes were not uncommon in Iraq during

hostilities, ISI was the dominant insurgent group in Ramadi when the attack occurred, and a

declassified note by Central Command (CENTCOM) describing the circumstances on the ground

in Ramadi three months before the attack indicates that “75 percent of their fight is against [ISI].”

Id. at 62-63. ISI sustained this dominance in Ramadi over the next year, as illustrated by an

authoritative CENTCOM report on the insurgency published in 2007, which stated that a series of

ISI attacks in late 2006 “illustrated that AQI retained a complex and coordinated command and

control infrastructure in the city.” Id. at 63. Furthermore, Dr. Gartenstein-Ross concludes that ISI

“remained the most powerful insurgent group in Ramadi when [Attack #23] occurred.” Id. at 64.

ISI was also known for carrying out small arms fire attacks throughout 2007 like the attack featured

in Attack #23, revealing that ISI had both the weapons and the training to carry out the attack.

Id. at 63 (cataloging examples of such ISI small arms attacks). Furthermore, the synchronized

actions of three riflemen, operating in three different buildings all with eyes on the same target

suggests that “[t]he perpetrators of such an attack would likely need to be familiar with the terrain

in order to coordinate three different locations from which to attack . . ., and to know that these

locations would be an ideal place to carry out such an attack based on Coalition movements.”

Id. at 64.

        In addition to the broad support Iran provided to ISI before, during, and after this attack,



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evidence demonstrates that Iran supported Zarqawi organization elements in Al-Anbar Province

at the time the attack occurred with weapons and financial assistance. Dr. Gartenstein-Ross

explains, “It is well documented that ‘Iranian mines and weapons were funneled to Zarqawi’s

terrorists in Fallujah and elsewhere throughout Sunni dominated Al-Anbar province.’” Attribution

Report at 65 (citing Bill Roggio, “Iran and al Qaeda in Iraq,” Long War Journal, January 6, 2007,

https://www.longwarjournal.org/archives/2007/01/iran_and_alqaeda_in.php).          The attack took

place at a time when the Zarqawi organization was dependent on Iranian support (especially to

access weaponry, including small arms). See Attribution Report at 64-65. Writing in July 2007,

MG Rick Lynch discussed an Iranian weapons cache, saying:

       Over the last three months, we’ve found . . . four specific weapons caches, where as
       we worked our way through those caches, we found Iranian munitions. We found
       Iranian rockets, we found Iranian mortars clearly marked with Iranian markings, and
       that is just unacceptable. So what’s happening is these bad things are coming from
       Iran into Iraq, they’re finding themselves in the hands of the extremists in our
       battlespace, and they’re being used against coalition forces, against Iraqi security
       forces and against innocent Iraqis, and that just has to stop.

Id. Dr. Gartenstein-Ross thus concludes that “[t]he discovery of Iranian weapons caches and the

knowledge that it was the opinion of Al Qaeda and AQI [ISI] leadership around the time of this

attack that they were dependent on Iranian support strongly supports the conclusion that Iranian

aid had a reasonable connection to this attack.” Id.

                       e.      Indirect Fire Attacks

       Indirect fire attacks involve weapons that do not require line-of-sight to targets (rockets

and artillery or mortar fire), but do require a known target location to be accurate. Such attacks

require advanced training. Pregent Expert Report ¶¶ 138-43 (detailing that successful use of

mortars and rockets requires selection of a launch site, appropriate reconnaissance, and well-

rehearsed exfiltration routes to allow the firing of as many rounds as possible before the arrival of

counter-strikes, and further explaining how Iran used Hezbollah to train AAI in these TTPs in Iran

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itself, and to train al-Qaeda on the same TTPs in Lebanon). Such training also required time,

space, and munitions with which to practice, each of which Iran provided to AAI and the Zarqawi

organization. Id. ¶¶ 122, 136-37 (detailing the IRGC-QF’s provisioning of mortars, rockets, man-

portable air-defense systems (MANPADS) and anti-aircraft missiles (including SA-7 Strela and

Misagh 1 & 2 systems), as well as anti-tank mines, small arms, and critical bomb components

(including Iranian electronics) to the Zarqawi organization/AQI); see Fishbeck II, 2023 WL

7448770, at *11 (finding “sufficient evidence to hold AQI responsible” for the mortar fire attack

directed at a U.S. Army base because “the perpetrators were sophisticated, highly trained, and

capable of successfully attacking and evading counter-attack”); Brown II, 2023 WL 4824740, at

*6 (noting that rockets and mortars, which involve stabilizing plates placed on the ground into

which fired explosives are loaded, require training to be used accurately); Cabrera I, 2022 WL

2817730, at *16 (noting that without “outside advice” and training from Iran, “mortar attacks were

ineffective,” but effective use of mortars by insurgents evidenced such training on the mechanics

and tactics of a mortar attack).

       Attacks #24 and #25 were indirect fire attacks, one committed by AAI, operating as AAS,

and another committed by the Zarqawi organization. Both were proximately caused by Iran’s

material support of the Zarqawi organization or AAI terrorists that perpetrated them. Both were

carried out using mortars or rockets, which Iran provided to both groups during the relevant time

period. See Fishbeck II, 2023 WL 7448770, at *6 (finding sufficient evidence to attribute an

indirect fire attack to AQI, which received material support from Iran, because AQI had conducted

other rocket and mortar attacks in the area and had claimed responsibility for such indirect fire

attacks); Sunni Militant Groups Report at 53 (describing coalition forces’ discovery of a Zarqawi

organization weapons cache in Baghdad Province containing Iranian-manufactured mortars);



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Attribution Report at 111-12 (describing Iranian material support for an artillery attack perpetrated

by AAI, operating as AAS); Pregent Report ¶¶ 45-46, 103, 121-22 (coalition forces reporting

indicating Iranian munitions were used by AAI and AQI against U.S. forces, and Iranian

munitions, including artillery, were seized from caches within the immediate vicinity of AQI and

AAI positions).

       Attack #24 was likely executed by AAI, operating as AAS, on April 24, 2004, when

terrorists fired either two mortar rounds or 57mm rockets on Camp Cooke in Taji, Baghdad

Province, the second of which struck and killed four coalition members, and wounded seven more.

Attribution Report at 107. The successful carrying out of such indirect fire attacks have been

found to be evidence of Iranian material support. See Stearns, 633 F. Supp. 3d at 343-44 (finding

Iran responsible for the attack on a U.S. base carried out by Iran’s “proxies” with four Improvised

Rocket Assisted Munition-propelled 240mm rockets launched from a dump truck); Lee v. Islamic

Republic of Iran, No. 19-CV-00830 (APM), 2023 WL 1100711, at *23-24 (D.D.C. Jan. 30, 2023)

(“Lee II”) (finding satisfactory evidence that Iranian-backed forces were responsible for the attack

that involved eight explosives remotely fired using a cell phone from a cargo truck to hit a

perimeter wall of a Joint Security Station). Mr. Pregent details how “[a]mong the most visible

symbols of Iran’s support to Shia and Sunni Proxy Groups are the mortar and rocket attacks

launched against U.S. bases in Iraq, almost all of which involve entire rocket/mortar systems or

components (such as fuel packs) identified as Iranian-produced by U.S. weapons intelligence

specialists.” Pregent Expert Report ¶ 136. Pregent explains further that U.S. bases have been fired

upon by Iranian supported militant groups using Iran-provided 60mm and 81mm mortars quite

similar to the munitions potentially used in Attack #24 on Camp Cooke. Id. ¶ 137. AAS, the likely

perpetrator of Attack 24, also carried out several other attacks in the same month and in the same



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region north of Baghdad City—near Taji, where Attack #24 took place—and maintained an

operational presence in Taji itself. Attribution Report at 109-10. AAI also commonly used both

rockets and mortars against coalition forces like the kind used in Attack #24, and in the same

month as Attack #24, AAS claimed responsibility for at least eight attacks using similar types of

mortar and rocket weapons. Id. at 110.

        Iran’s material support to AAI is extensively documented in Dr. Gartenstein-Ross’s Sunni

Militant Groups Report, but additional, specific Iranian support was brought to bear on Attack #24

in the form of the safe haven Iran provided to AAI leaders during Operation Viking Hammer in

2003, which allowed AAI to persist as an organization into 2004, when Attack #24 took place.

Id. at 111. Additionally, information gleaned from two Quds Force operatives arrested in Baghdad

in December 2006—including “weapons lists, documents pertaining to shipments of weapons into

Iraq, organizational charts, telephone records and maps, among other sensitive intelligence

information”—reveals “how the Quds Force [was] working with individuals affiliated with Al

Qaeda in Iraq and Ansar al-Sunna [AAS/AAI].” Id. at 112 (citing Eli Lake, “Iran’s Secret Plan

for Mayhem,” The New York Sun, January 3, 2007). Attack #24 was thus materially supported by

Iran.

        Attack #25 was a rocket strike carried out by the Zarqawi organization that featured no

fewer than 15 simultaneously fired 107mm rockets directed at FOB Kalsu, all of which hit the

base, killing three and wounding twelve others. Attribution Report at 79-80. As Plaintiff’s expert

Michael Pregent explains, the munitions used in this attack—107mm Chinese rockets—were

precisely the same caliber as munitions known to have been made in Iran and provided by Iran to

the militant groups it materially supported. Pregent Expert Report ¶ 137 (citing Agence France-

Presse, US Shows Evidence in Iraq Rocket Attacks It Says Leads to Iran, NAT’L, July 14, 2011,



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http://www.thenational.ae/news/world/middle-east/us-shows-evidence-in-iraq-rocket-attacks-it-

says-leads-to-iran). Additionally, the sheer number of munitions used, and the synchronicity with

which they were fired, speaks to advanced coordination and training of the kind that Iran was

known to have provided the Zarqawi organization. Indeed, courts in this jurisdiction have held

that Iran’s provision of material support and resources to the Zarqawi organization (including

training, funding, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped

explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by the

Zarqawi organization. See Parhamovich, 2022 WL 18071921, at *8 (finding that Iran provided

material support to the Zarqawi organization—including funding, weaponry, smooth passage, and

safe houses—and finding that Iran’s provision of material support was a legally sufficient cause

of the Zarqawi organization’s small arms fire attack); Neiberger, 2022 WL 17370239, at *7-8

(concluding that Iran provided material support and resources to AQI based on reports that in 2006

the “IRGC-QF leaders were found with ‘weapons lists, documents pertaining to shipments of

weapons into Iraq, organizational charts, telephone records and maps, among other sensitive

intelligence information,’” and in “2008, a Sunni terrorist reported in an interview that Iran was

providing AQI with money and weapons, and facilitating the movement of its fighters,” inter alia).

       Furthermore, in November 2004, coalition forces seized a Zarqawi organization/JTJ

weapons cache in Fallujah—which is located approximately 54 miles north of Iskandariya, where

Attack #25 took place—containing various indirect fire systems and munitions, including mortar

systems and artillery shells. Attribution Report at 83; see also Sunni Militant Groups Report at 53

(coalition forces discovered weapons caches containing Iranian-made mortars in areas previously

held by the Zarqawi organization). Finally, it was the financial support that Iran provided to the

Zarqawi organization that funded higher salaries for Zarqawi’s recruits than they would have



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received from Iraqi Security Forces, and allowed Zarqawi to offer, inter alia, “$100 to $200 for a

single small arms, mortar, or IED attack.” Attribution Report at 47. In sum, Iran’s material support

to the Zarqawi organization undoubtedly was brought to bear on its rocket strikes. See Fishbeck

II, 2023 WL 7448770, at *11 (attributing a mortar fire attack directed at a base to AQI, which

received material support from Iran, because “the attack required ‘specialized training and a high

degree of sophistication distinctly associated with the well-supported AQI cells in Al Anbar

[Province]’” in order to target the base “with accurate fire and then evade the return fire from

Coalition Forces”); Brown II, 2023 WL 4824740, at *11 (finding that Iran caused indirect fire

attacks through provision of material support because placing rockets and mortars to deliver

accurate hits required sophistication and training in preparation and perimeter security).

       D.      Iran Was a Designated State Sponsor of Terrorism at the Time of the Attacks
               and at the Time This Action Was Filed

       Iran was a designated state sponsor of terrorism at the time of the relevant acts as well as

when these claims were filed, in satisfaction of these two elements of the terrorism exception to

sovereign immunity. Force I, 464 F. Supp. 3d at 358 (citing 28 U.S.C. § 1605A(a)(2)(A)(i)(I)).

Each of the 25 Bellwether Attacks at issue here occurred between April, 2004 and April, 2009.

See supra § III. “Iran was designated as a state sponsor of terrorism in 1984, and has remained

designated as a state sponsor of terrorism to this day.” Hamen I, 401 F. Supp. 3d at 100 (citing 49

Fed. Reg. 2836-02 (Jan. 23, 1984) (statement of Secretary of State George P. Shultz)); Ex. 99,

State Sponsors of Terrorism, U.S. Dep’t of State, available at https://www.state.gov/state-

sponsors-of-terrorism/ (last visited November 18, 2023) (currently designating Iran as a state

sponsor of terrorism); Karcher II, 2021 WL 133507, at *64 (noting that “Iran has been a designated

state sponsor of terrorism since 1984 and presently retains that designation”).




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       E.      Every Plaintiff Was a U.S. National and, in Some Instances, Also a U.S. Armed
               Forces’ Member

       Under the FSIA’s terrorism exception to sovereign immunity, “the claimant or victim must

be a U.S. national, a member of the U.S. armed forces, or a U.S. government employee or

contractor at the time the act of terrorism occurred.” Jakubowicz I, 2022 WL 3354719, at *2 (citing

§ 1605A(a)(2)(A)(ii)). “The terrorism exception assigns the term ‘national of the United States’

the ‘meaning given that term in section 101(a)(22) of the Immigration and Nationality Act (INA).’”

Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 14 (D.C. Cir. 2015) (quoting 8 U.S.C. §

1101(a)(22); 28 U.S.C. § 1605A(h)(5)). “The referenced provision of the INA, in turn, generally

describes ‘national of the United States’ to mean either a ‘citizen of the United States’ or a ‘person

who, though not a citizen of the United States, owes permanent allegiance to the United States.’”

Id. (quoting 8 U.S.C. § 1101(a)(22)).

       Each Bellwether Plaintiff was a national of the United States and in some instances also a

member of the U.S. armed forces at the time of the attacks. See Ex. 7, Bellwether Plaintiffs Table

(citing to exhibits containing each Plaintiff’s birth certificate and/or U.S. passport).

       F.      Iran Is Not Entitled to Arbitration Because Each Bellwether Attack Occurred
               Outside of Iran

       Only when a terrorist act “occurred in the foreign state against which the claim has been

brought,” the foreign state must have “a reasonable opportunity to arbitrate the claim.” Jakubowicz

I, 2022 WL 3354719, at *2 n.2 (quoting 28 U.S.C. § 1605A(a)(2)(A)(iii)). The Bellwether Attacks

took place in Iraq, not Iran. See supra § III. Thus, Plaintiffs were not required to afford Iran a

reasonable opportunity to arbitrate. See Karcher I, 396 F. Supp. 3d at 54 (stating that “the killings

at issue did not take place in Iran and accordingly Plaintiffs had no obligation to afford Iran an

opportunity to arbitrate[.]”); W.A. I, 427 F. Supp. 3d at 133 (same); Pennington v. Islamic Republic

of Iran, No. 19-cv-796 (JEB), 2021 WL 2592910, at *3 (D.D.C. June 24, 2021) (noting that

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because “[t]he attack occurred in Iraq, not Iran, the third condition [requiring reasonable

opportunity to arbitrate] does not come into play”).

VI.     THE COURT HAS PERSONAL JURISDICTION OVER IRAN

        Under the FSIA, the court has personal jurisdiction over a foreign state “as to every claim

for relief over which the [court] ha[s] jurisdiction . . . where service has been made under section

1608.” Force I, 464 F. Supp. 3d at 370 (quoting 28 U.S.C. § 1330(b)). To sue a foreign state,

plaintiffs must effect service in compliance with section 1608(a). Id. (citing Barot v. Embassy of

the Republic of Zambia, 785 F.3d 26, 27 (D.C. Cir. 2015)).

        The court in Saberi summarized the application of section 1608(a) requirements in the

context of serving Iran:

        The FSIA enumerates four methods for serving foreign states “in descending order
        of preference.” Valore, 700 F. Supp. 2d at 69; see 28 U.S.C. § 1608(a). The first
        two methods are unavailable here because there is no “special arrangement for
        service” between the United States and Iran, 28 U.S.C. § 1608(a)(1), and Iran is not
        party to an “applicable international convention on service,” id. § 1608(a)(2). The
        third method requires “sending a copy of the summons and complaint and a notice
        of suit, together with a translation of each into the official language of the foreign
        state, by any form of mail requiring a signed receipt, to be addressed and dispatched
        by the clerk of the court to the head of the ministry of foreign affairs of the foreign
        state concerned.” Id. § 1608(a)(3). And the fourth method, effected here, requires
        “sending two copies of the summons and complaint and a notice of suit, together
        with a translation of each into the official language of the foreign state, by any form
        of mail requiring a signed receipt, to be addressed and dispatched by the clerk of the
        court to the” State Department so service can be effected through diplomatic
        channels. Id. § 1608(a)(4). This Circuit has held that “foreign states are not persons
        protected by the Fifth Amendment,” leaving no need to conduct a minimum contacts
        analysis. Price, 294 F.3d at 95 (internal quotation marks omitted).

Saberi v. Gov’t of Islamic Republic of Iran, 541 F. Supp. 3d 67, 80-81 (D.D.C. 2021).

        Here, Plaintiffs first attempted to effect service of the Second Amended Complaint (and

the accompanying service documents) on Iran, in accord with § 1608(a)(3), on December 7, 2021.

See Dkt. 18. The Clerk of Court then filed a notice on the docket informing Plaintiffs that it

attempted to effect service under § 1608(a)(3) on December 21, 2021. See Dkt. 22. Iran did not

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respond. Thirty days thereafter, on January 21, 2022, following § 1608(a)(4), Plaintiffs began

service through diplomatic channels. See Dkt. 23-25. Service was effected under § 1608(a)(4) on

July 11, 2022. See Dkt. 26. This Court therefore has jurisdiction over Iran for Plaintiffs’ claims.

See, e.g., Force I, 464 F. Supp. 3d at 369-70 (“Under the FSIA, the Court has personal jurisdiction

over a foreign state ‘as to every claim for relief over which the [Court] ha[s] jurisdiction . . . where

service has been made under section 1608.’” (quoting 28 U.S.C. § 1330(b))).

VII.     IRAN IS LIABLE FOR PLAINTIFFS’ CLAIMS UNDER 28 U.S.C. § 1605A

         Plaintiffs who offer proof sufficient to establish a waiver of foreign sovereign immunity

also establish their entitlement to relief as a matter of federal law because of the factual and legal

overlap between the elements of section 1605A(c) causes of action and the state-sponsored

terrorism exception. See Force I, 464 F. Supp. 3d at 369 (“Having concluded that the Court

possesses subject-matter jurisdiction, little else is required to show that those Plaintiffs who are

U.S. nationals are entitled to relief under [28 U.S.C. § 1605A(c)].”); Coombs v. Islamic Republic

of Iran, No. CV 19-3363 (RDM), 2022 WL 715189, at *21 (D.D.C. Mar. 10, 2022); Salzman, 2019

WL 4673761, at *15 (“There is almost total ‘overlap between the elements of § 1605A(c)’s cause

of action and the terrorism exception to foreign sovereign immunity,’ and a plaintiff that offers

proof sufficient to establish a waiver of sovereign immunity under § 1605A(a) has also established

entitlement to relief as a matter of law.”) (quoting Foley I, 249 F. Supp. 3d at 205) (cleaned up).

Every Bellwether Plaintiff has also demonstrated his or her status as a U.S. national at the time

this suit was filed, entitling each to relief under section 1605A(c). See Ex. 7, Bellwether Plaintiffs

Table; Jakubowicz I, 2022 WL 3354719, at *2 (citing § 1605A(a)(2)(A)(ii)); Coombs, 2022 WL

715189 at *21 (noting that a foreign state designated as a sponsor of terrorism is liable to “a

national of the United States”).

         Finally, Iran has forfeited any potential statute of limitations defense under 28 U.S.C.

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section 1605A(b) because Iran failed to appear or submit any filing in this action. 50 See Maalouf

v. Islamic Republic of Iran, 923 F.3d 1095, 1112 (D.C. Cir. 2019) (“Maalouf I”) (“We conclude

that no such authority exists for a federal court to raise the FSIA terrorism exception’s statute of

limitations on behalf of an entirely absent defendant.”).

VIII. THE BELLWETHER PLAINTIFFS SUFFERED SUBSTANTIAL PHYSICAL
      AND PSYCHOLOGICAL INJURIES ENTITLING THEM TO DAMAGES
      AGAINST IRAN

       Each of the Bellwether Plaintiffs suffered severe physical, economic, and/or psychological

damages as a result of Iran’s material support of attacks on Plaintiffs or their loved ones.

       A.      Damages Awarded Under 28 U.S.C. § 1605A

       To recover damages against Iran, Plaintiffs “must prove that the consequences of the

[defendant’s] conduct were reasonably certain (i.e., more likely than not) to occur, and must prove

the amount of the damages by a reasonable estimate.” Gration v. Islamic Republic of Iran, No.

21-CV-1859 (BAH), 2023 WL 5221955, at *29 (D.D.C. Aug. 15, 2023) (quoting Roth I, 78 F.

Supp. 3d at 402). Courts in this jurisdiction consistently apply the general principles of tort law to

FSIA actions. See Roth I, 78 F. Supp. 3d at 399 (citing Oveissi v. Islamic Republic of Iran, 879 F.

Supp. 2d 44, 54 (D.D.C. 2012) (“Oveissi II”)) (stating that courts “rely on well-established

principles of law, such as those found in the Restatement (Second) of Torts and other leading

treatises”); Est. of Heiser v. Islamic Republic of Iran, 659 F. Supp. 2d 20, 24 (D.D.C. 2009)

(“Heiser II”) (acknowledging that the court must proceed in the same manner as prior courts and

look “to sources such as state decisional law, legal treatises, or the Restatements”); Neiberger,




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   Under the FSIA statute of limitations, “[a]n action may be brought or maintained . . . if the action
is commenced . . . not later than the latter of—(1) 10 years after April 24, 1996; or (2) 10 years
after the date on which the cause of action arose.” 28 U.S.C. § 1605A(b).

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2022 WL 17370239, at *11 (quoting Fraenkel, 892 F.3d at 353) (noting that courts “rely on well-

established statements of common law[ ] found in state reporters, the Restatement of Torts, and

other respected treatises, in determining damages under § 1605A(c)”).

       Under these general principles, a state sponsor of terrorism that provided material resources

and support to a terrorist organization for an attack that caused an extrajudicial killing is

responsible for intentional infliction of emotional distress (“IIED”), the resulting pain and

suffering, and solatium of immediate family. See Ewan, 466 F. Supp. 3d at 245 (finding that

survivors of terrorism were entitled to damages for IIED “[b]ecause acts of terrorism [were] ‘by

their definition’ extreme and outrageous conduct”); Valore, 700 F. Supp. 2d at 80 (stating that a

person “need not be present at the time of a terrorist attack upon a third person to recover for severe

emotional injuries suffered as a result”); Heiser II, 659 F. Supp. 2d at 27 (“Terrorism, unique

among the types of tortious activities in both its extreme methods and aims, passes [the IIED] test

easily.”); Gration, 2023 WL 5221955, at *26 (quoting Belkin v. Islamic Republic of Iran, 667 F.

Supp. 2d 8, 22 (D.D.C. 2009)) (“Acts of terrorism are by their very definition extreme and

outrageous and intended to cause the highest degree of emotional distress.”); Blank, 2021 WL

3021450, at *9 (quoting Heiser II, 659 F. Supp. 2d at 27) (finding that because the defendant

supported a terrorist organization, the defendant’s “conduct was ‘sufficiently outrageous and

intended to inflict severe emotional harm upon a person who is not present,’ such that a victim’s

immediate family members need not have been at the bombing to recover for their emotional

distress”). Furthermore, courts in this jurisdiction regularly hold that family members need not be

present at the terrorist attack to recover under the theory of IIED. See Valore, 700 F. Supp. 2d at

80 (stating that a person “need not be present at the time of a terrorist attack upon a third person

to recover for severe emotional injuries suffered as a result”); Heiser II, 659 F. Supp. 2d at 27-28



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(explaining “that a terrorist attack—by its nature—is directed not only at the victims but also at

the victims’ families” who need not meet the presence requirement to recover for IIED); Taitt,

2023 WL 2536518, at *8 (citing Flanagan, 87 F. Supp. 3d at 115) (“In terrorism actions brought

pursuant to section 1605A of the FSIA, the requirement of presence at the time of the incident is

waived.”).

       After finding that Plaintiffs’ “injuries were reasonably certain and were the intended

consequences of [Iran’s] material support of” terrorist organizations, the court must determine the

amount of Plaintiffs’ damages by a reasonable estimate. Gration, 2023 WL 5221955, at *29.

Courts generally look to prior awards for comparable injury. Reed v. Islamic Republic of Iran,

845 F. Supp. 2d 204, 214 (D.D.C. 2012) (noting that courts “take pains to ensure that individuals

with similar injuries receive similar awards”) (quotation marks omitted). Courts may also adjust

damages upward or downward based on factors such as severity of pain and suffering, inter alia.

See Force v. Islamic Republic of Iran, 617 F. Supp. 3d 20, 33 (D.D.C. 2022) (“Force II”)).

       The types of available damages largely depend on the eligible claimant’s categorization as

either direct or indirect attack victim. Neiberger, 2022 WL 17370239, at *12. Surviving U.S.

soldiers and civilians who were directly injured by attacks supported by Iran may recover

economic losses caused by their injuries as well as damages for their pain and suffering. Valore,

700 F. Supp. 2d at 83. Family members of deceased or injured U.S. soldiers and civilians may

recover solatium damages. Id. In addition, these eligible claimants may recover punitive damages

as well as prejudgment and post-judgment interest. Opati v. Republic of Sudan, 140 S. Ct. 1601,

1608 (2020) (confirming availability of punitive damages for attacks that preceded the 2008 FSIA

amendment); Force II, 617 F. Supp. 3d at 41 (citing Oveissi II, 879 F. Supp. 2d at 59)

(“[P]rejudgment interest is an element of complete compensation.”); Valore, 700 F. Supp. 2d at 83



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(acknowledging availability of punitive damages generally); Gration, 2023 WL 5221955, at *37

(citing Cont’l Transfert Technique Ltd. v. Fed. Gov’t of Nigeria, 850 F. Supp. 2d 277, 287 (D.D.C.

2012)) (awarding post-judgment interest at the statutory rate because “[a]pplication of section

1961(a) is mandatory, not discretionary”).

       Each Bellwether Plaintiff belongs to a claimant category discussed above: (1) U.S. soldiers

and civilians who suffered physical and psychological injuries from attacks that Iran materially

supported, see infra § VIII(A)(1)(a); or (2) immediate family members of the deceased or injured

U.S. soldiers and civilians, having suffered severe emotional distress and loss of solatium as a

result of the attacks on their loved ones. See infra §§ VIII(A)(2)(a)-(b). The types of standard

damages available to such claimants follow.

               1.     Pain and Suffering Damages

       For directly injured claimants, such as Bellwether Plaintiff Adam Kisielewski, courts in

this jurisdiction apply the nonbinding Heiser framework to calculate compensatory damages for

their pain and suffering.51 Force II, 617 F. Supp. 3d at 33 (“In the interest of uniformity, judges

in this district have developed a general framework for assessing pain and suffering damages for

victims of terror attacks.”); Taitt, 2023 WL 2536518, at *9 (citing Heiser I, 466 F. Supp. 2d 229).

The framework establishes a baseline amount of $5 million as an appropriate measure of damages

for directly injured claimants and gives courts discretion to adjust the award upward or downward

to compensate claimants equitably. Oveissi v. Islamic Republic of Iran, 768 F. Supp. 2d 16, 26

(D.D.C. 2011) (“Oveissi I”) (“Decisions to deviate from the starting points provided by the Heiser



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  Some courts utilize the Peterson II framework for baseline awards but grant upward and
downward variances based on individual circumstances. Cabrera v. Islamic Republic of Iran,
No. 19-cv-3835-JDB, 2023 WL 3496303, at *2 (D.D.C. May 16, 2023) (“Cabrera II”) (citing
Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 52 (D.D.C. 2007)).

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framework are committed to the discretion of the particular court in each case [.]”); Valore, 700 F.

Supp. 2d at 84 (acknowledging the baseline award of $5 million to surviving victims of attacks).

       Thus, courts determine pain and suffering awards “based on factors including the severity

of the pain immediately following the injury, the length of hospitalization, and the extent of the

impairment that will remain with the victim for the rest of his or her life.” Force II, 617 F. Supp.

3d at 33. Courts make an upward departure from the baseline in severe instances of physical and

psychological pain. See Force II, 617 F. Supp. 3d at 33-34 (finding an upward departure warranted

for the claimant who survived six gunshot wounds “that lacerated his liver, colon, left ureter, and

femoral artery” and required numerous surgeries, resulting in severe psychological effects and

permanent physical problems); Mark v. Islamic Republic of Iran, 626 F. Supp. 3d 16, 36 (D.D.C.

2022) (deeming the surviving victim’s injuries—brain contusion with an open wound, a

penetrating injury to an eye, and massive injuries to her orbital bones—“grievous and severe,

warranting an upward adjustment from the standard $5 million under Heiser”); Taitt, 2023

WL 2536518, at *10 (making an upward adjustment for pain and suffering damage awards to the

directly injured plaintiffs “based on the number and severity of the physical and emotional injuries

suffered”); Cabrera I, 2022 WL 2817730, at *30, 45 (making an upward departure for service

member who lost a “big chunk of [hi]s skull” after shrapnel from IED sliced through his head and

optic nerve). A downward departure may be appropriate where victims suffered relatively more

minor injuries, such as minor shrapnel injuries or emotional injuries accompanied by relatively

minor physical injuries. Barry v. Islamic Republic of Iran, 410 F. Supp. 3d 161, 180 (D.D.C. 2019)

(“Barry I”). Courts remain guided by the principle that “individuals with similar injuries receive

similar awards” when determining upward or downward adjustments from the baseline. Schwartz

v. Islamic Republic of Iran, No. CV 18-1349 (RDM), 2022 WL 1567358, at *3 (D.D.C. May 18,



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2022) (“Schwartz II”) (quoting Harrison v. Republic of Sudan, 882 F. Supp. 2d 23, 48 (D.D.C.

2012)).

                        a.     Bellwether Plaintiffs: Surviving Attack Victim Who Was Wounded
                               in Action

          On August 21, 2005, U.S. Marine Corps Sergeant Adam C. Kisielewski and other service

members were clearing a school in Al-Karmah, Al Anbar Province. See supra § III(A) – Attack

#3. When they breached the rooftop door, a 97-pound artillery shell that was rigged to the door

exploded. Id.




Ex. 44, Declaration of Adam C. Kisielewski ¶ 12 [hereinafter Kisielewski Decl.].




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Adam Kisielewski is entitled to a baseline amount of $5 million, and this Court should grant an

upward departure of $4 million, for a total of $9 million for pain and suffering. Cabrera v. Islamic

Republic of Iran, No. 19-cv-3835-JDB, 2023 WL 3496303, at *8 (D.D.C. May 16, 2023)

(“Cabrera II”) (awarding $9 million to a surviving victim of an IED attack who lost his right foot

and suffered significant additional permanent physical and emotional harm).

       For example, in Cabrera II, Plaintiff Eric Hunter suffered severe injuries as a victim of an

IED, resulting in the amputation of his right foot among a litany of other injuries. Cabrera II,

2023 WL 3496303, at *8.

                                                                                   Because Adam

Kisielewski’s injuries are comparable to, and arguably more severe than, Eric Hunter’s injuries,

he should be awarded at least $9 million in damages for pain and suffering. See Cabrera II, 2023

WL 3496303, at *8.

               2.      Solatium Damages

                       a.     Immediate Family Members

       Solatium damages provide compensation to immediate family members of the victims for

mental anguish, grief, and loss of society and comfort. See Force II, 617 F. Supp. 3d at 36;

Jakubowicz v. Islamic Republic of Iran, No. CV 18-1450 (RDM), 2023 WL 6907852, at *4

(D.D.C. Sept. 1, 2023) (“Jakubowicz II”) (applying Force II and Jakubowicz I by Special Master

and reaching congruent conclusions). The victim need not be killed; an injury in a terrorist attack

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suffices. Oveissi I, 768 F. Supp. 2d at 2. The immediate family includes the victim’s spouse,

children, parents, and siblings. Heiser II, 659 F. Supp. 2d at 28. An immediate family claimant

must provide credible testimony about the attack’s effect on him or her. See Moradi v. Islamic

Republic of Iran, 77 F. Supp. 3d 57, 72-73 (D.D.C. 2015) (relying on the wife’s declaration and

finding her emotional distress “reasonably certain to occur” as a result of an attack on her husband).

But the family member need not have been present at the attack or directly injured by it to recover

solatium damages. Cohen v. Islamic Republic of Iran, 238 F. Supp. 3d 71, 84 (D.D.C. 2017)

(“Solatium claims are typically brought by family members who were not present or injured

themselves”).

       Courts follow the Heiser framework for solatium damages, which establishes baselines to

“help ensure that similarly situated victims receive comparable awards.” Force II, 617 F. Supp.

3d at 36. The baseline awards are between $8 million and $12 million for pain and suffering to a

spouse of a deceased victim, approximately $5 million to a child or parent, and approximately $2.5

million to a sibling. Owens v. Republic of Sudan, 71 F. Supp. 3d 252, 260 (D.D.C. 2014) (“Owens

II”) (noting that the customary baseline award to a child of a deceased victim is akin to the award

of a deceased victim’s parent, i.e., $5 million); Heiser I, 466 F. Supp. 2d at 269 (describing the

baseline award values). Solatium damages to family members of an injured but not killed victim

typically range from $4 million for a spouse, $2.5 million for a child or parent, and $1.25 million

for a sibling. Force II, 617 F. Supp. 3d at 36 (first citing Owens II, 71 F. Supp. 3d at 260, then

citing Anderson v. Islamic Republic of Iran, 839 F. Supp. 2d 263, 266 (D.D.C. 2012)).

       Courts have discretion to depart upward from the baseline based upon the circumstances

of each claimant. Force II, 617 F. Supp. 3d at 36 (citing Fraenkel, 892 F.3d at 361-62). “A court

may consider ‘evidence establishing an especially close relationship between the [claimant] and



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decedent, particularly in comparison to the normal interactions to be expected given the familial

relationship; medical proof of severe pain, grief or suffering on behalf of the claimant; and

circumstances surrounding the terrorist attack which made the suffering particularly more acute or

agonizing.’” Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent enhancement due to the

family member’s lifelong emotional trauma including depression, anger, and alcoholism following

the victim’s death); Valore, 700 F. Supp. 2d at 86 (granting upward departures when family

members experienced “a general feeling of permanent loss or change caused by the decedent’s

absence” or received “medical treatment for depression and related affective disorders”) (cleaned

up); Neiberger, 2022 WL 17370239, at *15 (quoting Oveissi I, 768 F. Supp. 2d at 26-27). An

upward enhancement typically ranges from approximately 20 to 50 percent of the baseline award.

See Jakubowicz II, 2023 WL 6907852, at *7 (recommending a 25 percent enhancement over the

baseline to the claimant who watched the victim undergo multiple surgeries and “deteriorate into

death,” and suffered ongoing grief and pain from the victim’s death and the circumstances of the

death); Bernhardt, 2023 WL 2598677, at *16 (awarding a 25 percent enhancement to baseline

solatium damages to family members for their severe mental distress from the victim’s sudden

death); Neiberger, 2022 WL 17370239, at *13 (awarding a 50 percent upward departure to the

service member who suffered brain injuries, an arm amputation, and vision impairment from a

terrorist attack); Cabrera II, 2023 WL 3496303, at *9-10 (awarding an upward variance of 25

percent to the victim’s spouse for the “particularly brutal suffering” and upward variance of 20

percent to children for the time without a parent during their “formative years” and the depression

they suffered); Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent enhancement due to the

family member’s lifelong emotional trauma including depression, anger, and alcoholism following

the victim’s death); Valore, 700 F. Supp. 2d at 86 (granting upward departures when family



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members experienced “a general feeling of permanent loss or change caused by the decedent’s

absence” or received “medical treatment for depression and related affective disorders”) (cleaned

up). The solatium baselines are also subject to downward variances, as warranted by individual

circumstances. Cabrera II, 2023 WL 3496303, at *9.

                                i.      Bellwether Plaintiffs: Plaintiff Parents of Attack Victims

        Fifteen of the 45 Bellwether Plaintiffs were parents of Attack Victims killed in the

Bellwether Attacks. Each of these parents tragically lost a child early, knowing that they suffered

a violent death at the hands of terrorists.

        As a direct result of the Bellwether Attacks, each parent Plaintiff experienced severe mental

anguish, extreme emotional pain and suffering, and the loss of their child’s society,

companionship, comfort, advice, and counsel. Given the loss of their child, each parent Plaintiff

is entitled to a minimum baseline amount of $5 million. See infra § VIII(A)(2)(a)(i)(1). Six of

these parents are entitled to an additional upward adjustment. See infra § VIII(A)(2)(a)(i)(2).

                                        (1)    Plaintiff Parents of Attack Victims Seeking a
                                               Baseline Award of $5 Million in Damages

        There is perhaps no greater trauma than that suffered by a parent who loses a child to

violence. Parents who survive a child’s death often cannot communicate the extent of their grief.

See, e.g., Wultz v. Islamic Republic of Iran, 864 F. Supp. 2d 24, 40 (D.D.C. 2012) (“I honestly can

say I was very ashamed to be around. It is not normal . . . that the father will bury his son, and the

only reason I’m here is because Daniel saved my life with his own beautiful body . . . I should

have been dead.”). “It is natural that a parent is likely to have a stronger bond and closer day-to-

day relationship [with their child] than, for example, a sibling of a victim. Indeed, this is precisely

the reason why the starting point for parents of victims is higher than that of siblings on the Heiser

scale—to account for the natural differences between the two relationships.” Oveissi I, 768 F.


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Supp. 2d at 28.

       As the surviving parents of Attack Victims, nine of the fifteen parent Plaintiffs seek the

baseline amount of $5 million. Heiser I, 466 F. Supp. 2d at 269 (describing the baseline award

values). Each of these surviving parents suffered immeasurable pain, yet have attempted to

describe for the Court the extent of their losses. This grief is expressed below and demonstrates

their entitlement to judgments equal to that amount. These Plaintiffs are:

              Roger Kurtz – Father of KIA Attack Victim SGT Russell A. Kurtz. See Ex. 56,
               Declaration of Roger Michael Kurtz (“R. Kurtz Decl.”).
              Patricia Grassbaugh – Mother of KIA Attack Victim CPT Jonathan D.
               Grassbaugh. See Ex. 64, Declaration of Patricia Marie Grassbaugh (“P. Grassbaugh
               Decl.”).
              Clark West – Father of KIA Attack Victim 1LT Kile West. See Ex. 70, Declaration
               of Clark Grady West (“C. West Decl.”).
              Duane Pionk – Father of KIA Attack Victim SFC Matthew Ignatius Pionk. See
               Ex. 84, Declaration of Duane Gregory Pionk (“D. Pionk Decl.”).
              Andrew Marshall – Father of KIA Attack Victim Cpl. Evan Andrew Marshall.
               See Ex. 90, Declaration of Andrew Marshall (“A. Marshall Decl.”).
              Sheila Marshall – Mother of KIA Attack Victim Cpl. Evan Andrew Marshall. See
               Ex. 92, Declaration of Sheila Marshall (“S. Marshall Decl.”).
              Noe Orosco, Sr. – Father of KIA Attack Victim SPC Adrian Noe Orosco. See Ex.
               46, Declaration of Noe Orosco, Sr. (“N. Orosco Decl.”).
              Cheryl Felder Stuart – Mother of KIA Attack Victim CPT Arthur L. Felder. See
               Ex. 26, Declaration of Cheryl Felder Stuart (“C. Stuart Decl.”).
              Alan Bean, Sr. – Father of KIA Attack Victim SGT Alan Norman Bean Jr. See
               Ex. 32, Declaration of Alan Norman Bean, Sr. (“A. Bean Decl.”).

       Roger Kurtz – Father of KIA Attack Victim SGT Russell A. Kurtz.




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  Patricia Grassbaugh – Mother of KIA Attack Victim CPT Jonathan D. Grassbaugh.




  Clark West – Father of KIA Attack Victim 1LT Kile West.




  Duane Pionk – Father of KIA Attack Victim SFC Matthew Ignatius Pionk.




  Andrew Marshall – Father of KIA Attack Victim Cpl. Evan Andrew Marshall.




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  Sheila Marshall – Mother of KIA Attack Victim Cpl. Evan Andrew Marshall.




  Noe Orosco, Sr. – Father of KIA Attack Victim SPC Adrian Noe Orosco.




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       Cheryl Felder Stuart – Mother of KIA Attack Victim CPT Arthur L. Felder.




       Alan Bean, Sr. – Father of KIA Attack Victim SGT Alan Norman Bean, Jr.




                                     (2)     Plaintiff Parents of Attack Victims Seeking an
                                             Upward Adjustment in Damages

       As the surviving parents of Attack Victims, six of fifteen parent Plaintiffs seek an upward

adjustment to the baseline amount due to their specific circumstances. These Plaintiffs are:

              Rita Blodgett – Mother of KIA Attack Victim PFC Nicholas H. Blodgett. See Ex.
               34, Declaration of Rita Ann Blodgett (“R. Blodgett Decl.”).
              Rita Zoucha – Mother of KIA Attack Victim LCpl Brent Basil Zoucha. See Ex.
               48, Declaration of Rita Ann Zoucha (“R. Zoucha Decl.”).
              Nanette West – Mother of KIA Attack Victim 1LT Kile G. West. See Ex. 68,
               Declaration of Nanette Gae West (“N. West Decl.”).
              Martha Cabe – Mother of KIA Attack Victim SSG Jonathan Killian Dozier. See
               Ex. 80, Declaration of Martha Cabe (“M. Cabe Decl.”).

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        Patty Jett – Mother of KIA Attack Victim SFC Justin S. Monschke. See Ex. 76,
         Declaration of Patty Jett (“P. Jett Decl.”).
        Becky Johnson – Mother of KIA Attack Victim SSG Gary Lee Woods. See Ex.
         98, Declaration of Becky Johnson (“B. Johnson Decl.”).

  Rita Blodgett – Mother of KIA Attack Victim PFC Nicholas H. Blodgett.




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       Rita Blodgett has been victimized twice as a direct result of Iran’s actions. As a pure

function of the anguish caused by the loss her son, Plaintiffs would seek an additional $2.5 million

in compensatory damages for Rita Blodgett, which represents an upward departure of 50 percent

from the baseline. See Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent departure to a

plaintiff due to his “lifetime of suffering” resulting from “the exact sort of acute feeling of

‘permanent loss or change caused by decedent’s absence’ that warrants an upward departure from

the standard Heiser valuation”) (quoting Valore, 700 F. Supp. 2d at 86); W.A. v. Islamic Republic

of Iran, No. 18-CV-1883 (CKK/GMH), 2020 WL 7869218, at *17-18 (D.D.C. Mar. 23, 2020)

(“W.A. II”) (awarding 50 percent upward departures due to son’s “profound permanent change to

his life” and because they “suffered in a way that is ‘particularly more acute or agonizing’”) (citing

Oveissi I, 768 F. Supp. 2d at 27); see also Wultz, 864 F. Supp. 2d at 40 (departing upward from $5

million to $7 million due to parent’s PTSD, persistent grief, and depression).

       However, recognizing that Iran’s actions directly caused Rita’s dual victimization—



                                             —Plaintiffs seek an upwards departure of 100 percent

for Rita Blodgett to $10 million. See Higgins v. Islamic Republic of Iran, No. 1:99CV00377, 2000

WL 33674311, at *4 (D.D.C. Sept. 21, 2000) (awarding daughter $12 million who changed her

college plans after her father’s kidnapping, subsequently performed poorly in her academics, and

eventually withdrew from school altogether); id. (awarding wife $12 million who suffered “great

agony” and “periods of deep depression and despair as she coped with the needs of her

stepdaughter”).




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  Rita Zoucha – Mother of KIA Attack Victim LCpl Brent Basil Zoucha.




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                                     Plaintiffs seek an upward departure of at least 25 percent for

Rita Zoucha to $6.25 million in solatium damages. See Thuneibat v. Syrian Arab Republic, 167

F. Supp. 3d 22, 52 (D.D.C. 2016) (departing upward from $5 million to $6.25 million for a victim’s

father who “became depressed to the point of requiring medication”); Flanagan, 87 F. Supp. 3d at

118 (awarding 25 percent upward departures for the severe and persistent pain experienced by

family members of a deceased victim who was “the center of his family”); Wultz, 864 F. Supp. 2d

at 40 (departing upward from $5 million to $7 million due to parent’s PTSD, persistent grief, and

depression); Bernhardt, 2023 WL 2598677, at *16 (granting an upward departure of 25 percent

for family member who “suffered from adrenal exhaustion and now suffers from PTSD”).

       Nanette West – Mother of KIA Attack Victim 1LT Kile G. West.




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                                                        Plaintiffs seek an upward departure of 50

percent for Nanette West to $7.5 million in solatium damages. Oveissi I, 768 F. Supp. 2d at 29-

30 (awarding a 50 percent departure to a plaintiff due to his “lifetime of suffering” resulting from

“the exact sort of acute feeling of ‘permanent loss or change caused by decedent’s absence’ that

warrants an upward departure from the standard Heiser valuation”) (quoting Valore, 700 F. Supp.

2d at 86); W.A. II, 2020 WL 7869218, at *17-18 (awarding 50 percent upward departures due to

son’s “profound permanent change to his life” and because they “suffered in a way that is

‘particularly more acute or agonizing’”) (citing Oveissi I, 768 F. Supp. 2d at 27).

       Martha Cabe – Mother of KIA Attack Victim SSG Jonathan Killian Dozier.




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                                  Plaintiffs seek an upward departure of at least 25 percent in

solatium damages for Martha Cabe to $6.25 million. See Thuneibat, 167 F. Supp. 3d at 52

(departing upward from $5 million to $6.25 million for a victim’s father who “became depressed

to the point of requiring medication”); Est. of Brown v. Islamic Republic of Iran, 872 F. Supp. 2d

37, 43-44 (D.D.C. 2012) (“Brown I”) (awarding a 20 percent upward departure to sister of

deceased victim because “she suffered a nervous breakdown” for which “she sought medical

treatment and was prescribed medication for approximately one year”); Valore, 700 F. Supp. 2d

at 86 (awarding a 25 percent upward departure to a plaintiff who suffered several nervous

breakdowns, at least one of which required hospitalization, from which she has never fully

recovered); Neiberger, 2022 WL 17370239, at *16 (awarding an upward departure of 25 percent

to a plaintiff that attempted suicide in the aftermath of her son’s killing, which led to a 10-day

hospitalization and PTSD and severe depression diagnoses).

       Patty Jett – Mother of KIA Attack Victim SFC Justin S. Monschke.




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                                       Plaintiffs seek an upward departure of 50 percent, totaling

$7.5 million in solatium damages for Patty Jett. See Oveissi I, 768 F. Supp. 2d at 29-30 (awarding

a 50 percent departure to a plaintiff due to his “lifetime of suffering” resulting from “the exact sort

of acute feeling of ‘permanent loss or change caused by decedent’s absence’ that warrants an

upward departure from the standard Heiser valuation”) (quoting Valore, 700 F. Supp. 2d at 86);

W.A. II, 2020 WL 7869218, at *17-18 (awarding 50 percent upward departures due to son’s


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“profound permanent change to his life” and because they “suffered in a way that is ‘particularly

more acute or agonizing’”) (citing Oveissi I, 768 F. Supp. 2d at 27); see also Wultz, 864 F. Supp.

2d at 40 (departing upward from $5 million to $7 million due to parent’s PTSD, persistent grief,

and depression).

       Becky Johnson – Mother of KIA Attack Victim SSG Gary Lee Woods.




                          Plaintiffs seek an upward departure of 25 percent for Becky Johnson,

totaling $6.25 million in solatium damages. See Thuneibat, 167 F. Supp. 3d at 52 (departing

upward from $5 million to $6.25 million for a victim’s father who “became depressed to the point

of requiring medication”); Lelchook v. Syrian Arab Republic, No. 16-CV-1550 (RC), 2019 WL

4673849, at *6 (D.D.C. Sept. 25, 2019) (awarding a 25 percent upward departure to a family

member who “lost her sense of place in the world” and whose trajectory and outlook in life


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changed due to the death of her loved one).

                              ii.      Bellwether Plaintiffs: Plaintiff Children of Attack Victims

       Seven of the 45 Bellwether Plaintiffs were children of Attack Victims killed in the

Bellwether Attacks. Each of these children tragically lost a parent, knowing that their mother or

father suffered a violent death at the hands of terrorists. Some of these children were old enough

to understand their respective parent’s decision to serve overseas, and they lost someone with

whom they had an extremely close relationship. Others were young and have only limited

memories of their parent, losing the opportunity to develop those relationships and rely on the

support and guidance a parent can provide. These children’s families were irreparably broken by

Iran-backed terrorists.

       As a direct result of the Bellwether Attacks, each Plaintiff child of an Attack Victim

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of their

parent’s society, companionship, comfort, advice, and counsel. Given the loss of their parent, each

surviving child Plaintiff is entitled to a minimum baseline amount of $5 million. See infra §

VIII(A)(2)(a)(ii)(1). Further, two of these surviving child Plaintiffs are entitled to an additional

upward adjustment. See infra § VIII(A)(2)(a)(ii)(2).

                                       (1)    Plaintiff Children of Attack Victims Seeking a
                                              Baseline Award of $5 Million in Damages

       As the surviving children of Attack Victims, four of seven Plaintiffs in this category seek

the baseline amount of $5 million. Heiser I, 466 F. Supp. 2d at 269 (describing the baseline award

values). Each of these surviving children lost a parent (and often experienced secondhand the

suffering felt by their surviving parent), which permanently altered their life trajectories and

opportunities. These Plaintiffs are:

              Jonathan Krause – Son of KIA Attack Victim SGT Elmer C. Krause. See Ex. 18,
               Declaration of Jonathan Krause (“J. Krause Decl.”).

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        Virginia Maitland – Daughter of KIA Attack Victim SGM Michael B. Stack. See
         Ex. 24, Declaration of Virginia Maitland (“V. Maitland Decl.”).
        K.L., a minor (Daughter) – Daughter of KIA Attack Victim Cpl. Damon G.
         LeGrand. See Ex. 74, Declaration of K.L. (“K.L. Decl.”).
        Tara Roberts – Daughter of KIA Attack Victim SGT James William Harlan. See
         Ex. 30, Declaration of Tara Nicole Roberts (“T. Roberts Decl.”).

  Jonathan Krause – Son of KIA Attack Victim SGT Elmer C. Krause.




  Virginia Maitland – Daughter of KIA Attack Victim SGM Michael B. Stack.




  K.L., a minor – Daughter of KIA Attack Victim Cpl. Damon G. LeGrand.




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       Tara Roberts – Daughter of KIA Attack Victim SGT James William Harlan.




                                     (2)    Plaintiff Children of Attack Victims Seeking an
                                            Upward Adjustment in Damages

       Three of the seven children of Attack Victims seek an upward adjustment to their baseline

solatium damages due to their specific circumstances. These Plaintiffs are:

              Lisa Kaufman – Daughter of KIA Attack Victim Mr. Stephen F. Hulett. See Ex.
               14, Declaration of Lisa Kaufman (“L. Kaufman Decl.”).
              Milissa Wojtowicz – Daughter of KIA Attack Victim SGM Michael B. Stack. See
               Ex. 22, Declaration of Milissa Wojtowicz (“M. Wojtowicz Decl.”).
              Manaser Orton – Adopted Son of KIA Attack Victim SSG Billy J. Orton. See Ex.
               28, Declaration of Manaser Simbad Orton (“M. Orton Decl.”).

       Lisa Kaufman – Daughter of KIA Attack Victim Mr. Stephen F. Hulett.




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                                                        Plaintiffs seek an upward variance of $5

million for Lisa Kaufman, representing a 100 percent departure from the baseline. See Higgins v.

Islamic Republic of Iran, No. 1:99CV00377, 2000 WL 33674311, at *4 (D.D.C. Sept. 21, 2000)

(awarding daughter $12 million who changed her college plans after her father’s kidnapping,

subsequently performed poorly in her academics, and eventually withdrew from school

altogether); Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent departure to a plaintiff due



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to his “lifetime of suffering” resulting from “the exact sort of acute feeling of ‘permanent loss or

change caused by decedent’s absence’ that warrants an upward departure from the standard Heiser

valuation”) (quoting Valore, 700 F. Supp. 2d at 86); W.A. II, 2020 WL 7869218, at *17 (awarding

50 percent upward departures due to son’s “profound permanent change to his life” and because

they “suffered in a way that is ‘particularly more acute or agonizing’”) (citing Oveissi I, 768 F.

Supp. 2d at 27).

       Milissa Wojtowicz – Daughter of KIA Attack Victim SGM Michael B. Stack.




                                                                                  Plaintiffs seek an

upward departure of at least 50 percent to $7.5 million for Milissa Wojtowicz. See Oveissi I, 768



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F. Supp. 2d at 29-30 (awarding a 50 percent enhancement due to the family member’s lifelong

emotional trauma including depression, anger, and alcoholism following the victim’s death);

W.A. II, 2020 WL 7869218, at *17 (awarding a 50 percent departure upward due to son’s

“profound permanent change to his life”); Higgins, 2000 WL 33674311, at *4 (awarding daughter

$12 million who changed her college plans after her father’s kidnapping, subsequently performed

poorly in her academics, and eventually withdrew from school altogether).

       Manaser Orton – Adopted Son of KIA Attack Victim SSG Billy J. Orton.




       As the child of SSG Billy J. Orton, Manaser Orton is entitled to the baseline amount of $5

million in solatium damages. See Heiser I, 466 F. Supp. 2d at 269; see also Valore, 700 F. Supp.



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2d at 79-80 (concluding that the adoptive or non-adoptive stepfather satisfied the immediate-

family requirement because the victim treated him as the natural father, and the half-brother or

step-brother also satisfied the immediate family requirement because the victim treated him as a

full-blood sibling).



Plaintiffs seek an upward departure of at least 25 percent to $6.25 million for Manaser Orton. See

Cabrera II, 2023 WL 3496303, at *9-10 (awarding an upward variance of 20 percent to children

for the time without a parent during their “formative years” and the depression they suffered);

Lelchook, 2019 WL 4673849, at *6 (awarding a 25 percent upward departure to a family member

who “lost her sense of place in the world” and whose trajectory and outlook in life changed due to

the death of her loved one); Higgins, 2000 WL 33674311, at *4 (awarding daughter $12 million

who changed her college plans after her father’s kidnapping, subsequently performed poorly in

her academics, and eventually withdrew from school altogether).

                               iii.    Bellwether Plaintiffs: Plaintiff Siblings of Attack Victims

       Sixteen of the 45 Bellwether Plaintiffs were siblings of Attack Victims killed in the

Bellwether Attacks. Each of these Plaintiffs tragically lost a brother or sister, knowing that they

suffered a violent death at the hands of terrorists.

       As a direct result of the Bellwether Attacks, each Plaintiff sibling of an Attack Victim

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of their

sibling’s society, companionship, comfort, advice, and counsel. Given the loss of their brother or

sister, each Plaintiff sibling of an Attack Victim is entitled to a minimum baseline amount of $2.5

million. See infra § VIII)(A)(2)(a)(iii)(1). Seven of these Plaintiff siblings are entitled to an

additional upward adjustment. See infra § VIII(A)(2)(a)(iii)(2).



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                                      (1)    Plaintiff Siblings of Attack Victims Seeking a
                                             Baseline Award of $5 Million in Damages

       As the surviving siblings of Attack Victims, seven of sixteen sibling Plaintiffs seek the

baseline amount of $2.5 million in solatium damages. Heiser I, 466 F. Supp. 2d at 269 (describing

the baseline award values). Each of these sibling Plaintiffs of Attack Victims were deprived of a

meaningful relationship with their brother or sister, and they have experienced grief in their own

way, with harsh impacts on their personal lives. These Plaintiffs are:

              Brandon Clevenger – Brother of KIA Attack Victim SGT Ross Aaron Clevenger.
               See Ex. 54, Declaration of Brandon Clevenger (“B. Clevenger Decl.”).
              Sarah Lambert – Sister of KIA Attack Victim SGT Zachary Wade McBride. See
               Ex. 82, Declaration of Sarah Jean Lambert (“S. Lambert Decl.”).
              Felicia Bell Carter – Sister of KIA Attack Victim Mr. Timothy E. Bell. See Ex.
               10, Declaration of Felicia Bell Carter (“Bell Carter Decl.”).
              Michael Bell – Brother of KIA Attack Victim Mr. Timothy E. Bell. See Ex. 12,
               Declaration of Michael Bell (“M. Bell Decl.”).
              Nancy Poulin – Sister of KIA Attack Victim SSG Lynn Robert Poulin. See Ex.
               38, Declaration of Nancy Poulin (“N. Poulin Decl.”).
              Josef Pautsch – Brother of KIA Attack Victim CPL Jason Graham Pautsch. See
               Ex. 96, Declaration of Josef Alec Pautsch (“J. Pautsch Decl.”).
              Richard Gervasi II – Half-Brother of KIA Attack Victim PFC Kelly David
               Youngblood. See Ex. 60, Declaration of Richard Donald Gervasi III (“R. Gervasi
               Decl.”).

       Brandon Clevenger – Brother of KIA Attack Victim SGT Ross Aaron Clevenger.




       Sarah Lambert – Sister of KIA Attack Victim SGT Zachary Wade McBride.

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  Felicia Bell Carter – Sister of KIA Attack Victim Mr. Timothy E. Bell.




  Michael Bell – Brother of KIA Attack Victim Mr. Timothy E. Bell.




  Nancy Poulin – Sister of KIA Attack Victim SSG Lynn Robert Poulin.




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  Josef Pautsch – Brother of KIA Attack Victim CPL Jason Graham Pautsch.




  Richard Gervasi II – Half-Brother of KIA Attack Victim PFC Kelly David Youngblood.




                               (2)    Plaintiff Siblings of Attack Victims Seeking an
                                      Upward Adjustment in Damages

  As the surviving siblings of Attack Victims, nine of 16 Plaintiffs in this group seek an


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upward adjustment to the baseline amount due to their specific circumstances. The Plaintiffs are:

              Jason Rockholt – Brother of KIA Attack Victim SPC Ricky William Rockholt Jr.
               See Ex. 42, Declaration of Jason Rockholt (“J. Rockholt Decl.”).
              Stephanie Kurtz – Sister of KIA Attack Victim SGT Russell A. Kurtz. See Ex.
               58, Declaration of Stephanie Joy Kurtz (“S. Kurtz Decl.”).
              Norma Estes – Half-Sister of KIA Attack Victim SSG Justin Michael Estes. See
               Ex. 62, Declaration of Norma Estes (“N. Estes Decl.”).
              Michael Summers – Half-Brother of KIA Attack Victim SPC James Eugene
               “Jimmy” Summers. See Ex. 66, Declaration of Michael Shane Summers (“M.
               Summers Decl.”).
              Brandi Yanez – Sister of KIA Attack Victim PFC Joshua Young. See Ex. 94,
               Declaration of Brandi Yanez (“B. Yanez Decl.”).
              Marla Van Cannon – Twin Sister of KIA Attack Victim CSM Marilyn Lea
               Gabbard. See Ex. 50, Declaration of Marla Marie Van Cannon (“Marla Van
               Cannon Decl.”).
              Michael Van Cannon – Brother of KIA Attack Victim CSM Marilyn Lea Gabbard.
               See Ex. 52, Declaration of Michael Lee Van Cannon (“Michael Van Cannon
               Decl.”).
              Kelly Inman – Sister of KIA Attack Victim SGT James (“Jim”) Edward Craig.
               See Ex. 86, Declaration of Kelly Inman (“K. Inman Decl.”).
              Gerald Krause – Older Brother and “Functional Equivalent” of Father of KIA
               Attack Victim SGT Elmer C. Krause. See Ex. 20, Declaration of Gerald Krause
               (“G. Krause Decl.”).

       Jason Rockholt – Brother of KIA Attack Victim SPC Ricky William Rockholt Jr.




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                                                 Plaintiffs seek an upward departure of at least 25

percent in solatium damages to $3.125 million for Jason Rockholt. See Flanagan, 87 F. Supp. 3d

at 118 (awarding mother and siblings an upward departure of 25 percent due to their “traumatic

grief,” “persistent complex bereavement-related disorder,” and “PTSD” as a result of victim’s

death, and where the “violent nature in which he died further exacerbated their grief and mental

suffering”); Brown I, 872 F. Supp. 2d 37, 43-44 (awarding a 20 percent upward departure to sister

of deceased victim because “she suffered a nervous breakdown” for which “she sought medical

treatment and was prescribed medication for approximately one year”); Bernhardt, 2023 WL

2598677, at *16 (granting an upward departure of 25 percent for sister of victim who “suffered

from adrenal exhaustion and now suffers from PTSD”); Baker v. Socialist People’s Libyan Arab

Jamahirya, 775 F. Supp. 2d 48, 83 (D.D.C. 2011) (awarding 25 percent upward departure for

siblings who “turned to self-destructive behavior” and “battled depression” after the loss of their

sister).

           Stephanie Kurtz – Sister of KIA Attack Victim SGT Russell A. Kurtz.




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                                                                          Plaintiffs seek an upward

departure of at least 25 percent for Stephanie Joy Kurtz to $3.125 million in solatium damages.

See Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent upward departure to a plaintiff that

continues to suffer sadness and anger, and whose grief over their relative’s death steered them to

“pursue particular studies and fields of practice linked to” their relative’s death, compelling the

plaintiff to constantly remember their relative’s death and defining who the plaintiff is today);

Lelchook, 2019 WL 4673849, at *6 (awarding a 25 percent upward departure to a family member

who “lost her sense of place in the world” and whose trajectory and outlook in life changed due to

the death of her loved one); Baker, 775 F. Supp. 2d at 83 (awarding 25 percent upward departure

for siblings who “turned to self-destructive behavior” and “battled depression” after losing sister).

       Norma Estes – Half-Sister of KIA Attack Victim SSG Justin Michael Estes.




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           Plaintiffs seek an upward departure of 50 percent for Norma Estes to $3.75 million. See

Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent departure to a plaintiff due to his

“lifetime of suffering” resulting from “the exact sort of acute feeling of ‘permanent loss or change

caused by decedent’s absence’ that warrants an upward departure from the standard Heiser

valuation”) (quoting Valore, 700 F. Supp. 2d at 86); W.A. II, 2020 WL 7869218, at *17 (awarding

50 percent upward departures due to son’s “profound permanent change to his life” and because

they “suffered in a way that is ‘particularly more acute or agonizing’”) (citing Oveissi I, 768 F.

Supp. 2d at 27); see also Wultz, 864 F. Supp. 2d at 40 (departing upward from $5 million to $7

million due to parent’s PTSD, persistent grief, and depression).

       Michael Summers – Half-Brother of KIA Attack Victim SPC James Eugene “Jimmy”

Summers.

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                                                                         Plaintiffs seek an upward

departure of 25 percent, for a total of $3.125 million dollars in solatium damages for Michael

Summers. See Flanagan, 87 F. Supp. 3d at 118 (awarding mother and siblings an upward

departure of 25 percent due to their “traumatic grief,” “persistent complex bereavement-related

disorder” and “PTSD” as a result of victim’s death and where the “violent nature in which he died

further exacerbated their grief and mental suffering”); Brown I, 872 F. Supp. 2d at 43-44 (awarding

a 20 percent upward departure to sister of deceased victim because “she suffered a nervous

breakdown” for which “she sought medical treatment and was prescribed medication for

approximately one year”); Lelchook, 2019 WL 4673849, at *6 (awarding a 25 percent upward

departure to a family member who “lost her sense of place in the world” and whose trajectory and

outlook in life changed due to the death of her loved one); Baker, 775 F. Supp. 2d at 83 (awarding



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25 percent upward departure for siblings who “turned to self-destructive behavior” and “battled

depression” after the loss of their sister).

        Brandi Yanez – Sister of KIA Attack Victim PFC Joshua Young.




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                                                                                  Plaintiffs seek an

upward departure of at least 50 percent for Brandi Yanez to $3.75 million. See Oveissi I, 768 F.

Supp. 2d at 29-30 (awarding a 50 percent departure to a plaintiff due to his “lifetime of suffering”

resulting from “the exact sort of acute feeling of ‘permanent loss or change caused by decedent’s

absence’ that warrants an upward departure from the standard Heiser valuation”) (quoting Valore,

700 F. Supp. 2d at 86); W.A. II, 2020 WL 7869218, at *17 (awarding 50 percent upward departures

due to son’s “profound permanent change to his life” and because they “suffered in a way that is

‘particularly more acute or agonizing’”) (citing Oveissi I, 768 F. Supp. 2d at 27); see also Wultz,

864 F. Supp. 2d at 40 (departing upward from $5 million to $7 million due to parent’s PTSD,

persistent grief, and depression).

       Marla Van Cannon – Twin Sister of KIA Attack Victim CSM Marilyn Lea Gabbard.




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                                         Plaintiffs seek an upward departure of at least 50 percent

for Marla Van Cannon to $3.75 million in solatium damages. See Mwila v. Islamic Republic of

Iran, 33 F. Supp. 3d 36, 45 (D.D.C. 2014) (awarding $4 million to the twin brother of an attack

victim, rather than the $2.5 million typically awarded to siblings of deceased victims, because of

the closer-than-normal sibling relationship the plaintiff shared with his twin brother); see also

Oveissi I, 768 F. Supp. 2d at 29-30 (awarding a 50 percent departure to a plaintiff due to his

“lifetime of suffering” resulting from “the exact sort of acute feeling of ‘permanent loss or change

caused by decedent’s absence’ that warrants an upward departure from the standard Heiser

valuation”) (quoting Valore, 700 F. Supp. 2d at 86); W.A. II, 2020 WL 7869218, at *17 (awarding

50 percent upward departures due to son’s “profound permanent change to his life” and because

they “suffered in a way that is ‘particularly more acute or agonizing’”) (citing Oveissi I, 768 F.

Supp. 2d at 27).

       Michael Van Cannon – Brother of KIA Attack Victim CSM Marilyn Lea Gabbard.




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                Plaintiffs seek an upward departure of at least 25 percent for Michael Lee Van

Cannon to $3.125 million in solatium damages. See Flanagan, 87 F. Supp. 3d at 118 (awarding

25 percent upward departures for the severe and persistent pain experienced by family members

of a deceased victim who was “the center of his family”); Bernhardt, 2023 WL 2598677, at *16

(granting an upward departure of 25 percent for sister of victim who “suffered from adrenal

exhaustion and now suffers from PTSD”); Lelchook, 2019 WL 4673849, at *6 (awarding a 25

percent upward departure to a family member who “lost her sense of place in the world” and whose

trajectory and outlook in life changed due to the death of her loved one).

       Kelly Inman – Sister of KIA Attack Victim SGT James (“Jim”) Edward Craig.




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                                         Plaintiffs seek an upward departure of at least 25 percent

for Kelly Inman to $3.125 million in solatium damages. See Flanagan, 87 F. Supp. 3d at 118

(awarding mother and siblings an upward departure of 25 percent due to their “traumatic grief,”

“persistent complex bereavement disorder” and “PTSD” as a result of victim’s death and where

the “violent nature in which he died further exacerbated their grief and mental suffering”); Brown

I, 872 F. Supp. 2d at 43-44 (awarding a 20 percent upward departure to sister of deceased victim

because “she suffered a nervous breakdown” for which “she sought medical treatment and was

prescribed medication for approximately one year”); Bernhardt, 2023 WL 2598677, at *16

(granting an upward departure of 25 percent for sister of victim who “suffered from adrenal

exhaustion and now suffers from PTSD”); Lelchook, 2019 WL 4673849, at *6 (awarding a 25

percent upward departure to a family member who “lost her sense of place in the world” and whose

trajectory and outlook in life changed due to the death of her loved one).

       Gerald Krause – Older Brother and “Functional Equivalent” of Father of KIA Attack

Victim SGT Elmer C. Krause.



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          Heiser I, 466 F. Supp. 2d, at 269.



                                                                      Higgins, 2000 WL 33674311,

at *4 (awarding $12 million to the daughter of a victim who faced a “tumultuous time” and

uncertainty regarding her father’s welfare during his time in captivity).




                                            See Jakubowicz II, 2023 WL 6907852, at *7 (finding a

grandfather as a functional equivalent of a parent because he “served as a father figure”). Because

Gerald would be entitled to either $3.75 million as a sibling of a decedent with an upward departure

or a $5 million baseline as the functional equivalent of a father of a decedent, the Court should use

the higher $5 million figure as his baseline. See generally Wultz, 864 F. Supp. 2d at 40 (awarding

the higher of two baseline awards to a plaintiff that could be awarded damages as both the spouse

of a survivor and the mother of a decedent).

                               iv.    Bellwether Plaintiffs: Plaintiff Spouses of Attack Victims

        Four of the 45 Bellwether Plaintiffs are surviving spouses of Attack Victims killed in the

Bellwether Attacks. Each of these Plaintiffs lost their chosen life partner to a violent death at the

hands of terrorists.

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       As a direct result of the Bellwether Attacks, each surviving spouse Plaintiff of an Attack

Victim experienced severe mental anguish, extreme emotional pain and suffering, and the loss of

their husband’s society, companionship, comfort, advice, and counsel. Given the loss of their

husband, each surviving spouse Plaintiff is entitled to a minimum baseline range between $8

million and $12 million. Heiser I, 466 F. Supp. 2d at 269 (describing the baseline award values).

These Plaintiffs are:

              Ashley LeGrand Rawlings – Wife of KIA Attack Victim Cpl. Damon G. LeGrand.
               See Ex. 72, Declaration of Ashley LeGrand Rawlings (“A. LeGrand Rawlings
               Decl.”).
              Natalie Jackson – Wife of KIA Attack Victim SGT James Edward Craig. See Ex.
               88, Declaration of Natalie Jackson (“N. Jackson Decl.”).
              Christina Linden – Spouse of KIA Attack Victim 1LT William (“Wil”) Anthony
               Edens. See Ex. 40, Declaration of Christina Marie Linden (“C. Linden Decl.”).
              Shelia Towns – Spouse of KIA Attack Victim SGT Robin Leslie Towns, Sr. See
               Ex. 78, Declaration of Shelia Towns (“S. Towns Decl.”).

       Ashley LeGrand Rawlings – Wife of KIA Attack Victim Cpl. Damon G. LeGrand.




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          Plaintiffs seek $12 million in solatium damages for Ashley LeGrand Rawlings. See

Foley v. Syrian Arab Republic, 281 F. Supp. 3d 153, 155-57 (D.D.C. 2017) (“Foley II”) (awarding

$12.5 million and $17 million to the widows of two victims); W.A. II, 2020 WL 7869218, at *16

(awarding $12 million in solatium damages to spouse experiencing inter alia “acute feelings of

permanent loss”) (cleaned up); Higgins, 2000 WL 33674311, at *9 (awarding $12 million to

widow of victim); see also Ben-Yishai v. Syrian Arab Republic, 642 F. Supp. 3d 110, 132 (D.D.C.

2022) (awarding a 25 percent enhancement to parents that were not present at the scene of the

attack but had first-hand observations and vivid memories of their daughter’s lifeless body shortly

afterward); Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78, 90-91 (D.D.C. 2002) (noting



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that courts have acknowledged that anguish is exacerbated when family members live with the

knowledge of the suffering of their loved ones).

       Natalie Jackson – Wife of KIA Attack Victim SGT James Edward Craig.




                                                                                          Plaintiffs

seek $11 million in solatium damages for Natalie Jackson. See Bernhardt, 2023 WL 2598677, at

*15 (noting that courts have awarded higher amounts of solatium damages “when evidence

establishes an especially close relationship between the plaintiff and decedent, particularly in

comparison to the normal interactions to be expected given the familial relationship; medical proof

of severe pain, grief or suffering on behalf of the claimant is presented; and circumstances

surrounding the terrorist attack rendered the suffering particularly more acute or agonizing.”); see

also Foley II, 281 F. Supp. 3d at 155-57 (awarding $12.5 million and $17 million to the widows



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of two victims); W.A. II, 2020 WL 7869218, at *16 (awarding $12 million in solatium damages to

spouse experiencing inter alia “acute feelings of permanent loss”); Higgins, 2000 WL 33674311,

at *9 (awarding $12 million to widow of victim); but cf. Valore, 700 F. Supp. 2d at 86 (declining

an upward departure to the wife because her husband was killed after only six months of their

marriage).

       Christina Linden – Spouse of KIA Attack Victim 1LT William (“Wil”) Anthony Edens.




                                                    Plaintiffs seek $10 million in solatium damages

for Christina Linden. See Foley II, 281 F. Supp. 3d at 155-57 (awarding $12.5 million and $17

million to the widows of two victims); W.A. II, 2020 WL 7869218, at *16 (awarding $12 million

in solatium damages to spouse experiencing inter alia “acute feelings of permanent loss”); Heiser




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I, 466 F. Supp. 2d at 269 (describing the baseline award values); Higgins, 2000 WL 33674311, at

*9 (awarding $12 million to widow of victim).

       Shelia Towns – Spouse of KIA Attack Victim SGT Robin Leslie Towns, Sr.




                                       Plaintiffs seek $9 million in solatium damages for Shelia

Towns. See Foley II, 281 F. Supp. 3d at 155-57 (awarding $12.5 million and $17 million to the

widows of two victims); Valore, 700 F. Supp. 2d at 86 (noting that aggravated circumstances

warranting an upward departure include a family member’s general feeling of permanent loss and

medical treatment for depression or related disorders); W.A. II, 2020 WL 7869218, at *16

(awarding $12 million in solatium damages to spouse experiencing “acute feeling[s] of ‘permanent

loss,’” inter alia); Heiser I, 466 F. Supp. 2d at 269 (describing the baseline award values); Higgins,

2000 WL 33674311, at *9 (awarding $12 million to widow of victim).

                       b.      Functional Equivalent of Immediate Family Members

       Courts in this jurisdiction also have discretion to award solatium damages to claimants who

are “viewed as the functional equivalents of immediate family members” of terrorist attacks’

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victims. Force II, 617 F. Supp. 3d at 38 (quoting Bettis v. Islamic Republic of Iran, 315 F.3d 325,

335 (D.C. Cir. 2003)); Cabrera II, 2023 WL 3496303, at *5 (stating that a claimant may recover

on a solatium claim if he or she is the “functional equivalent” of an immediate family member,

even if not legally or biologically related to the victim). Under the functional equivalency test, the

claimant must show that he or she was “treated like” a victim’s spouse, child, parent, or sibling.

See Fritz v. Islamic Republic of Iran, 324 F. Supp. 3d 54, 63 (D.D.C. 2018) (“Fritz II”) (noting

that step-siblings recover as immediate family members when they were “treated like” a brother

or sister); Oveissi I, 768 F. Supp. 2d at 27 (“the interactions . . . were sufficiently frequent and of

such a nature as to render them equivalent to those interactions typical of a parent-child

relationship”); Valore, 700 F. Supp. 2d at 79-80 (concluding that the adoptive or non-adoptive

stepfather satisfied the immediate-family requirement because the victim treated him as the natural

father, and the half-brother or step-brother also satisfied the immediate family requirement because

the victim treated him as a full-blood sibling); Jakubowicz II, 2023 WL 6907852, at *7 (finding a

grandfather as a functional equivalent of a parent because he “served as a father figure”);

Hammons, 2023 WL 5933340, at *26 (deeming a long-term domestic partner as functionally

equivalent to a spouse when the partner resided with the victim and had a marriage-like bond);

Christie v. Islamic Republic of Iran, No. 19-cv-1289 (BAH), 2020 WL 3606273, at *19 (D.D.C.

July 2, 2020) (finding that a victim’s fiancée who had been living with him for approximately six

months before his deployment “was the functional equivalent of a spouse”). The same solatium

damages baseline and adjustments framework apply to the functionally equivalent claimants as to

immediate family claimants. See generally Jakubowicz II, 2023 WL 6907852, at *6-7.

                               i.      Bellwether Plaintiffs: Functional Equivalent of Immediate
                                       Family Members

       Two of the 45 Bellwether Plaintiffs were the “functional equivalent of family” to Attack


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Victims killed in the Bellwether Attacks.     Each of these Plaintiffs had an intensely close

relationship with an Attack Victim, and suffered in the aftermath in their death in a manner

identical to how someone with a blood relationship would grieve.

       As a direct result of the Bellwether Attacks, each of these Plaintiffs experienced severe

mental anguish, extreme emotional pain and suffering, and the loss of their family member

equivalent’s society, companionship, comfort, advice, and counsel. These Plaintiffs are:

              Alexandria Parks – Stepdaughter of KIA Attack Victim Mr. Stephen F. Hulett.
               See Ex. 16, Declaration of Alexandria Parks (“A. Parks Decl.”).
              Jacob Kosky – Stepson of KIA Attack Victim John Albert Pinsonneault. See Ex.
               36, Declaration of Jacob Kosky (“J. Kosky Decl.”).

       Alexandria Parks – Stepdaughter of KIA Attack Victim Mr. Stephen F. Hulett.




                              Valore, 700 F. Supp. 2d at 79-80 (concluding that the adoptive or

non-adoptive stepfather satisfied the immediate-family requirement because the victim treated him

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as the natural father, and the half-brother or step-brother also satisfied the immediate family

requirement because the victim treated him as a full-blood sibling); Oveissi I, 768 F. Supp. 2d at

27 (“the interactions . . . were sufficiently frequent and of such a nature as to render them equivalent

to those interactions typical of a parent-child relationship”). Given the loss of her stepfather



Alexandria is entitled to a minimum baseline amount of $5 million in solatium damages. Heiser

I, 466 F. Supp. 2d at 269.

        Jacob Kosky – Stepson of KIA Attack Victim John Albert Pinsonneault.




                                                                                             Therefore,

Jacob Kosky is entitled to a baseline of $5 million for children of victims killed in a terrorist attack.

See Valore, 700 F. Supp. 2d at 79-80 (holding that a stepfather and stepbrother of victim were

functionally the equivalent of immediate family to the victim because the stepfather “treated [the



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decedent] as his own son”); Heiser I, 466 F. Supp. 2d at 269 (describing the baseline award values);

In re Terrorist Attacks on Sept. 11, 2001, No. 03-MDL-1570 (GBD)(SN), 2016 WL 8711419, at

*3 (S.D.N.Y. Oct. 14, 2016) (departing upward to award solatium damages in amount of

$8,500,000 to stepdaughter where father-daughter relationship “was virtually indistinguishable

from that of a biological father and daughter” and deceased “clearly served a father role” and thus

plaintiffs were “the functional equivalent[s] of” a daughter or son to deceased), report and

recommendation adopted, 2016 WL 6465922, at *8-10 (S.D.N.Y. Oct. 31, 2016).

                3.     Economic Damages

         Surviving direct victims of terrorist attacks, such as Sgt. Adam Kisielewski (ret.), may

recover for economic losses stemming from their injuries. Force II, 617 F. Supp. 3d at 30. “As a

general rule, lost earnings—past and future—are compensable economic damages.” Moradi, 77

F. Supp. 3d at 71. Economic damages are typically “not hard to quantify,” but must be proven

with “competent evidence.” Force II, 617 F. Supp. 3d at 30 (quoting Moradi, 77 F. Supp. 3d at

71).

         Sgt. Adam Kisielewski (ret.) seeks economic damages of $1,906,778 in lost earnings and

benefits. Using reasonable assumptions and reliable calculations—based on economic models and

government data—experts at the Center for Forensic Economic Studies estimate Adam’s lost

military and civil pay and benefits, subtracting out taxes and personal maintenances, ranges from

$1,796,269 to $1,906,778, differing based on the expected work-life. Ex. 5, Expert Damages

Report of Chad Staller and Stephen M. Dripps for Sgt. Adam Kisielewski (ret.) (“Staller Damages

Report”) at 7. Courts have routinely concluded that the estimates used by the Center for Forensic

Economic Studies, including an expected work-life out to the Social Security retirement age, are

reasonable, and as a result, Plaintiffs seek the higher end of the range. See Neiberger, 2022 WL

17370239, at *14 (accepting the economic damages model proposed by Mr. Staller at the Center

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for Forensic Economic Studies based on similar estimates and data and a work-life up to the social

security retirement age, deeming such conclusions “reasonable, consistent with generally accepted

practices, and calculated using appropriate assumptions based on reasonable and well-documented

sources”) (quotation marks omitted); Roth I, 78 F. Supp. 3d at 405 (same); Sheikh v. Republic of

Sudan, 485 F. Supp. 3d 255, 268 (D.D.C. 2020) (same); Fritz II, 324 F. Supp. 3d at 59-60 (same);

Lelchook, 2019 WL 4673849, at *3 (same); Est. of Steinberg v. Islamic Republic of Iran, No. 17-

CV-1910 (RCL), 2019 WL 6117722, at *8 (D.D.C. Nov. 18, 2019) (same). Plaintiffs, however,

do not seek to apply prejudgment interest to these economic damages because the Center for

Forensic Economic Studies report already includes estimates on present value. Staller Damages

Report at 6.

               4.     Prejudgment Interest

       Plaintiffs who were “delayed in recovering compensation for their injuries” may seek

prejudgment interest on their compensatory damages. Reed, 845 F. Supp. 2d at 214. Courts in

this jurisdiction award prejudgment interest on the plaintiffs’ “past economic loss and their non-

economic pain and suffering and solatium damages.” Force II, 617 F. Supp. 3d at 42 (quotation

marks and citation omitted).

       The most appropriate measure of prejudgment interest is the average annual prime rate

from the date of the attack to the judgment’s date. Force II, 617 F. Supp. 3d at 42 (citing Forman

v. Korean Air Lines Co., Ltd., 84 F.3d 446, 450-51 (D.C. Cir. 1996)). The court in Ewan provided

an example:

       To calculate the multiplier, the Court multiplied $1.00 by the prime rate in 1983
       (10.79%); discounted that interest by the percentage of the year left from April 18,
       1983, to December 31, 1983 (70.4%); and then added that amount to $1.00—
       yielding $1.07596. Then, the Court took that amount and multiplied it by the prime
       rate in 1984 (12.04%) and added that amount to $1.07596, yielding $1.205506. The
       Court continued this iterative process through June 10, 2020, resulting in a total
       multiplier of 10.62015. See Opati, 60 F. Supp. 3d at 83 n.10. For 2020, the Court

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       estimated the rate to be 4.05167%—the average for the past six years—and again
       discounted the interest by the percentage of the year that has elapsed to date
       (44.2623%).

Ewan, 466 F. Supp. 3d at 250 n.3.

       Plaintiffs respectfully seek an award of prejudgment interest. Applying the methodology

detailed in Ewan, Exhibit 8 details the resulting prejudgment interest figures to account for the

time that passed since the attacks until the estimated judgment date of July 1, 2024.

               5.     Punitive Damages

       Punitive damages “serve to punish and deter the actions for which they [are] awarded.”

Valore, 700 F. Supp. 2d at 87. “Punitive damages are warranted where defendants supported,

protected, harbored, aided, abetted, enabled, sponsored, conspired with, and subsidized a known

terrorist organization whose modus operandi included the targeting, brutalization, and murder of

American citizens and others.” Braun v. Islamic Republic of Iran, 228 F. Supp. 3d 64, 86 (D.D.C.

2017) (quotation marks and citations omitted).

       Courts in this jurisdiction consider four factors in granting punitive damages: “(1) the

character of the defendants’ act, (2), the nature and extent of harm to the plaintiffs that the

defendants caused or intended to cause, (3) the need for deterrence, and (4) the wealth of the

defendants.” Valore, 700 F. Supp. 2d at 87. Iran’s provision of material support to terrorists for

the purpose of harming Americans “militate in favor of a sizable award.” Schwartz II, 2022 WL

1567358, at *4. Courts have taken varied approaches when calculating punitive damage awards.

       One approach to calculating punitive damages is to multiply Iran’s average annual support

for terrorism during the relevant period by a factor between three to five and distributing that

amount proportionally based on each Plaintiff’s compensatory awards. Doe v. Syrian Arab

Republic, No. 18-cv-0066, 2020 WL 5422844, at *17 (D.D.C. Sept. 10, 2020) (citing Heiser II,

659 F. Supp. 2d at 30); see also Oveissi II, 879 F. Supp. 2d at 57 (awarding $300M in punitive

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damages to a single plaintiff for a single attack); Haim v. Islamic Republic of Iran, 784 F. Supp.

2d 1, 14 (D.D.C. 2011) (awarding $300M in punitive damages to the family of a single attack

victim); Valore, 700 F. Supp. 2d at 90 (awarding $1 billion in punitive damages against Iran for a

single attack resulting in 241 deaths). Another approach to punitive damages calculation involves

awarding a lump sum of $150 million per victim. Doe v. Syrian Arab Republic, 2020 WL 5422844,

at *17; see Est. of Hirschfield v. Islamic Republic of Iran, 330 F. Supp. 3d 107, 150 (D.D.C. 2018)

(awarding $150 million in punitive damages to family of student killed in terrorist attack).

However, other courts have opposed punitive damage awards based on these approaches because

the amounts are difficult to calculate, and the calculations require sufficient evidence of the

defendant’s expenditure on terrorism and rely on a potential deterrence effect of a large multiplier.

See Hamen v. Islamic Republic of Iran, 407 F. Supp. 3d 1, 10-11 (D.D.C. 2019) (“Hamen II”).

       Thus, courts have increasingly adopted a third approach to punitive damages: to multiply

the total compensatory damages by a fixed multiplier value. See Force II, 617 F. Supp. 3d at 40;

Doe v. Syrian Arab Republic, 2020 WL 5422844, at *18; Schwartz II, 2022 WL 1567358, at *4

(citing Hamen II, 407 F. Supp. 3d at 10). The multiplier—between one and five—depends on

“whether the case involved exceptional circumstances, the perceived deterrence effect, and the

nexus between the defendant and the injurious acts.” Force II, 617 F. Supp. 3d at 40. Courts have

used higher multipliers in exceptional circumstances and also to send a strong message that support

of terrorism against the U.S. nationals will not be tolerated. See Haim, 784 F. Supp. 2d at 3 (using

the multiplier of three to calculate punitive damages for a suicide bombing attack that killed eight

people); Valore, 700 F. Supp. 2d at 88 (applying the multiplier of five for a bombing attack that

killed 241 service members, finding satisfactory an expert’s testimony on the punitive damages’

deterrence effect). But absent exceptional circumstances or evidence of deterrence effect, courts



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have applied a multiplier of two when a foreign nation provided material support to a terrorist

organization that carried out attacks on Americans. See Force II, 617 F. Supp. 3d at 41 (concluding

that the multiplier of two was appropriate for an Iran-sponsored Hamas shooting attack based on

awards in prior cases and with only “little evidence regarding the potential deterrence effect of a

larger multiplier”); Hamen II, 407 F. Supp. 3d at 11 (applying a multiplier of two in action against

Iran for the abduction and murder of two private U.S. contractors).

       Finally, courts apply the punitive damages multiplier to the compensatory damages

inclusive of prejudgment interest, i.e., “after completing the prejudgment interest calculation.”

Force II, 617 F. Supp. 3d at 42 (stating that “prejudgment interest is necessary to provide complete

recompense for Plaintiffs’ compensatory damages”); Ewan, 466 F. Supp. 3d at 252 n.4 (noting that

“the sum of each plaintiff’s compensatory damages” is “adjusted to reflect present value,” for the

purposes of calculating punitive damages).

       In light of Iran’s highly culpable conduct, Plaintiffs request the Court to apply a multiplier

of two and award $1,104,594,438 in punitive damages. The attacks were designed to produce

mass casualties and resulted in the deaths of at least 44 service members, U.S. government

employees or contractors, and potentially hundreds more military and civilian deaths. See supra

§ III. The attacks also severely wounded many people, including Plaintiff Adam Kisielewski. Id.

A multiplier of two will fairly compensate Plaintiffs and keep the amount of punitive damages

narrowly tailored to the compensatory damages award. Plaintiffs also seek to apply the multiplier

approach to streamline and remove the need of presenting and evaluating the evidence of Iran’s

expenditures on terrorism.

               6.      Post-Judgment Interest

       Post-judgment interest is interest on any money judgment in a civil case by a district court,

including against a foreign sovereign over whom the court has jurisdiction. Gration, 2023 WL

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5221955, at *37 (citing 28 U.S.C. § 1961(a)). Courts in this jurisdiction award post-judgment

interest at the statutory rate because the application of section 1961(a) is mandatory, not

discretionary. See Cont’l Transfert Technique Ltd., 850 F. Supp. 2d at 287; Doe A-1 v. Democratic

People’s Republic of Korea, No. 18-CV-0252 (DLF), 2021 WL 723257, at *9 (D.D.C. Feb. 24,

2021). The statute provides that post-judgment interest “shall be calculated from the date of the

entry of the judgment, at a rate equal to the weekly average 1-year constant maturity Treasury

yield, as published by the Board of Governors of the Federal Reserve System, for the calendar

week preceding the date of judgment.” 28 U.S.C. § 1961(a).

       The Bellwether Plaintiffs seek post-judgment interest from the date of the favorable

judgment to the date of the judgment’s payment.




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                                          Exhibit 8 – Bellwether Damages Table

                                                                                                   Punitive
                                        Pain and                                      Total        Damages
                                        Suffering                  Prejudgment    Compensatory    (distributed      Post-
      Plaintiff            Date of       and/or      Economic        Interest       Damages      proportionally   Judgment
(Relation to Victim)       Attack       Solatium     Damages       Multiplier52     Including       based on       Interest
                                        Damages                                   Prejudgment    compensatory
                                                                                     Interest       damages
                                                                                                     award)
Rita Blodgett            07/21/2004   $10M
(Mother)*53
                                                                   2.542489        $25,424,890

Christina Linden         04/28/2005   $10M
                                                                   2.427981        $24,279,810
(Spouse)

Jason Rockholt           04/28/2005   $3.125M
                                                                   2.427981         $7,587,441
(Brother)*

Sgt. Adam                08/21/2005   $9M            $1,906,778
                                                                   2.375123
Kisielewski (ret.)                                                 (not applied
                                                                                   $23,282,885
(Victim)*                                                          to economic
                                                                                                 $1,104,594,438
                                                                   damages)
Rita Zoucha              06/09/2006   $6.25M                                                       (2x Total        Yes
                                                                   2.233076        $13,956,725   Compensatory
(Mother)*
                                                                                                   Damages)
Brandon Clevenger        02/08/2007   $2.5M
                                                                   2.134175         $5,335,438
(Brother)

Roger Kurtz (Father)     02/11/2007   $5M                          2.132959        $10,664,795

Stephanie Kurtz          02/11/2007   $3.125M
                                                                   2.132959         $6,665,497
(Sister)*

Norma Estes (Half-       03/05/2007   $3.75M
                                                                   2.123237         $7,962,139
Sister)*

Patricia Grassbaugh      04/07/2007   $5M
                                                                   2.110275        $10,551,375
(Mother)




           52
             The prejudgment interest multiplier was calculated using the method outlined in Ewan v. Islamic
           Republic of Iran, 466 F. Supp. 3d 236, 251 (D.D.C. 2020), as well as an estimated judgment date
           of July 1, 2024. Ex. 101, Monthly interest rates dating back to 2004, were found online, through
           the Federal Reserve at https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15 (last
           visited October 18, 2023).
           53
                Plaintiffs identified with an asterisk seek upward departures in their damages awards.

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                                       Exhibit 8 – Bellwether Damages Table

                                                                                              Punitive
                                     Pain and                                    Total        Damages
                                     Suffering                Prejudgment    Compensatory    (distributed      Post-
      Plaintiff          Date of      and/or      Economic      Interest       Damages      proportionally   Judgment
(Relation to Victim)     Attack      Solatium     Damages     Multiplier52     Including       based on       Interest
                                     Damages                                 Prejudgment    compensatory
                                                                                Interest       damages
                                                                                                award)
Michael Summers        05/28/2007   $3.125M
                                                              2.089616         $6,530,050
(Half-Brother)*

Nanette West           05/28/2007   $7.5M
                                                              2.089616        $15,672,120
(Mother)*

Clark West (Father)    05/28/2007   $5M                       2.089616        $10,448,080

Patty Jett (Mother)*   10/14/2007   $7.5M                     2.034525        $15,258,938

Shelia Towns           10/24/2007   $9M
                                                              2.030474        $18,274,266
(Spouse)

Martha Cabe            01/09/2008   $6.25M
                                                              2.006513        $12,540,706
(Mother)*

Sarah Lambert          01/09/2008   $2.5M
                                                              2.006513         $5,016,283
(Sister)

Duane Pionk            01/09/2008   $5M
                                                              2.006513        $10,032,565
(Father)

Jonathan Krause        04/09/2004   $5M
                                                              2.57953         $12,897,650
(Son)

Gerald Krause          04/09/2004   $5M
(Brother/Functional
                                                              2.57953         $12,897,650
Equivalent of
Father)*

Lisa Kaufman           04/09/2004   $10M
                                                              2.57953         $25,795,300
(Daughter)*

Alexandria Parks       04/09/2004   $5M
                                                              2.57953         $12,897,650
(Stepdaughter)

Felicia Bell Carter    04/09/2004   $2.5M
                                                              2.57953          $6,448,825
(Sister)




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                                        Exhibit 8 – Bellwether Damages Table

                                                                                               Punitive
                                      Pain and                                    Total        Damages
                                      Suffering                Prejudgment    Compensatory    (distributed      Post-
      Plaintiff           Date of      and/or      Economic      Interest       Damages      proportionally   Judgment
(Relation to Victim)      Attack      Solatium     Damages     Multiplier52     Including       based on       Interest
                                      Damages                                 Prejudgment    compensatory
                                                                                 Interest       damages
                                                                                                 award)
Michael Bell            04/09/2004   $2.5M
                                                               2.57953          $6,448,825
(Brother)

Milissa Wojtowicz       04/11/2004   $7.5M
                                                               2.578804        $19,341,030
(Daughter)*

Virginia Maitland       04/11/2004   $5M
                                                               2.578804        $12,894,020
(Daughter)

Ashley LeGrand          06/12/2007   $12M
                                                               2.083945        $25,007,340
Rawlings (Spouse)

K.L., a minor           06/12/2007   $5M
                                                               2.083945        $10,419,725
(Daughter)

Kelly Inman (Sister)*   01/28/2008   $3.125M                   2.003173         $6,259,916

Natalie Jackson         01/28/2008   $11M
                                                               2.003173        $22,034,903
(Spouse)

Andrew Marshall         01/28/2008   $5M
                                                               2.003173        $10,015,865
(Father)

Sheila Marshall         01/28/2008   $5M
                                                               2.003173        $10,015,865
(Mother)

Brandi Yanez            01/28/2008   $3.75M
                                                               2.003173         $7,511,899
(Sister)*

Tara Roberts            05/14/2004   $5M
                                                               2.56682         $12,834,100
(Daughter)

Jacob Kosky             10/14/2004   $5M
                                                               2.512347        $12,561,735
(Stepson)

Nancy Poulin (Sister)   12/21/2004   $2.5M                     2.487388         $6,218,470

Noe Orosco, Sr.         12/09/2005   $5M
                                                               2.324603        $11,623,015
(Father)




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                                       Exhibit 8 – Bellwether Damages Table

                                                                                                  Punitive
                                     Pain and                                        Total        Damages
                                     Suffering                    Prejudgment    Compensatory    (distributed      Post-
      Plaintiff          Date of      and/or        Economic        Interest       Damages      proportionally   Judgment
(Relation to Victim)     Attack      Solatium       Damages       Multiplier52     Including       based on       Interest
                                     Damages                                     Prejudgment    compensatory
                                                                                    Interest       damages
                                                                                                    award)
Josef Pautsch          04/10/2009   $2.5M
                                                                  1.927884         $4,819,710
(Brother)

Becky Johnson          04/10/2009   $6.25M
                                                                  1.927884        $12,049,275
(Mother)*

Marla Van Cannon       01/20/2007   $3.75M
                                                                  2.141466         $8,030,498
(Sister)*

Michael Van Cannon     01/20/2007   $3.125M
                                                                  2.141466         $6,692,081
(Brother)*

Richard Gervasi II     02/18/2007   $2.5M
                                                                  2.130124         $5,325,310
(Half-Brother)

Cheryl Felder Stuart   04/24/2004   $5M
                                                                  2.574083        $12,870,415
(Mother)

Manaser Orton          04/24/2004   $6.25M
                                                                  2.574083        $16,088,019
(Adopted Son)*

Alan Bean, Sr.         05/25/2004   $5M
                                                                  2.562825        $12,814,125
(Father)

Total Compensatory
                                    $242,875,000    $1,906,778                   $552,297,219
Damages Awards:




                                                            185
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       B.      Additional Requests for Specific Relief in Judgment Submission

       In addition to the foregoing relief, Plaintiffs respectfully request that—to the extent this

Court issues a final judgment finding that the Defendant Iran is liable for damages to the

Bellwether Plaintiffs—the Court: (1) issue the final judgment prior to July 1, 2024 so that Plaintiffs

may submit their judgments to the United States Victims of State Sponsored Terrorism fund (the

“Fund”) by August 1, 2024, which is Plaintiffs’ best estimated deadline for submissions of

judgments for the next anticipated funding cycle of the Fund; 54 (2) include language in the final

judgment sufficient to satisfy service of process pre-requisites under 28 U.S.C. § 1608(e); and (3)

include language in the final judgment specifying that service of process should proceed under 28

U.S.C. § 1608(a)(4).

               1.      Plaintiffs’ Request That a Final Judgment Be Issued Prior to July 1,
                       2024

       A final judgment as to Bellwether Plaintiffs’ claims prior to July 1, 2024 would maximize

their chances of timely submitting applications to the Fund in advance of its next distribution of

awards. Given the difficulty of collecting a judgment issued against a hostile foreign sovereign,

the Fund represents the Bellwether Plaintiffs’ most meaningful avenue of recovering any amount

of damages owed for their injuries. Plaintiffs’ sense of urgency to be accepted into the Fund prior

to the 2025 distribution derives from the fact that the Fund does not make distributions on a

predictable annual cycle due to the Fund’s lack of consistent appropriations or other means of

accruing assets. The Fund, which accrues funding from specific and limited Congressional

appropriations and a trickle of qualifying case deposits, only makes a distribution when sufficient




54
   While the Fund has not established the 2025 application deadline for any upcoming distribution,
it has set a deadline of August 1 in prior years.

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funds are available—which is never guaranteed. See 34 U.S.C. § 20144(d)(4) (requiring the

Special Master of the Fund to authorize a distribution within one year of the Fund reaching $100

million in assets). In recent years, two to three years have passed between distributions rounds,

with the most recent distribution having been authorized on December 30, 2022. The Fund is not

making a distribution in 2024 due to having fewer than $100 million in assets. However, there is

a real possibility of a substantial payment being made to victims accepted into the fund prior to

the 2025 distribution cut-off. In addition to several recent cases involving substantial settlements

that may be directed into the Fund,55 Congress recently allocated $3 billion to a reserve fund for

lump sum catch-up payments to victims of certain terrorist attacks not at issue in this matter, and

the remaining funds after these payments will be deposited into the general Fund and potentially

available to be paid out to victims accepted into the Fund prior to 2025. 56 If Bellwether Plaintiffs

miss the cutoff, they may miss out on this potentially substantial distribution and have to wait

several more years in order to recover any portion of their judgments. Plaintiffs stand ready to

provide the Court with any additional information that would help to facilitate a resolution of the

Bellwether Motion by July 1, 2024.




55
   The Fund is currently tracking two ongoing federal criminal matters, United States v. Binance
Holdings Ltd., No. 2:23-cr-000178-RAJ (W.D. Wash. Nov 14, 2023) and United States v.
Changpeng Zhao, No. 2:23-cr-000179-RAJ (W.D. Wash. Nov 14, 2023) along with enforcement
actions brought by the Department of Treasury and the U.S. Commodity Futures Trading
Commission, which appear likely to result in criminal penalties totaling approximately $4.3
billion. Due to the nature of the charges brought, some portion of this settlement is likely to qualify
for deposit into the Fund and for eventual distribution to Fund claimants. Plaintiffs believe it likely
that any portion of the settlement which will be earmarked for the Fund would be authorized for
distribution by January 1, 2025.
56
     See, e.g., USVSST FAQ 7.4, available at http://www.usvsst.com/faq.php.

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               2.      Judgment Language Sufficient to Satisfy Service Pre-requisites Under
                       28 U.S.C. § 1608(e)

       Plaintiffs also respectfully request the Court include language that its ruling on the

Bellwether Motion is the final default judgment for purposes of 28 U.S.C. § 1608(e). The inclusion

of such language will alleviate the need for Plaintiffs to wait until the Clerk of Court’s entry of

each Plaintiff’s individual judgment before Plaintiffs can commence service upon Iran, which, in

turn, will reduce the amount of lag time between when the Court issues its ruling and when the

Bellwether Plaintiffs can submit any damages awards to the Fund.

       Without a court judgment specifically including this requested language, the finality of the

judgment will remain ambiguous for Fund submission purposes, a circumstance which has led

plaintiffs in prior cases to wait for both the court’s judgment that listed all plaintiffs’ awards and

also the individual “judgment in a civil action” forms issues by the Clerk of Court. See, e.g.,

Affidavit Requesting Foreign Mailing, Cabrera v. Islamic Republic of Iran, No. 19-cv-3835-JDB

(D.D.C. Aug. 11, 2023), ECF No. 233. This process has resulted in the delayed submission of

these plaintiffs’ claims because the issuance of such individual judgments can take several months

from the issuance of the court’s omnibus Bellwether Opinion. See id., Memorandum Opinion,

ECF No. 137 (awarding damages to 89 plaintiffs on May 16, 2023); id., Clerk’s Judgment in favor

of Plaintiff Estate of Kurt E. Zwilling, ECF No. 229 (despite being backdated to June 6, 2023, the

final individual judgment was not entered until July 12, 2023, nearly two months after the court’s

omnibus judgment was issued). Should this be required, Plaintiffs would then have to have a

ruling well before July 1, 2024 in order to make the August 1, 2024 cutoff.

       Plaintiffs have included requisite language in the Proposed Order submitted alongside this

Memorandum, which would enable Plaintiffs to begin service of Iran immediately upon entry of

judgment as opposed to only after the individual “judgment in civil action” forms issue with


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respect to each Plaintiff.

                3.      Judgment Language Specifying Service Should Proceed Under 28
                        U.S.C. § 1608(a)(4)

        Finally, Plaintiffs request that the Court include language in its Bellwether judgment

ordering that service on Iran may be effectuated directly under 28 U.S.C. § 1608(a)(4) rather than

under the utterly futile process described in 28 U.S.C. § 1608(a)(3), which consistently delays

Fund submission by an additional 30 days.

        In prior cases, plaintiffs have mailed default judgments to Iran, per 28 U.S.C. § 1608(a)(3),

and waited 30 days before initiating State Department service, per 28 U.S.C. § 1608(a)(4).

Affidavit Requesting Foreign Mailing, Cabrera v. Islamic Republic of Iran, No. 19-cv-3835-JDB

(D.D.C. Aug. 11, 2023), ECF No. 233; id., Affidavit Requesting Foreign Mailing, ECF No. 241

(exemplifying plaintiffs’ affidavits requesting foreign mailing via 28 U.S.C. §§ 1068(a)(3) and (4),

respectively). The U.S. District Court for the District of Columbia Attorney Manual for Service

of Process on a Foreign Defendant, however, states that the judge “should state specifically which

rule to follow” in serving final judgments. See United States District Court for the District of

Columbia, Attorney Manual For Service of Process on a Foreign Defendant § VII(B)(1).

Moreover, the State Department has stated that proceeding directly to § 1608(a)(4) is appropriate

in circumstances such as those Plaintiffs face here:

        As a practical matter, if service has been attempted in accordance with the
        hierarchical methods set forth in Section 1608(a) in the initial phase of the action
        (service of the summons, complaint, and notice of suit) without success,
        necessitating service under Section 1608(a)(4) through the diplomatic channel, when
        service of a default judgment on the Foreign State becomes necessary, plaintiffs may
        transmit the request for service through the diplomatic channel to the Department of
        State, without repeating efforts at service under Section 1608(a)(1)-1608(a)(3).

Ex. 100, U.S. Department of State, Foreign Sovereign Immunities Act – How do I effect service of

a default judgment or other documents?, https://travel.state.gov/content/travel/en/legal/travel-


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legal-considerations/internl-judicial-asst/Service-of-Process/Foreign-Sovereign-Immunities-

Act.html. To avoid unnecessary delay and to effectuate an efficient service on Iran, Plaintiffs thus

request that the Court orders service under § 1608(a)(4) when entering a final default judgment on

behalf of any plaintiff, allowing Plaintiffs’ submission of applications to the Fund to begin 30 days

sooner, without any prejudice to the Defendant, which would be unsuccessfully served under 28

U.S.C. § 1608(a)(3) in any event.

IX.     CONCLUSION

        For the foregoing reasons, the Court should issue a final judgment finding that the

Defendant Iran is liable for damages to Plaintiffs in the amount specified herein.




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Dated: November 30, 2023          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of November, 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to all counsel of record.

                                                /s/ Michael J. Gottlieb_____________
                                                Michael J. Gottlieb




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